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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                        )
UNITED STATES OF AMERICA,               )
                                        )
                Plaintiff,              )
                                        )
     v.                                 )
                                          Case No. 1:17-cv-02511-RJL
                                        )
AT&T INC., DIRECTV GROUP HOLDINGS,      )
LLC, and TIME WARNER INC.,              )
                                        )
                Defendants.             )




 DEFENDANTS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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                                        INTRODUCTION

       For multiple independent reasons, the government failed to carry its burden of showing

that the likely effect of this merger will be “substantially to lessen competition.” 15 U.S.C. § 18.

The evidence establishes that the transaction is not likely to harm competition at all, much less

substantially. Although that fact itself resolves this case, the evidence further demonstrates that

the merger will generate significant benefits for consumers. The merger should thus be

permitted to proceed, and judgment should be entered for defendants.


                                PROPOSED FINDINGS OF FACT

       1.    On October 22, 2016, AT&T Inc. (“AT&T”) announced plans to acquire Time

Warner Inc. (“Time Warner”).

       2.    The Department of Justice (“DOJ”) conducted an investigation of the merger that

went on for more than a year.

       3.    On November 20, 2017, the United States filed a complaint seeking to enjoin the

merger under Section 7 of the Clayton Act. See Compl. ¶ 48(b), United States v. AT&T Inc., et

al., No. 1:17-cv-02511 (RJL) (D.D.C. filed Nov. 20, 2017). The case was tried and included

over 20 days of testimony, concluding on April 30, 2018.

       4.    Plaintiff presented testimony from 23 witnesses. Witnesses included individuals

who work for defendants’ competitors, employees and executives of defendants, and expert

witnesses.

       5.    Defendants presented testimony from eight witnesses, including executives that run

AT&T and Time Warner as well as several expert witnesses.
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I.     The Ongoing Transformation of the Video Marketplace and Its Effects on Time
       Warner and AT&T

       6.    This transaction takes place against the backdrop of the ongoing revolution in video

programming and distribution. Multiple witnesses for both the government and the defendants

testified extensively about the highly competitive video marketplace and how the ongoing

transformations in the industry are affecting Time Warner, AT&T, and other traditional video

programmers and distributors.

       A.      Time Warner’s Business and Its Competitive Challenges

       7.    Time Warner is a content creator and aggregator organized into three business

units. Turner operates, among other things, 10 linear cable networks that televise scheduled

video programming around the clock: TNT, TBS, CNN, CNN Español, CNN International,

Cartoon Network/Adult Swim, TruTV, TCM, Boomerang, and HLN, see PX148-014; HBO is a

premium subscription-based video service that offers movies and television shows, including a

significant amount of original content; and Warner Bros. operates a studio that creates movies,

television programs, and other video content that are licensed both to Time Warner’s other

businesses and to third parties. See generally PX459-018 (describing Turner), -017 and -022

(describing HBO), and -012, -017, -024 (describing Warner Bros.).

       8.    Like other traditional video programmers, Time Warner historically has distributed

its content to consumers through unaffiliated third parties. In particular, both the linear Turner

networks and HBO have been distributed through Multi-Channel Video Programming

Distributors (“MVPDs”), such as cable companies and satellite companies. See Tr. 485:1-18

(Martin (Turner)). In the last three years, the linear Turner networks and HBO have also been

distributed through “virtual MVPDs,” new entrants that distribute packages of television

networks over the Internet (also referred to as “over-the-top” services). See Tr. 485:19-486:6




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(Martin (Turner)); Tr. 1456:03-05 (Sutton (HBO)). Virtual MVPDs include AT&T’s DIRECTV

NOW (discussed further below), DISH’s Sling, Sony’s PlayStation Vue, Google’s YouTube TV,

Hulu Live, FuboTV, and Philo. See Tr. 411:15-18, 412:3 (Schlichting (DISH)). All of these

have entered the marketplace since February 2015 and offer service nationwide. See Tr. 235:18-

22 (Schlichting (DISH)).

       9.    As Time Warner CEO Jeff Bewkes testified, there are two major, and related,

“tectonic” changes that are having a significant impact on Time Warner’s business. Tr. 3079:18-

3080:2. These changes affect both of the primary sources of revenue for Time Warner’s

television subsidiaries: fees from distributors that offer Turner and HBO channels, and, in the

case of Turner, advertising revenue. See Tr. 604:21-23 (Martin (Turner)); PX456-065, -067

(94% of Turner’s 2017 revenue came from subscriptions and advertising; 87% of HBO’s 2017

revenue came from subscriptions).

       10.   The first of these transformational changes is the entry of new vertically integrated

competitors that deliver programming directly to consumers over the Internet. See Tr. 3079:18-

23 (Bewkes (Time Warner)).

       11.   These new entrants include subscription video on demand (“SVOD”) services such

as Netflix, Amazon Prime, and Hulu, which offer large libraries of original and acquired content

on demand, rather than on a linear (i.e., pre-scheduled) basis, at a low price. See Tr. 486:10-17,

487:3-12 (Martin (Turner)); Tr. 1492:20-23 (Sutton (HBO)); Tr. 145:14-19 (Fenwick (Cox)).

These competitors are investing billions of dollars in creating original programming. Netflix

alone now spends more on content than all of Time Warner. See Tr. 2456:2-17 (Carlton); Tr.

3099:12-15 (Bewkes (Time Warner)) (Netflix has a programming budget more than twice that of

HBO); see also Tr. 3388:8-9 (Stephenson (AT&T)) (Netflix is “investing billions of dollars in




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original content creation”); Tr. 2456:7-11 (Carlton) (“So we have Netflix, . . . you have Amazon

Prime. . . . So these are firms that are coming into the industry and these firms come in and start

creating content.”); Tr. 1053:4-6 (Breland (Turner)) (“[I]n 2016, Netflix created 126 originals in

films. This year, they’ll spend almost $8 billion and create 700.”); Tr. 888:2-7 (Rigdon

(Comcast)) (agreeing that “Netflix has been dramatically increasing its investments,” an industry

development that has “put increased pressure on programmers”)); PX153-006 (“The growth in

original programming has increased competition for top projects and made it more difficult for

networks to surface hits.”); infra Proposed Findings of Fact (“FOF”) ¶¶ 35-36 (SVODs compete

with distributors like DIRECTV as well).

       12.   Importantly, unlike Time Warner, these firms are vertically integrated—they create

or aggregate content and distribute it directly to consumers: “They have the content, the

programming, and they have the technological capability of delivering it straight to you.” Tr.

3081:21-23 (Bewkes (Time Warner)); see also Tr. 3388:10-16 (Stephenson (AT&T)) (“[T]hey

create video, they aggregate it meaning they have a place where you can go out and see all of the

content available from Netflix. . . . They deliver it directly to the consumer.”); Tr. 2453:7-9

(Carlton) (“[T]hese are vertically integrated entities who have gotten into the combination of

distribution and content.”). Time Warner, by contrast, remains a “stuck in the middle

wholesaler” that largely lacks a relationship with the consumers of its content. Tr. 641:13-25

(Martin (Turner)); see Tr. 612:3-15 (Martin (Turner)).

       13.   Vertical integration gives these new competitors key advantages. Their direct

relationship with the consumer gives them access to large amounts of data. See Tr. 3080:19-24

(Bewkes (Time Warner)) (“[T]hey know who the consumer is. They know what the consumer is

watching. They know—they know the contact information. They know billing—they have




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billing relation—they have all kinds of relationships with consumers, beyond just providing, in

many cases, the television.”). They can use that data to optimize their decisions about what

programming to develop. See Tr. 3080:11-3081:12 (Bewkes (Time Warner)); Tr. 624:2-16,

625:17-23 (Martin (Turner)); Tr. 3388:25-3389:3 (Stephenson (AT&T)). That information can

also inform decisions about when to schedule content, how to market it, and in what form to

offer it. See Tr. 624:7-16 (Martin (Turner)). Vertically integrated firms can also provide

recommendations of what other content consumers might like, which provides consumers a

much better viewing experience. See Tr. 3080:25-3081:3, 3082:4-7 (Bewkes (Time Warner));

Tr. 3388:12-13 (Stephenson (AT&T)); Tr. 3245:17-20 (Stankey (AT&T)). Vertical integration

also allows these companies to develop new products rapidly—for example, Netflix can allow

users to download content and watch it on the go, while DIRECTV has been unable to obtain

download rights for all of the content it carries. See Tr. 1688:6-18 (York (AT&T)). And they

can market better to consumers who might otherwise leave for other options. See Tr. 3081:4-7

(Bewkes (Time Warner)). More generally, these companies are “all about engagement,” which

allows them not only to “sell more advertising” but also to monetize in new and different ways,

such as “sell[ing] more shoes or grocery,” in the case of Amazon. Tr. 3387:20-24 (Stephenson

(AT&T)); see also Tr. 888:12-13 (Rigdon (Comcast)) (“I would say all this competition is

competition for [a] consumer’s time and attention.”).

       14.   Time Warner currently lacks similar capabilities. See PX456-022 (rapid industry

evolution threatening “some of the Company’s longest-standing business models”); PX8-049

(Time Warner 2016 Briefing Book for Board Strategy Session: “[C]onsumer data is a key

strategic asset and competitive advantage for many companies such as Google, Amazon, and

Netflix. Historically, however, Time Warner was at a disadvantage in collecting consumer data




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because most of our businesses (other than Time Inc.) generally distributed their products and

services through distributors who had the direct relationship with consumers.”). Even when

Time Warner started selling HBO directly to consumers through its HBO NOW product, it had

to contract with a third party for the technological capability to deliver the programming. See Tr.

3083:7-10 (Bewkes (Time Warner)). Likewise, it does not have consumer billing systems, retail

stores, or customer service people necessary for large-scale direct-to-consumer products. See Tr.

3083:18-23 (Bewkes (Time Warner)). And it does not have data on its customers similar to that

of its vertically integrated competitors. See Tr. 3084:4-24 (Bewkes (Time Warner)). Indeed, it

does not even “know which people are watching” its content. Tr. 3085:2-3 (Bewkes (Time

Warner)); see also Tr. 3098:13-16 (Bewkes (Time Warner)) (“[W]e’re still not getting from

[HBO NOW] the data about our own subscribers . . . that an Amazon or Apple has about those

subscribers. We don’t know what else they’re watching. We don’t know who they are by name.

They do.”).

       15.    Turner has made small strides recently to improve its own ability to distribute

content directly to consumers, including through the launch of several new niche video services

(e.g., Boomerang, FilmStruck). Tr. 3098:21-3099:1 (Bewkes (Time Warner)); Tr. 666:2-6

(Martin (Turner)). But these are “nascent businesses” with small subscriber bases. See Tr.

667:17-21, 682:1-8 (Martin (Turner)); Tr. 1055:22-24 (Breland (Turner)) (“Q. How many

subscribers do you currently have to FilmStruck? A. We’re closing in on about 100,000.”); Tr.

1056:10-1057:3 (Breland (Turner)) (“Q. How many subscribers does Turner have for

[Boomerang]? A. I believe it’s around 150,000.”). While Turner’s direct-to-consumer products

have “a few hundred thousand subscribers,” Netflix has 125 million subscribers around the

world, and Amazon has over 100 million subscribers with access to its video content. Tr.




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3098:24-3099:12 (Bewkes (Time Warner)); Tr. 3389:18-25 (Stephenson (AT&T)). Time

Warner lacks the technical infrastructure to provide direct-to-consumer products at any

meaningful scale. See Tr. 3099:2-3 (Bewkes (Time Warner)) (“So if we were trying to serve

tens of millions of subscribers, our systems couldn’t handle it.”).

        16.   Although Time Warner has attempted to obtain more data, it has had very little

success. It has tried to negotiate for data from traditional distributors in affiliate carriage

agreements, but it has not been able to reach a deal. See Tr. 3099:20-3100:22 (Bewkes (Time

Warner)). For example, Turner attempted to negotiate with DISH for consumer-usage data from

Sling, DISH’s over-the-top product. DISH, however, would not allow Turner to combine such

data with any third-party data, as would be necessary for advertising purposes. See Tr. 1119:12-

1120:4 (Breland (Turner)) (“It’s like having a bicycle and you can [only] ride it inside. It means

I can’t use the data to monetize. So I can get it, but if I can’t put it with third party data then it

means the ad sales I’ve given them [are a] hollow shell. There’s nothing they can really use to

monetize.”); see also Tr. 3100:22-3101:8 (Bewkes (Time Warner)) (explaining that Time

Warner had unsuccessfully attempted to obtain useful data from Comcast); Tr. 955:8-12

([REDACTED]); Tr. 612:17-25 (Martin (Turner)) (“Q. . . . You said you don’t know who your

viewers are . . . why don’t you just ask the distributors to tell you? A. We do. Q. And what is

the response? A. ‘No.’ ”).

        17.   Time Warner has also had only limited success getting data from virtual MVPDs.

While it has data from Hulu’s and YouTube’s virtual MVPDs, it “just get[s] viewing data on

those people watching [its] channels. [It doesn’t] get who they are, all their preferences [or]

what these same subscribers are watching on competing channels.” Tr. 3101:13-22 (Bewkes

(Time Warner)).




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        18.     As Time Warner’s chief executive explained, this difficulty in negotiating for data

is an example of bargaining friction. See Tr. 3104:18-25 (Bewkes (Time Warner)); Tr. 3185:17-

24 (Bewkes (Time Warner)) (“[W]hat [Comcast] offered to us, we didn’t think was what they’ve

got really. And we didn’t think they’re willing to let us have what we thought would be useful.

We never got a chance to go in and talk with them about what they had to see if we could make

use of it.”).

        19.     Time Warner also considered buying technology companies that might provide

more data, but it determined that their data was insufficient and that technology companies could

not ensure long-term access to it in any event. See Tr. 3102:9-3103:6 (Bewkes (Time Warner)).

        20.     The success of new, vertically integrated entrants such as Netflix and Amazon has

put pressure on Time Warner’s subscription revenues because the entrants are taking subscribers

away from cable companies, satellite providers, and other MVPDs. See Tr. 3088:22-3089:1

(Bewkes (Time Warner)); PX153-003 (“Due in large part to the growth of SVOD, and Netflix in

particular, subscribers and viewership of traditional TV are shrinking.”). Twenty percent of

American households no longer have traditional MVPD services—in industry parlance, they

have “cut the cord.” See Tr. 2505:10-20 (Carlton). That number is growing. See Tr. 2466:4-10

(Carlton) (“From my point of view, it’s quite clear the number of cord cutters is going up over

time. Young people are the ones who are cutting the cord. They’re going to be growing older,

and they’re going to become more and more important, cord cutting is going to become more

and more important as an economic influence.”). Consumers increasingly are switching to these

vertically integrated services because of the improved user experience. See Tr. 638:25-639:7

(Martin (Turner)) (“[N]ew services like YouTube TV or Netflix . . . have beautiful user

[interfaces] that are available on any and all devices . . . all the time. The quality of the video is




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quite high and they have recommendations. They have abilities, they have better mouse traps

than traditional MVPDs who still have inferior user interface guides. And it’s a real impediment

to the user experience.”).

       21.    Many other consumers have “shaved” the cord—i.e., reduced, but not eliminated,

their consumption of MVPD services by, for example, selecting a “skinny bundle” cable package

that is less expensive and contains fewer channels and then supplementing that bundle with

subscriptions to SVODs See Tr. 606:2-4 (Martin (Turner)); Tr. 2949:15-18 (Holanda (RCN));

PX456-056.

       22.    As a result of these trends, Time Warner projects continued declines in the number

of overall pay-TV subscribers across its long-range plan. See PX0063-036 (explaining that even

including virtual MVPD subscribers, the total number of pay-TV subscribers continues to

decline); PX456-056; see generally Tr. 1053:4-1054:17 (Breland (Turner)) (“The disruption is

like Mount Vesuvius on top of Pompeii. These are massive changes to the marketplace.”).

       23.    The viewership of Time Warner’s Turner networks has declined along with these

trends. See PX0153-003 to -004 (“Overall TV viewing has declined at a much faster rate [than

the decline in subscribers]. . . . Large scale GE [general entertainment] networks such as TNT

and TBS have been disproportionately affected by these viewing trends.”). Turner networks

combined now account for only about 8% of pay-TV viewership, down from 10% in 2011. See

Tr. 2458:5-8, 22-24 (Carlton). When Internet-based distribution is considered, as it should be,

Turner networks accounted for only about 6% of viewership in 2017. See Tr. 2458:13-15

(Carlton).

       24.    Likewise, although Turner successfully executed a multiyear plan through 2017 to

increase its affiliate fees in response to rising programming costs to “catch up” to its




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competitors’ price increases after years of below-market increases, Tr. 643:15-645:5 (Martin

(Turner)); Tr. 1063:3-12 (Breland (Turner)); see DX781.0019, Turner projects its domestic

subscription revenue growth will decrease to low single digits in each year from 2018 to 2022,

see Tr. 646:17-647:12 (Martin (Turner)); DX781.0021. Cf. Tr. 928:1-2 [REDACTED].

       25.    The second tectonic shift is that, at the same time that these well-funded new

competitors are “bleeding away [Time Warner’s] viewers,” Tr. 3088:23 (Bewkes (Time

Warner)), advertising is moving to digital platforms and away from television. See PX456-056

(2017 Time Warner 10K: “The advantages of digital advertising . . . have resulted in advertisers

shifting more of their advertising budgets from traditional television advertising to digital

advertising.”); DX746A.0002 (graph showing growth of digital advertising); Tr. 623:2-624:1

(Martin (Turner)); Tr. 3088:3-6 (Bewkes (Time Warner)) (“[A]dvertisers are moving [their] ad

budgets, which are finite, to the digital platforms at Google and Facebook. They’re moving it

away from television advertising in general.”); Tr. 3746:9-15 (Athey). Digital advertising has

“taken off like a rocket” in recent years, surpassed television advertising in 2016, and is expected

to be far bigger in the next few years. Tr. 3092:15-3093:1 (Bewkes (Time Warner)).

       26.    These simultaneous shifts have created a “double whammy” that is hurting both

Turner’s advertising revenue and subscription revenues because “it means that the financial

support for all this programming . . . gets pushed over toward subscription prices.” Tr. 3088:7-

3089:11 (Bewkes (Time Warner)).

       27.    Because of their ownership of and access to data, Google and Facebook have been

the primary beneficiaries of this shift from advertising on TV to advertising on digital properties.

See Tr. 3746:10-22 (Athey) (agreeing that more and more ad dollars having been shifting from

television to digital advertising, and that those two companies account for 60% of digital




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advertising); Tr. 623:23-624:6 (Martin (Turner)). Google and Facebook are dominant in this

area, see Tr. 3089:12-14, 20-23 (Bewkes (Time Warner)); Tr. 3747:23-3748:1 (Athey), and are

growing at an extremely rapid pace, see Tr. 3097:2-11 (Bewkes (Time Warner)) (describing

Google “almost tripling” advertising revenue in the five years from 2012 to 2017 and Facebook

growing from $4 billion to $40 billion in the same period). The government’s own expert agreed

that consumers would benefit from additional competition to Google’s advertising platform. See

Tr. 3748:10-14 (Athey). As the Court has noted, these companies are “three, four, five times the

size of AT&T. They’re massive.” Mar. 20, 2018 AM Hr’g Tr. 49:16-17. Notably, these two

companies are also vertically integrated. See Tr. 3089:15-16 (Bewkes (Time Warner)); Tr.

3390:14-17 (Stephenson (AT&T)).

       28.    The success of digital advertising largely reflects the fact that it enables advertisers

to better target their intended audience. Television advertising today is done mostly in the same

way it has been done for decades. See Tr. 3086:9-10 (Bewkes (Time Warner)); Tr. 3243:1-4

(Stankey (AT&T)). That means it relies on highly general demographic data, such as age range

and gender, about typical audiences for a program to decide on the placement of commercials

that will be seen by the entire audience. See Tr. 625:4-6 (Martin (Turner)); Tr. 3086:9-14

(Bewkes (Time Warner)). Turner, like other television programmers, does not have viewer-by-

viewer information that allows it to offer more targeted advertising. See Tr. 624:24-25 (Martin

(Turner)) (Turner lacks data “down to the household or an individual level”); Tr. 3392:10-11

(Stephenson (AT&T)) (programmers such as “Turner, CBS, they have massive inventories of

advertising but they don’t know who the customer is”). As a result, consumers end up seeing ads

for things they are not interested in, and advertisers pay to show ads that the vast majority of the

audience is not interested in seeing. See Tr. 3087:1-15 (Bewkes (Time Warner)); see also Tr.




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685:20-23 (Martin (Turner)) (“[T]here’s been a long saying in the advertising industry where the

advertiser would always say, I know I’m wasting half my money, I just don’t know which

half.”).

           29.   By contrast, the capabilities of the Internet and the consumer data held by Google

and Facebook allow digital advertising to be sent to consumers who are more likely to be

interested in a particular product. See Tr. 3087:16-21 (Bewkes (Time Warner)); Tr. 3390:9-11

(Stephenson (AT&T)). Google and Facebook know who is viewing particular content, what

their interests are, and what they are more likely to be receptive to, which allows Google and

Facebook to show consumers more relevant ads—for instance, showing Chevy ads to someone

looking to buy a car—which are more valuable to advertisers. See Tr. 623:2-13 (Martin

(Turner)); Tr. 3086:9-3087:21 (Bewkes (Time Warner)); Tr. 3243:5-10 (Stankey (AT&T)).

Google and Facebook are also able to demonstrate the effectiveness of advertisements, which

allows advertisers to better determine their return on investment relative to traditional television

advertising. See Tr. 623:14-22 (Martin (Turner)); see generally PX456-024 to -025 (Time

Warner 10-K: “Google and Facebook, with their large user bases, high consumer engagement

and ability to use their data to target consumers, track consumer behavior and measure consumer

responsiveness to advertising, have captured a significant and growing portion of digital

advertising expenditures.”).

           30.   Obstacles similar to the ones that prevent Time Warner from effectively competing

with the vertically integrated firms that are eroding Time Warner’s subscription revenues also

prevent Time Warner from competing with Google and Facebook in advertising. See Tr. 3090:1-

7 (Bewkes (Time Warner)) (“But the reason we can’t do it is we don’t have the tech platforms;

we don’t have engineers; we don’t have any of the information to know who is this person.




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What ad would they like to see? We can’t do any of that. It’s very difficult. We’ve been trying

to do it, but it’s hard to do it at the speed and scale that our new competitors are doing it.”).

While Turner has purchased some data from third-party data companies, this information is

generally not at a sufficiently granular level to be useful for Turner’s advertising purposes. See

Tr. 674:11-15, 622:21-623:1 (Martin (Turner)); Tr. 3768:19-23, 3771:17-3772:3 (Athey). And,

although Turner has launched some limited advanced advertising products using data it has

collected or purchased, Turner’s lack of meaningful data makes it difficult to scale these

products—Turner’s advanced advertising represents less than five percent of Turner’s

advertising revenues. See Tr. 680:4-7 (Martin (Turner)). And Turner offers no addressable

advertising, which is far more targeted to specific customers and more valuable than Turner’s

advanced data-driven advertising (which sends the same ad to all viewers of a program). See Tr.

3760:25-3761:21 (Athey).

       31.    The move to digital advertising has put significant stress on Turner’s advertising

revenue. See Tr. 3088:3-15 (Bewkes (Time Warner)) (“So the problem there is that advertisers

are moving [their] ad budgets, which are finite, to the digital platforms at Google and Facebook.

They’re moving it away from television advertising in general.”); PX456-025 (“Turner is

engaged in a variety of efforts to make advertising on its networks more valuable to advertisers

and improve the consumer experience; however, these efforts may not be successful or may take

several years to become successful.”). Advertisers are interested in spending their limited

budgets to reach consumers in the most efficient way possible, whether through linear television

or on the Internet. See Tr. 3182:23-3183:4 (Bewkes (Time Warner)) (“[T]his competition for

advertising isn’t just about television. If the advertisers have a more efficient way to give you a

commercial message while you’re searching, that takes away revenue from television. And I




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think the idea the TV ads only compete with other ads in a TV program from a digital company

is wrong.”). In 2017, Turner’s advertising revenue was down 2% relative to the prior year. See

PX456-065.

       32.   That is bad not only for Time Warner, but also for consumers. The less money a

programmer like Turner receives from advertisers, the more programming costs have to be borne

by consumers through subscription fees. See Tr. 3093:6-9 (Bewkes (Time Warner)); Tr. 3089:

6-11 (Bewkes (Time Warner)) (“[I]t’s actually bad for consumers, because it means that the

financial support for all this programming on all these different channels gets pushed over

toward subscription prices. And that’s a problem, because we think consumers are up to here

with subscription prices.”); cf. Tr. 3394:15-16 (Stephenson (AT&T)) (“The better you do on

advertising, the less you have to charge the consumer for the service.”).

       B.      AT&T’s Business and Its Competitive Challenges

       33.   AT&T is a distribution company—it is in what its Chairman and CEO, Randall

Stephenson calls, “the connectivity business.” Tr. 3378:23-24. Beyond the “voice telephone”

service for which AT&T was originally known, the company also provides wireless service,

broadband service, and TV service to consumers. See Tr. 3379:12-15 (Stephenson (AT&T)). It

is not a creator of any significant television or movie content. See Tr. 3213:3-15 (Stankey

(AT&T)).

       34.   As part of its TV service, AT&T offers two distinct MVPD products. DIRECTV

is a satellite-based MVPD service that operates by transmitting programming from satellites to

rooftop dishes installed at the customers’ homes. See PX455-011. U-verse is an MVPD service

that operates “over the same line that [] deliver[s] your telephone service.” Tr. 3384:1-2

(Stephenson (AT&T)); see also Tr. 3206:14-20 (Stankey (AT&T)). DIRECTV and U-verse

compete with incumbent cable MVPD operators such as Comcast, Charter, Cox, and Altice, as



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well as with other pay-TV providers. See Tr. 3255:12, 3213:4-9, 3214:8-11 (Stankey (AT&T));

Tr. 3387:15-17 (Stephenson (AT&T)); Tr. 1608:14-1609:5 (York (AT&T)). The incumbent

cable operator in any given local area—having begun with a state- or local-franchise-authorized

monopoly—is typically the dominant MVPD. See Tr. 408:1-3 (Schlichting (DISH)).

       35.   In addition to competition among traditional MVPDs, MVPDs must now compete

with over-the-top providers, including virtual MVPDs like Sling, YouTube TV, and Hulu Live,

and SVODs like Netflix and Amazon. See Tr. 3387:15-17, 3450:7-14 (Stephenson (AT&T))

(“DirecTV . . . lost 1.2 million subscribers in 2017. The whole system, pay TV, cable, satellite,

lost 3 million. Netflix . . . added 2 million U.S. subscribers this last quarter alone. So we know

[consumers are] getting entertainment and media. They’re just not getting it from the traditional

cable and satellite services.”); Tr. 3213:7-9, 3214:8-11 (Stankey (AT&T)). Thus, consumers

who have no subscription to an MVPD, including “half of all the Millennials in the United

States,” are “largely using subscription video on demand, SVOD-type services.” Tr. 3449:12-18

(Stephenson (AT&T)).

       36.   DIRECTV’s competitors also recognize the growing competition from SVODs.

See, e.g., Tr. 1395:16-21 (Montemagno (Charter)); DX921.0034 (DISH 10-K: “We face

competition from providers of digital media, including, among others, Netflix, Hulu, Apple,

Amazon, Alphabet . . . .”).

       37.   AT&T initially entered the pay-TV business in order to more effectively sell

wireline broadband, which cable providers often bundle together with video. See Tr. 3383:17-24

(Stephenson (AT&T)).

       38.   In 2014, however, AT&T agreed to acquire DIRECTV to achieve the scale needed

to operate more efficiently and position it within the industry to innovate away from the




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traditional pay-TV model. See Tr. 3384:13-3385:14 (Stephenson (AT&T)). Although AT&T

understood at the time that the pay-TV business was in decline, it made the DIRECTV

acquisition as a way to enhance its “largest business,” which is wireless. See Tr. 3209:4-7

(Stankey (AT&T)); Tr. 3379:19-20 (Stephenson (AT&T)); Tr. 3385:12-14 (Stephenson

(AT&T)) (“the key driver behind getting DIRECTV” was to enable delivering video “content to

our wireless subscribers”); Tr. 3208:19-23 (Stankey (AT&T)) (“[W]hen I came in, one of the

clear objectives was to start to transform the way we deliver video to customers, make the video

far more portable, start to emphasize the fact that we could use our 100 million wireless

subscribers to be able to do things differently . . . ”); Tr. 3209:12-18 (Stankey (AT&T)) (“we

knew that we were in a foot race to basically start to change the product to be able to catch the

next wave . . . this was kind of a renovation project.”); Tr. 3209:23-3210:12 (Stankey (AT&T))

(after the transaction, AT&T “immediately began negotiating rights” to be able to deliver content

licensed to DIRECTV “to people over their mobile phones” and did a “fair amount of work” on

DIRECTV’s contracts to obtain these rights).

       39.   As the wireless industry has evolved, the overwhelming trend in how people use

their cell phones and mobile devices has been toward the consumption of video. See Tr.

3380:17-3382:15 (Stephenson (AT&T)) (tracing development of mobile networks from “flip

phone[s]” that could only text and take pictures to the “iPhone,” which “made the internet

mobile,” to the now-current fourth-generation technology which “has allowed video to take off,”

so that today fully “[h]alf of the volume on [AT&T’s] network is video”). AT&T has thus long

understood that, in order to grow its wireless business, it would need to be “getting video

delivered onto the mobile device.” Tr. 3381:24-25 (Stephenson (AT&T)).




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       40.    As Mr. Stephenson explained, the DIRECTV acquisition provided AT&T an

opening for a future investment: it would enable AT&T to deliver video content “over [those

customers’] mobile devices” and thereby enhance AT&T’s wireless product. Tr. 3384:25-

3385:12; see Tr. 3254:19-22 (Stankey (AT&T)) (“more usage on the wireless network . . . causes

[customers] to buy up on data plans or get more devices,” all of which is “good for our

business”); see also Tr. 3254:10-14 (Stankey (AT&T)) (“At the core, our biggest business is our

wireless business. It’s almost two times what we do in the entertainment side of things. It’s

huge to us. We’ve got to do things that keep[] growing the engagement with our network and

our wireless business.”).

       41.    In furtherance of this strategy, soon after completing the DIRECTV transaction,

AT&T introduced DIRECTV NOW, a virtual MVPD that offers fewer channels (i.e., the bundle

is “skinnier”) than DIRECTV at a less expensive price point and that, like other virtual MVPDs,

is delivered over the Internet. See Tr. 3385:5-3386:10 (Stephenson (AT&T)) (“we sized down

the content . . . and we priced it at $35 a month”); Tr. 3252:18-23 (Stankey (AT&T)) (“And so

when I talked about buying DIRECTV and our need to figure out how to get a very mature

product in the right place, part of the way you’re going to see content distributed in the future is

virtually, over the Internet. You’ve got to build content that can be distributed that way and seen

that way.”). That service launched in November 2016 and now has more than one million

subscribers. See Tr. 1824:23-24, 1830:9-12 (Merrill (AT&T)). As noted above, there are a

number of other virtual MVPD competitors, including Google’s YouTube TV, Hulu Live,

DISH’s Sling, and Sony’s Playstation Vue. See supra FOF ¶ 8. Each of these virtual

competitors competes with traditional pay-TV companies for subscribers. See supra FOF ¶¶ 8,

35.




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       42.    The rise of mobile video provides an enormous opportunity for AT&T. AT&T has

a nationwide wireless broadband network and is working to develop and deploy a fifth-

generation—or “5G”—wireless network that will position it to deliver video even faster than it

can today, both to homes and to mobile devices. See Tr. 3382:12-3383:9 (Stephenson (AT&T))

(“5G is probably going to be the most transforming . . . . This is going to begin to allow things

that we have talked about for a long time . . . things like driverless automobiles . . . . Why is that

important to us? The connectivity is important. But most importantly is when you put people in

driverless cars you’ve given them more time . . . . Our belief is that’s going to drive video

consumption up even more. So video delivery is going to become more and more important.

The other thing that 5G will do and probably I’ll stop with this, but as you get that kind of

bandwidth . . . you have something that will broadly compete with the traditional cable model.”).

       43.    At the same time, the transformation of the video marketplace presents significant

challenges. The entry of these Internet-based virtual MVPDs and, even more importantly, the

growth of SVODs like Netflix, Amazon, and Hulu make the marketplace more competitive than

ever before. See Tr. 3213:7-9 (Stankey (AT&T)) (because of “[t]he fact that there were new

virtual MVPDs coming into the market, competition was at an all-time high”); Tr. 3387:13-17

(Stephenson (AT&T)) (describing the “rather significant disruption” going on in the pay-TV

industry); Tr. 2950:2-6 (Holanda (RCN)) (agreeing that “the video distribution market today is

more competitive than at any point” in the past 30 years); Tr. 1397:1-4 (Montemagno (Charter))

(confirming “there’s been a veritable explosion of OTT [Internet-based] offerings just since

we’ve had this high speed Internet phenomenon in the last five, seven years”); Tr. 2133:15-17

(Sejen (Cable One)) (agreeing that competition among traditional MVPDs and Internet-based

video providers has increased over the last five to seven years); Tr. 2456:7-9 (Carlton) (“So we




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have Netflix, we have Google coming in, you have Amazon Prime. These are all big firms,

Apple and Facebook we know are coming in.”).

       44.    The success of these SVOD and virtual MVPD platforms has meant that video

consumption is increasingly taking place outside of traditional MVPD services like those offered

by DIRECTV and U-verse. See Tr. 3449:12-18 (Stephenson (AT&T)); Tr. 1829:3-9 (Merrill

(AT&T)); Tr. 891:18-25 (Rigdon (Comcast)). AT&T is now competing for customers’ attention

with Facebook, Amazon, Apple, Netflix, and Google (sometimes called the “FAANG”

companies) and other vertically integrated technology giants. See Tr. 3214:8-14 (Stankey

(AT&T)) (“The time-and-attention competition now from the likes of Facebook, from the likes

of Google, from the likes of Netflix, they’re distracting people from other things they used to do.

And somehow, we have to build products that continue to command customers’ time and

attention. That’s the battle here.”). This trend is likely to continue, as the tech giants focus more

and more on premium video to drive engagement. See Tr. 3387:25-3388:3 (Stephenson

(AT&T)) (“The one area that drives engagement like no place else . . . is premium content.

Premium video . . . . That drives engagement so the [FAANG], if you will, are all focused on

premium video.”).

       45.    As a result, AT&T/DIRECTV’s position as a traditional video distributor is

declining at an accelerated pace. See PX455-136 to -37. “DirecTV[] lost 1.2 million [traditional

pay-TV] subscribers in 2017” alone. Tr. 3450:7-8 (Stephenson (AT&T)); see Tr. 3369:13-16

(Stankey (AT&T)) (discussing the “inflection change” where the “decline of the traditional pay-

TV bundle started faster than [AT&T] assumed”); Tr. 3004:6-7 (Christopher (AT&T)) (“In 2016,

our traditional video business lost 133,000 customers.”). For this reason, it is unsurprising that

AT&T has been concerned that it is not receiving rights to innovative features like split-screen




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viewing for March Madness. Compare PX40 with PX228 (“Any of this offered to us? . . . I feel

like we should start writing letters to the top every time they intro a feature that deteriorates the

value of the bundle and don’t pass it through to us. We can’t get them to give us a 4K feed, but

they will move content to Apple TV.”).1

       46.    The growth of targeted advertising likewise provides challenges and opportunities

for AT&T. Because of its technology and its direct relationships with its consumers through

more than 100 million connections, AT&T has the ability (consistent with its privacy policy, see

Tr. 3246:12-17 (Stankey (AT&T))), to build an anonymized “data set that [it] could use to sell

advertising” that would enable it to “compete with Google and Facebook.” Tr. 3189:19-22

(Bewkes (Time Warner)); see Tr. 3391:23-3392:1 (Stephenson (AT&T)); Tr. 3208:25-3209:3

(Stankey (AT&T)) (“One of the reasons our data is different is we have a lot of mobile

subscribers who do lots of things that generate data, and we started investing very heavily to do

that.”); Tr. 3770:1-18 (Athey) (describing the different sources of AT&T’s first-party data). But

as a distributor of programming, AT&T gets only two minutes of advertising every hour and thus

lacks the “inventories of advertising,” see Tr. 3392:10 (Stephenson (AT&T)), that Turner and

other programmers (which generally get 14 minutes per hour) retain that would justify investing

to create an advertising business at “a sufficient scale.” Tr. 3243:18-25 (Stankey (AT&T)); see

also Tr. 1405:9-12 (Montemagno (Charter)) (discussing division of advertising time).

       47.    Likewise, AT&T lacks ownership of the content necessary to develop in a timely

way innovative, engaging video content, especially content designed for viewing on mobile


       1
          Although the government suggests that this Apple TV episode indicates that AT&T is
hostile to innovative programming arrangements, AT&T executive Dan York explained that
AT&T’s concern was that there was “no offer at all to us.” Tr. 1677:14-1678:14. In addition,
Mr. York described PX40 as a draft, and the record does not show that it was ever sent. See Tr.
1616:19-25.



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devices. See Tr. 3219:1-3 (Stankey (AT&T)) (“What we don’t have is, we didn’t have

programming. We didn’t have the flexibility to change the product, and that’s what the guys on

the other side had.”); Tr. 3220:19-3221:20 (Stankey (AT&T)).

        48.   AT&T senior executives testified that, from their experience, those sorts of

innovations are extremely difficult to achieve without content ownership, because they must rely

on arm’s length negotiations with content owners who do not know how to value the rights they

are selling for an unproven use. See Tr. 1685:18-19 (York (AT&T)) (“because we can’t assign a

value around that uncertainty, nothing gets done”); see also Tr. 1685:7-16 (York (AT&T))

(“[W]hat I’ve seen in 30 years of doing this is this friction just is constant, and nothing truly

innovative really gets done when we have an arm’s-length commercial negotiation like this. I

see innovation with Netflix and Amazon and Apple and others that are more vertical, and they

can do things with their own content. So it’s really both parties not knowing what this

innovation or new grant of rights will deliver in the future. It’s the uncertainty; it’s the risk. We

both have it. But because we can’t assign a value around that uncertainty, nothing gets done.”);

Tr. 3211:10-3213:2 (Stankey (AT&T)) (discussing conversations with programmers to try to

“build opportunities to do some more unique things” but ultimately “realiz[ing] the path to . . .

innovation was not going to come through . . . these particular companies.”); Tr. 3223:1-2

(Stankey (AT&T)) (“These are the things that traditionally move very, very slowly in the media

and distribution business . . . .”); Tr. 3220:12-3222:15 (Stankey (AT&T)) (providing examples of

“the kinds of things that [AT&T] could envision doing by owning” content that it cannot do

now).




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       C.      The Transaction Will Allow the Combined Company To Meet these
               Challenges and Benefit Consumers

       49.    The vertical integration of AT&T and Time Warner will enable the combined

company to respond to the challenges posed by the current transformation of the video

marketplace and, in so doing, bring better products and better value to consumers.

       50.    Both Time Warner and AT&T have attempted, without significant success, to

respond to competitive challenges regarding, among other things, access to data and flexible use

of content, through contracts with independent parties. See supra FOF ¶¶ 16-18, 48. Experience

has shown that vertical integration can remove the “bargaining friction” that impedes innovation

through arm’s-length bargaining. See, e.g., Tr. 3105:1-3109:14 (Bewkes (Time Warner))

(describing development of multiplex and video on demand (“VOD”) while Time Warner was

vertically integrated with Time Warner Cable); Tr. 3218:22-3219:13 (Stankey (AT&T))

(explaining the “frustration that I alluded to when I was talking about the difficulty getting

programmers to adjust,” hence the goal to “get in and innovate faster and quicker” and “not do it

by contract”); Tr. 1689:24-1690:1 (York (AT&T)) (“You get a little bit more alignment and

willingness to experiment, to trial and see if there’s value and prove these concepts out.”); see

also Tr. 3742:8-14 (Athey) (agreeing that potential benefits of vertical mergers are that they “can

lead to lower prices, higher quality products, and increased investment and innovations”). As

Mr. Bewkes testified, being vertically integrated with a distributor was crucial to experiment to

“know what was possible” and whether the new product was “worth anything.” Tr. 3109:15-

3010:4.2



       2
         That Time Warner spun off Time Warner Cable in 2009 is not probative of the pro-
competitive benefits of vertical integration today. As Mr. Bewkes testified, Time Warner Cable
was dis-integrated in a very different time and was spun off primarily for financial reasons. Tr.
3093:19-3094:6; Tr. 3094:15-3096:17 (Bewkes (Time Warner)) (discussing the financial reasons



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       51.   In August 2016, “it became clear to both [Mr. Bewkes and Mr. Stephenson] that

while [their] companies didn’t overlap, that [they] actually had complementary assets to take

advantage of [the] opportunities or . . . to meet the challenge coming from [] new competitors.”

Tr. 3111:18-3112:7 (Bewkes (Time Warner)); see Tr. 3400:7-3401:5 (Stephenson (AT&T)).

After the CEOs had further discussions with their respective Board of Directors, Time Warner

and AT&T “reached an agreement to merge the companies and put these complementary

capabilities together.” See Tr. 3112:14-23 (Bewkes (Time Warner)); Tr. 3412:5-8 (Stephenson

(AT&T)).

       52.   According to Mr. Bewkes, there were two main strategic reasons beyond price for

doing this transaction with AT&T, both of which relate to the “tectonic” shifts described above.

See Tr. 3113:3-11; supra FOF ¶¶ 9-32. Notably, the strategic rationale did not involve

increasing Time Warner’s leverage to raise the prices of its content for distributors. See Tr.

3116:23-3117:4 (Bewkes (Time Warner)).

       53.   First, combining with AT&T will address Time Warner’s issues relating to direct-

to-consumer distribution. See Tr. 3113:10-11 (Bewkes (Time Warner)). It will do so through

AT&T’s 150 million consumer relationships—and accompanying data—across AT&T’s

telephone, mobile, broadband, and satellite businesses. See Tr. 3113:12-20 (Bewkes (Time

Warner)); Tr. 3114:9-10 (Bewkes (Time Warner)); see also Tr. 635:1-8 (Martin (Turner)).




for the spin-off, and further noting that “Netflix . . . was still sending you movies . . . in the
mail,” “video streaming directly to your house hadn’t really happened” and “nobody in the cable
business or the distribution business at that point was mining data to sell advertising or to sell
[subscriptions].”); see also Tr. 602:22-25 (Martin (Turner)) (“I don’t think at the time we, at
Time Warner, fully understood the importance of what data and customer information would
mean in the future as it relates to advertising and making decisions.”).



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AT&T also has the infrastructure and technical delivery capabilities to distribute content on all

these platforms. See Tr. 3114:3-18 (Bewkes (Time Warner)).

       54.   The merger will allow Time Warner access to AT&T’s customer information and

distribution assets to enable the combined firm to improve the marketing of Time Warner

content. See Tr. 3114:3-18, 24 (Bewkes (Time Warner)). It will also enable Time Warner to

connect directly with its viewers to better inform its programming decisions. See Tr. 3114:19-25

(Bewkes (Time Warner)). In sum, it will allow Time Warner, like the vertically integrated

companies that are now transforming the video marketplace, to “get out of that wholesale

position and actually begin to market and advertise directly to people in a much more effective

and efficient way.” Tr. 624:2-16 (Martin (Turner)); see Tr. 625:17-23 (Martin (Turner)); Tr.

634:5-635:9 (Martin (Turner)). Ultimately, these direct-to-consumer capabilities and related

information can provide “a better consumer experience [by] knowing what to offer people, which

package, which bundle, what kinds of programming within those would be interesting,” as well

as informing programming decisions. Tr. 3114:5-23 (Bewkes (Time Warner)).

       55.   Second, the combination with AT&T also will help Time Warner move in the

“direction of being able to compete with the Googles and the Facebooks in this new, very fast-

growing ad business.” Tr. 3115:22-24 (Bewkes (Time Warner)).3 It will do so in two ways:

(1) AT&T’s data includes information on what people are watching or want to watch, as well as

other preferences, Tr. 3115:11-17 (Bewkes (Time Warner)); and (2) AT&T “has the ability,



       3
          Although the government suggests that an email from AT&T CEO Randall Stephenson
suggests AT&T wants to cooperate, not compete, with Facebook, the document itself makes
clear that Mr. Stephenson was discussing placing ads for AT&T services on Facebook mobile,
not cooperating in selling ads. See PX558 (discussing whether AT&T’s “ad inventory yields
better results on FB mobile.”); see also Tr. 3464:25-3465:1 (Stephenson (AT&T)) (“The first
part of the email is Mark and me talking as me, his customer.”).



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increasingly, to deliver a different ad to a different person” across its platforms, and “they know

which ad to deliver to which person.” Tr. 3115:18-21 (Bewkes (Time Warner)); see Tr. 3762:1-

7 (Athey). Time Warner does not have similar advertisement delivery capabilities. See Tr.

3115:20-21 (Bewkes (Time Warner)).

       56.    AT&T likewise concluded that the merger will position it to compete better in

today’s highly competitive and quickly evolving marketplace and to bring benefits to consumers

that it cannot currently deliver. See Tr. 3403:2-4 (Stephenson (AT&T)) (AT&T’s “vision” that

“distribution of this content to wireless will drive the value of the content up”); see also infra

FOF ¶¶ 245-277 (discussing benefits in more detail). Mr. Stephenson’s notes for his discussion

with the AT&T Board on the proposed merger outlined how ownership of Time Warner’s assets

would drive AT&T’s strategic goals forward by empowering it to “[l]everage customer

viewership data to build unique advertising models” and “[u]se our data, TV, [broadband], and

wireless to increase the value of the content.” DX609.0004–0005 (Bewkes and Stephenson were

“energized” about how the merger “would radically accelerate” those objectives); DX640.0036

(describing part of the “Transaction Rationale” as “[a]ccelerates innovation”).

       57.    The Turner networks’ additional 14 minutes of advertising time every hour will

provide AT&T the inventory scale necessary to justify development of a programmatic targeted

advertising platform for premium video that can compete with the digital advertising duopoly of

Facebook and Google. See Tr. 3243:5-3244:8 (Stankey (AT&T)) (Time Warner content will

provide “a sufficient scale to get started and demonstrate that, in fact, these improvements can be

made in the market and effectively work”).

       58.    Furthermore, owning significant content will solve some of the bargaining-friction

issues that have stymied video and wireless innovations from AT&T. See Tr. 1686:23-1687:25




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(York (AT&T)); Tr. 2971:10-14 (Holanda (RCN)) (conceding that vertical integration has

removed bargaining frictions for Comcast, which “has allowed [it] to innovate more effectively

than [RCN has]”). Owning content will give AT&T rights it previously could not attain and

allow it to experiment in ways that ultimately prove the value of those innovations. See Tr.

3219:1-13 (Stankey (AT&T)); see also Tr. 3222:16-3224:4 (Stankey (AT&T)).

       59.    Moreover, AT&T will be better positioned to integrate Time Warner content into

its own advertising campaign and direct points of contact with consumers (e.g., retail stores),

which is another way the merged firm will “sell more product and drive more revenue.” Tr.

3245:8-9 (Stankey (AT&T)); see generally Tr. 3244:19-3245:6 (Stankey (AT&T)).

       60.    Soon after the AT&T Board approved the deal, Mr. Stephenson sent a memo to the

employees of AT&T and Time Warner—a document known internally as the “Magna Carta,” Tr.

3421:21 (Stephenson (AT&T))—confirming that, among other things, the merged company

would “continue to distribute Time Warner content broadly” and would use its combined assets

“to create new choices, skinnier bundles,” and “video created just for mobile”—in short, “[m]ore

choice, lower cost.” DX625.0001; see generally Tr. 3421:20-3422:24 (Stephenson (AT&T)).

The evidence convincingly shows that it is “more probable than not,” that AT&T will succeed in

achieving the pro-competitive benefits that formed the basis for this transaction. Tr. 3247:5-8

(Stankey (AT&T)).

       61.    Although Time Warner had attempted to address the competitive challenges with

respect to direct-to-consumer distribution and advertising on its own, its management and Board

concluded that this transaction provides the best way “to get there in time, at the right scale [and]

without inefficient cost.” Tr. 3116:14-18 (Bewkes (Time Warner)).




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       62.   As the combined company becomes more innovative and more competitive, other

players will respond with their own innovations. That will benefit all consumers. See Tr.

3107:3-13 (Bewkes (Time Warner)); Tr. 3372:7-23 (Stankey (AT&T)) (lower DIRECTV prices

put pressure on competitors). That is precisely what happened with many of the innovations that

were enabled by Time Warner’s prior vertical integration, including multiplexing and VOD. See

Tr. 3107:7-13; 3110:13-23 (Bewkes (Time Warner)).

II.    The Government Did Not Meet Its Burden To Show That the Merged Company Is
       Likely to Substantially Lessen Competition by Raising the Prices of the Turner
       Networks

       63.   This is a vertical merger between two companies that have highly complementary

assets and that do not compete with each other. Time Warner is a media company, and AT&T is

a distribution company. See, e.g., Tr. 3402:11-15 (Stephenson (AT&T)) (“[T]his [is] a vertical

deal. There are not a lot of overlaps of operation, there is not redundant distribution, redundant

sales and so forth.”). The merger thus will not remove a competitor or increase concentration in

any market, and the government does not contend otherwise.

       64.   The government also does not claim that the combined company is likely to

unilaterally withhold Turner programming from rival distributors or that it would have the

economic incentive to do so. On the contrary, the government’s primary economic expert,

Professor Carl Shapiro, concluded that a withholding strategy would not be profitable and thus

that the combined company would not engage in any unilateral foreclosure of competitors’

access to Time Warner content. See Tr. 2218:14-17.

       65.   Moreover, the government does not claim that the merger will cause the combined

firm to raise its own prices to consumers. In fact, Professor Shapiro again predicted the opposite:

that, as a result of the merger, AT&T will charge its 25 million video customers lower prices for




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MVPD (DIRECTV and U-verse) service than in the absence of the merger. See Tr. 2322:3-5

(agreeing with statement that his analysis shows that “25,000,000 subs or so would have a price

decrease, not a price increase”).

       66.    The government’s primary theory of harm at trial was that the merged company

would have increased “bargaining leverage” that would enable it to force rival distributors to pay

a higher price for Turner networks, and that some of those increases would be passed on to

consumers. As to that claim, the government has failed to carry its burden of showing that the

merger is likely to substantially lessen competition. There is no probative evidence to support a

prediction that consumers will be harmed by this merger.

       A.      The Testimony Refuted the Government’s Bargaining-Leverage Theory

       67.    At the outset, the evidence at trial failed to support the government’s suggestion

that the parties had an illicit, anticompetitive motive for the merger. That theory was

contradicted by the detailed testimony of the chief executives who agreed to the merger, AT&T

CEO Randall Stephenson and Time Warner CEO Jeff Bewkes, as well as the company

documents explaining the rationale for the deal. See Tr. 3111:7-3113:11 (Bewkes (Time

Warner)); Tr. 3411:2-3412:1 (Stephenson (AT&T)); DX640.0036.

       68.    They explained that the goal of the merger is to address the challenges that both

companies face because of the ongoing transformation of the video marketplace. See Tr.

3111:24-3112:13 (Bewkes (Time Warner)); Tr. 3393:6-3397:5 (Stephenson (AT&T));

DX640.0036. In particular, they explained how combining Time Warner’s content with AT&T’s

nationwide distribution assets, particularly its nationwide wireless broadband network, would

allow the company to offer better products to consumers and compete more effectively in the

rapidly changing video and advertising markets. See, e.g., Tr. 3400:17-3401:5 (Stephenson

(AT&T)) (discussing how he and Mr. Bewkes realized the merger could create opportunities



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“most importantly, [in] the mobile, the wireless environment,” particularly by using AT&T’s 100

million wireless subscribers to “leverage the advertising business”); Tr. 3218:22 (Stankey

(AT&T)) (“AT&T has customers. We have technology and distribution platforms to get content

out to customers . . . . What we don’t have is, we didn’t have programming. We didn’t have the

flexibility to change the product, and that’s what the guys on the other side had.”); Tr. 3111:24-

3112:10 (Bewkes (Time Warner)) (discussing how he and Mr. Stephenson recognized that their

companies “had complementary assets to take advantage of” opportunities in “digital Internet

competition” and “meet the challenge coming from these new [OTT] competitors”); Tr. 3113:3-

11 (Bewkes (Time Warner)) (“This combination gives us, in the combined company, we hope, a

good chance to compete effectively in digital advertising and to get the benefits for our networks

of direct-to-consumer distribution.”). Mr. Stephenson’s contemporaneous notes on his initial

discussions with Mr. Bewkes and his analysis before making the first offer also establish that

none of the concerns raised by the government were on his mind. See DX664; DX609.

       69.    Notably, the actual decision-makers at both companies did not and do not expect

any benefits of the merger to result from increased bargaining leverage or other anticompetitive

effects. See Tr. 3119:20 (Bewkes (Time Warner)) (theory is “ridiculous”); Tr. 3251:21-23

(Stankey (AT&T)) (“There is no reality to it.”); Tr. 3430:11 (Stephenson (AT&T)) (“On its face,

the premise—it’s absurd . . . . The idea that all of a sudden Turner is under the AT&T umbrella

and somehow Turner’s content is worth more defies logic to me.”); Tr. 3251:24-3252:2 (Stankey

(AT&T)) (“[A]s you’ve heard, there’s already very intense and aggressive negotiations [that]

occur out of that process. And I expect them to be the same way in the future, and I don’t think

there’s going to be any change.”). Additionally, Richard Warren, Turner’s lead content




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negotiator, testified that he does not “think it’s realistic” that Turner will be able to raise prices

simply as a result of the merger. Tr. 1190:7-17.

        70.     The government’s attempt to support a contrary conclusion relies on cherry-picked,

out-of-context snippets of documents from employees who are not the companies’ leaders—

documents that often were dated, unrelated to the merger, in draft form, or not even authored by

them or anyone else at AT&T or Time Warner. In instance after instance, the government has

introduced documents that were not a final product and do not reflect the judgment of the actual

decision-makers in the companies. Compare PX10 (PowerPoint presentation: “Going Big with

Premiums”) with Tr. 1520:19-23 (Patel (AT&T)) (PX10, a non-merger document, “was the

beginning of the evaluation process” of which premium network AT&T should market);

compare PX30 with Tr. 1714:1-2 (Gibson (AT&T)) (“This was our, again, draft understanding of

some pretty complicated merger conditions.”) and Tr. 1714:9-10 (Gibson (AT&T)) (“[T]his was

a draft. We hadn’t finished this work.”); compare PX11 (email from AT&T employee Bill

Belden to Tim Gibson) with Tr. 1717:17-18 (Gibson (AT&T)) (“These were the statements of an

individual who reported to me reading merger conditions for the first time.”); see also Tr.

1777:16-1778:3 (Manty (AT&T)) (confirming that, other than collecting information, he did not

have “anything to do” with the decision-making surrounding or implementation of the merger);

Tr. 1770:20-21, 1765 (Manty (AT&T)) (testifying that he was unsure whether a statement in

PX184 “was a Bain quote” and not the view of an AT&T employee, but in any event it was a

draft document and had nothing to do with the decision to enter into the Time Warner

transaction).

        71.     In its closing argument, the government claimed support for its theory in a

document concerning Mr. Stephenson’s reaction to Time Warner’s decision to acquire a small




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stake in Hulu, a virtual MVPD. See Tr. 3977:6-3979:6 (citing PX47). But Mr. Stephenson’s

testimony made clear that he simply “want[ed] to make sure [AT&T] got the same access” for its

DIRECTV NOW platform as other virtual MVPDs. Tr. 3477:1.

       72.    The government also attempted to rely on notes Mr. Stephenson used to prepare for

a presentation to the AT&T Board on the proposed merger, claiming they show that AT&T

sought Time Warner content to “advantage” its “distribution” business. Tr. 3979:7-3980:35

(citing DX609). But as Mr. Stephenson testified, the “intent of this” statement was exactly the

opposite: “to tell the Board, you can’t do that. Don’t have that in your mind.” Tr. 3491:7-9.

This is because “the value of a content company is a function of how many people watch the

content. Period. It’s no more complex than that. So content valuations are a function of

distribution. Wide broad distribution. The more distribution, the better you are.” Tr. 3407:10-

15 (Stephenson (AT&T)). Mr. Stephenson confirmed this strategic outlook in his Magna Carta

letter, widely circulated just four days after the merger was announced. That document declared

that the merged firm would “continue to distribute Time Warner content broadly” and indeed

would “extend its distribution deeper into mobile.” DX625.0001.

       73.    Although some rival distributors testified that they are concerned Turner’s affiliate

fees would rise after the merger, none could point to any data or analysis supporting that

concern. See Tr. 147:17-148:10 (Fenwick (Cox)); Tr. 404:22-405:3 (Schlichting (DISH)).

Moreover, these rivals have a natural incentive to oppose this merger: they do not want to

compete against a more competitive DIRECTV. See Tr. 2462:14-23 (Carlton) (“A rival doesn’t

want to see a transaction that makes it[s] competitor more efficient . . . . Well that’s good for the

consumer. Maybe bad for the competitors, I understand that. But that’s the whole point of

competition. We want prices to go down for consumers. We don’t want to protect rivals from




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that [e]ffect.”). As to DISH, the evidence further showed that, as elaborated below, see infra

FOF ¶ 178, these alleged fears of Turner’s power to raise prices conflict with the prior statements

of DISH’s own Chairman that, among other things, Turner networks are among “the easier ones

to take down” if DISH believes Turner’s affiliate fees are too high. Tr. 367:7-368:25

(Schlichting (DISH)).

       74.    Moreover, the evidence shows that vertical integration has not in reality led to the

increase in bargaining leverage that the government theorizes. Madison Bond, Chairman of

Content Distribution at NBCU, testified that the fact that NBCU is affiliated with Comcast Cable

does not factor at all into his negotiations with other distributors, that he never considers that fact

in his negotiations, and that no one from Comcast Cable or Comcast Corporation has ever asked

him to do so. See Tr. 2014:21-2015:15; see also Tr. 882:17-21 (Rigdon (Comcast)) (“Q. . . .

[Y]ou have no reason to believe, do you sir, that the fact that NBC is owned by a company that

also owns a cable company has had any impact on its negotiating strategy with other

distributors? A. That’s correct.”); Tr. 1565:12-14, 1691:1-11 (York (AT&T)) (stating that, in

his experience on the distributor side, “ownership or affiliation of the content company doesn’t

really have an impact on the price of the content” and that he does not give “any consideration

whatsoever” to who owns the programming when negotiating for content rights).4




       4
         The government has relied on PX11 and PX30 to suggest that AT&T thought that
Comcast/NBCU would have increased bargaining leverage as a merged entity (after the consent
decree conditions expired). But the trial testimony showed that this statement was made by a
“junior” person who is “not a lawyer” and not a “regulatory expert” “reading some pretty
complicated merger conditions for the first time.” Tr. 1718:2-4; 1719:8-22 (Gibson (AT&T)).
Moreover, PX30 was a “Preliminary Draft” and “Subject to contradiction [or] alternate
evaluation by other organizations.” Tr. 1720:3-18 (Gibson (AT&T)). After the slides were sent
to senior individuals for further review, the “slides changed dramatically” and made no
prediction regarding increased bargaining leverage. Tr. 1720:24-1721:21.



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       75.    Similarly, testimony from Time Warner and Turner executives established that,

when Time Warner and Time Warner Cable were affiliated, vertical integration did not affect

Turner’s negotiations or bargaining leverage with Time Warner Cable competitors such as

DIRECTV, DISH, or Verizon. See Tr. 3121:22-3122:3 (Bewkes (Time Warner)) (stating that,

when the two companies were integrated, no one raised the added-leverage theory the

government relies on here because “there isn’t any added ability or incentive to do that, and all of

our executives know that”); Tr. 601:15-602:15, 682:14-21 (Martin (Turner)) (“Q. Did you ever

hear that Turner had an incentive to demand higher prices or other concessions from distributors

because it was affiliated with Time Warner Cable? A. No, I did not. Q. Or that it had the

ability to do so? A. No, I did not.”); Tr. 1129:6-12 (Breland (Turner)) (“I’ve been in Turner

when we were a vertically integrated company and had a sister company called Time Warner

Cable. And I can tell you at no time during my tenure there did anyone ask me to consider in my

negotiations and how I dealt with other distributors the outcome and impact at Time Warner

Cable, I was never asked to consider that nor would I consider that.”); Tr. 1190:14-17 (Warren

(Turner)) (“We didn’t do that when we were part of Time Warner Cable. I just don’t think it’s

realistic to take that view that that would be something that we should consider or would do.”).

The government did not provide any evidence to contradict this consistent testimony.

       76.    The evidence at trial established why actual industry behavior does not align with

the government’s theory here. A blackout has disastrous, and immediate, consequences for

Turner. See Tr. 1128:1-1129:4 (Breland (Turner)) (“I lose money the minute I go dark. It can be

catastrophic to my business . . . .”); Tr. 659:22 (Martin (Turner)) (“[I]t’s very bad for business to

go dark.”); Tr. 1189:13-16 (Warren (Turner)) (lost subscriber revenue from going dark has

“massive implications” for Turner’s business). Turner stops receiving license fees as soon as its




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networks are off the air, and loses advertising revenue as a result of under-delivering advertising

on the networks that have gone dark. See Tr. 1095:5-18 (Breland (Turner)). Depending on the

size of the distributor, these losses could be $75 million per month. See Tr. 1095:21-1096:2

(Breland (Turner)). They could be even higher during a time period with popular programming

on the air, because advertising slots are more valuable. See Tr. 1096:9-1097:21 (Breland

(Turner)) (“If we go dark in March Madness, it means not only do you lose your license fees

again standard for each month, but you are going to lose higher volume of ad dollars because live

sports bring a premium for ad sales.”).

       77.    In this regard, real-world evidence of DISH’s drop of most Turner networks show

how expensive it is for Turner to have its networks dropped and to get back onto a distributor’s

platform. During the blackout itself, Turner lost more than $30 million in lost subscriber and

advertising revenue that was never recouped. Tr. 1114:24-1115:2 (Breland (Turner)).

Additionally, in order to get its networks back up on DISH, Turner had to make financial

concessions to DISH worth more than $120 million, including forgoing its right to payments

DISH owed Turner for prior periods. See Tr. 1118:5-20 (Breland (Turner)); see also PX414, ¶ 5.

Turner agreed to these financial concessions in exchange for guaranteed carriage from November

21, 2014, to March 31, 2015—four months—because of the severity of its losses in the blackout.

See Tr. 1118:21-24 (Breland (Turner)) (“Q. Why did Turner give up all of that money to get

back on for four months? A. I’m bleeding, I’m losing a tremendous amount of money. I have

to get back on.”); see also Tr. 652:14-16 (Martin (Turner)).

       78.    Moreover, though the government has attempted to show that Turner has almost

gone dark with several distributors in recent negotiations, Mr. Breland testified that it is

extremely common for negotiations to come down to the last minute, and to sign a new contract




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shortly before the previous deal expires. See Tr. 1093:14-16 (“I maybe signed one deal two or

three days ahead in all of those years [of negotiating for Turner]. They always come down to the

last day and sometimes the last handful of minutes.”). He explained that this has become the

usual course of negotiations in the industry for the past ten years or so, as subscriber growth has

slowed and pressure on day-to-day revenue streams has increased. See Tr. 1093:18-1094:8

(Breland (Turner)). But while Turner prepares for the possibility of going dark with a distributor

in the ordinary course, Turner sees these preparations as necessary to understand the severe

financial impact of a blackout. See Tr. 1094:16-1095:1 (Breland (Turner)) (“[Y]ou never want to

go dark if you are a programmer. You bleed instantly. But you have to be prepared . . . . It’s

just prudent math.”). Indeed, Turner executives have testified that Turner has only ever

considered the possibility of going dark with a distributor when that distributor has sought a

particular contract term that would have a cascading effect across Turner’s Most Favored Nation

(“MFN”) clauses, which require Turner to extend to other distributors certain types of terms

given to any one distributor, or if the sought-after term would harm Turner’s ability to compete.

See Tr. 1099:21-1100:17 (Breland (Turner)) (providing an example of a distributor that sought

an MFN that would give it protection against Turner competing “as a distributor”); Tr. 658:11-

659:1 (Martin (Turner)) (same).

       79.   Beyond that, as Mr. Bewkes testified, if Turner goes dark, not only does it lose

subscriber fees and subscription revenue, but also its supply of programming will “start[] to dry

up because the sports leagues don’t like it if their games aren’t carried wherever,” and “[t]he

talent doesn’t like it if their show isn’t everywhere.” Tr. 3120:6-12. Moreover, other

distributors may try to take advantage of Turner’s weakened state to extract a better deal from it.

See Tr. 3120:19-22 (Bewkes (Time Warner)). In short, Mr. Bewkes explained, the supposed




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added leverage is like moving from the “risk that a thousand-pound weight might fall on us” to

the risk of “a 950-pound weight” falling instead: “[A]re you going to think about it differently,

feel differently? Are you going to take more risk that any of that might happen to you?

Absolutely not.” Tr. 3120:23-3121:7.

       80.    For all these reasons, broad distribution is critical to the long-term success of any

video programmer. See Tr. 3079:1-3 (Bewkes (Time Warner)); Tr. 3407: 9-12 (Stephenson

(AT&T)). Indeed, Mr. Stephenson represented to the AT&T Board of Directors that limiting

distribution of Time Warner content was antithetical to the goals of the merger: “So I was trying

to tell my board that if there is a thought process that says we’re going to use this content to

enhance the distribution business, that means you’re going to have to limit the distribution, do

exclusive things with AT&T. That is counter to how you create value in one of these

businesses.” Tr. 3407:16-21; see DX609.0008 (Stephenson notes for board discussion regarding

the potential merger); DX625.0001 (Magna Carta: “We will continue to distribute Time Warner

content broadly across the industry.”); see also Tr. 604:17-18 (Martin (Turner)) (“I believe that

distribution is the most important variable for success for any programmer.”); Tr. 1129:18-22

(Breland (Turner)) (“When you’re in distribution it’s all about the scale and reach. You have to

be on all the platforms. Otherwise you don’t have a chance of being successful in this business,

you have to be on every platform. And you favor none over the others; that’s all.”); Tr. 1189:17-

21 (Warren (Turner)) (discussing the importance of broad distribution for relationships with

sports leagues).

       B.      The Government’s Price-Increase Model Provides No Reliable Basis for
               Predicting Likely Consumer Harm

       81.    With no meaningful real-world evidence to support its prediction of substantial

harm, the government’s theory relies primarily on a theoretical bargaining model presented by its




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economic expert, Professor Carl Shapiro. Initially, Professor Shapiro used the model to predict

that the merger would have caused the average consumer’s monthly cable or satellite bill to go

up by about 0.2% (27 cents). See, e.g., Tr. 2450:16-17 (Carlton). Several weeks later, however,

Professor Shapiro revised this estimate upward, but still below 0.5% (45 cents), cf. Tr. 2513:4-5

(Carlton), by adjusting certain inputs that would cause his estimate of harm to go up, but not

adjusting others that would cause his estimate of harm to go down, see Tr. 2346:17-2347:8

(Shapiro); see also infra FOF ¶¶ 192-194. Then, in his testimony during the government’s case-

in-chief, Professor Shapiro relied principally on the 0.2% (27-cent) estimate, only to concede on

rebuttal that once the model is updated to include 2017 data for just one of the critical inputs—a

change in margins Professor Shapiro himself deemed “reasonable,” Tr. 3843:17—the new

estimate would be only 0.1% (13 cents). See Tr. 3851:6-15 (Shapiro). These facts demonstrate

that the model is, at best, imprecise and its results are highly sensitive to the inputs and

assumptions used in applying it. See Tr. 2516:13-14 (Carlton) (“Well, his model depends a lot

on the value you have for these key parameters.”).

       82.    The government did not show that its necessarily imprecise estimate of harm is

statistically distinguishable from zero. As Professor Carlton explained, such a “tiny percent

increase” could in fact “be zero just because of normal fluctuations in how we estimate models.”

Tr. 2450:24-2451:3. Indeed, Professor Shapiro did not conduct any statistical tests to analyze

whether that “tiny percent increase” was in fact different from zero, as Professor Carlton also

explained. See Tr. 2450:16-2451:25.

       83.    For this reason alone, the model is not a reliable basis to predict a substantial

lessening of competition. As Professor Carlton stated when asked “how much confidence should




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this Court have in the numbers produced by Professor Shapiro’s model?,” the answer is “None.”

Tr. 2450:1-3.

       84.      Moreover, as Professor Carlton further explained, because the model’s predictions

are necessarily imprecise, substantial harm to consumer welfare could result from relying on its

conclusion of a small amount of harm to block a merger, particularly a vertical merger that will

yield consumer benefits: “[I]f you adopt the standard where someone can come in and say I

think there’s going to be a slight percentage wise price increase, [but] I can’t tell you it’s any

different than zero, you stand the risk of stopping a merger that could create benefits to

consumers. That’s going to wind up harming the public.” Tr. 2451:4-12, 2451:18-23.5 Such a

result would be “dangerous” to consumers. Tr. 2451:24-25 (Carlton).

       85.      In all events, the evidence established a series of other significant flaws in the

government’s application of the model, each of which independently establishes that Professor

Shapiro’s model is not probative here and cannot reliably predict that this merger will likely

lessen competition substantially.




       5
          The government attempted to defend the significance of Professor Shapiro’s 27-cent
estimate by pointing to an instance in which, purportedly, Turner “almost went dark . . . because
of a one-penny price increase,” implying that Turner had threatened to withhold programming in
order to obtain an increase of one cent in a distributor’s affiliate fee. Tr. 991:15-17 (questioning
Breland (Turner)). That is misleading at best. As Mr. Warren from Turner explained, the
government mischaracterized the circumstances of that negotiation. In that instance, the
distributor sought to stay near its “legacy” rate, which was below what others in the market were
paying, and was only willing to increase that rate by one cent. See Tr. 1187:5-21. In addition,
the distributor did not want to pay rates that varied by penetration (the percentage of subscribers
that would receive the service). See Tr. 1187:14-21 (Warren (Turner)) (noting the distributor
wanted to pay “the lowest rate, regardless of how they carried the service”). Moreover, Turner
did not go dark and ultimately agreed to the small “penny year-over-year rate increases” on the
legacy rate that the distributor was demanding. Tr. 1187:23-1188:1 (Warren (Turner)).



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                    i. The Government’s Price-Increase Model Ignores Real-World Evidence

       86.    The government relies on Professor Shapiro’s model to attempt to show that, after

the merger, prices for the Turner networks will increase because the economic consequences of

Turner’s failing to license its content to a distributor will change. See Tr. 25:4-27:2 (opening).

That change, the government asserts, results from the prospect that some consumers might

switch from the distributor to DIRECTV/U-verse to obtain the lost Turner content and the

merged company could therefore recoup some portion of the revenue that Turner would lose.

The real-world evidence belies that price-increase theory.

       87.    Professor Shapiro was clear that he does not believe that there will be an economic

incentive for the combined company actually to withhold the Turner networks: “I’m not saying

that after the merger, Turner will deny its content to the other distributors. This is not a

foreclosure-withholding story.” Tr. 2218:14-16; see also Tr. 2293:2-13 (agreeing that the

merged company will continue to license Turner content to rival MVPDs and virtual MVPDs).

       88.    Nonetheless, the government contends that Turner will be able to “more credibly

threaten to withhold” its networks. Compl. ¶ 35. Professor Shapiro’s model assumes that Turner

will have more bargaining leverage after the merger simply because it will be owned by AT&T.

See Tr. 2216:17-2217:5 (Shapiro). The model further assumes that, given Turner’s theoretically

higher “walk away” point, rival distributors will agree to pay a higher price for the Turner

networks because, in this hypothetical negotiation, the parties always “split the difference”

between their respective “walk away” points. See Tr. 2213:13-25 (Shapiro).

       89.    This theoretical model does not accord with the substantial evidence presented at

trial as to how negotiations in this industry actually work. Indeed, Professor Shapiro admitted

that, unlike his academic model, “the real world is messy, and it’s imperfect,” Tr. 2210:22-23,

and “bargaining is a dark art in many ways,” Tr. 2213:12. Further, he agreed that his model does



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not literally predict a price increase in individual negotiations and “cannot capture all of the

uncertainties and personalities and unpredictable factors and hairy stuff that might [a]ffect

negotiations.” Tr. 2294:18-2295:6.

       90.    As shown above, see supra FOF ¶¶ 67- 80, the evidence at trial overwhelmingly

established that vertically integrated media companies do not obtain added leverage from which

to extract higher prices. Indeed, Professor Shapiro conceded that there is a “strong tension”

between the real-world behavior reflected in this consistent trial testimony and the assumptions

in his model. Tr. 2311:12-13. He further conceded that, if the Court credited the testimony of

these executives who actually negotiate content agreements for a vertically integrated company,

the “concerns” he raised as to the merger “would not arise.” Tr. 2311:16-19 (Shapiro); see also

Tr. 2202:3-12 (Shapiro) (“If you accept that [NBCU negotiates without considering the interests

of the distribution company] then this bargaining leverage will not come into play”).

       91.    Moreover, the evidence further showed that the structure and organization of the

merged firm would not enable the sorts of incentives Professor Shapiro fears. After the merger,

AT&T will be divided into “four unique operating groups.” Tr. 3247:13 (Stankey (AT&T)).

Most critically for these purposes, AT&T’s pay-TV services (like DIRECTV) will be in “the

communications company,” while the companies currently known as Time Warner will be

housed in “the media company.” Tr. 3247:14-21 (Stankey (AT&T)); see Tr. 3423:20-3427:10

(Stephenson (AT&T)); see also Tr. 3471:7-10 (Stephenson (AT&T)) (“[P]reserving the culture,

that is the main reason we’re talking about organizing the business the way we are, is to preserve

the culture of both companies.”). Each distinct company will be led by a separate CEO and

management, and they will be charged with implementing a business plan distinct to that




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individual business and accountable for the financial success of that particular business. See Tr.

3471:19-22 (Stephenson (AT&T)); Tr. 3248:21-25 (Stankey (AT&T)).

       92.   The disparate groups will be barred from sharing certain confidential information

(for instance, the “media” company will not be permitted to know the terms of DIRECTV’s

affiliate deals), as a matter of both contract and AT&T policy. See Tr. 3428:20-3429:2

(Stephenson (AT&T)); see also Tr. 3250:15-19 (Stankey (AT&T)) (referring to “non-disclosure

agreements” and “separately structure[d] entities” to “firewall” information sharing); Tr. 3251:2-

3 (Stankey (AT&T)) (“There will be no Turner employee that can gain access to DirecTV

carriage agreements and vice versa.”). The reason is straightforward: because AT&T has

multiple lines of businesses, its competitors in one business are often its customers in another.

The survival of those relationships depends on appropriate limitations on information sharing.

See Tr. 3429:13-17 (Stephenson (AT&T)) (“I never want Verizon to question that the

information I get by doing business with them is being shared with the retailer. They’ll stop

doing business with us . . . but it’s also just inappropriate.”); Tr. 3250:20-3251:1 (Stankey

(AT&T)) (“We have sensitive information all over AT&T today . . . . I mentioned I ran the

wholesale business, as an example. And I would sell to competitors who compete with our

business services group that sells directly to retail customers like Bank of America and GM.

There were hard firewalls. My contracts could never be seen by anybody else in the business.”).6



       6
          AT&T will be able to achieve synergies despite the independence of the four operating
companies because the objectives to become more competitive will be built into the operating
plans of the companies and “the fact that it’s in their operating plan will drive that level of
cooperation.” Tr. 3249:1-10 (Stankey (AT&T)). Further, even with arm’s-length negotiations
among the operating companies, the elimination of the double margin will reduce price pressure
because AT&T can reduce the profit requirements on the communications company, which
allows it to pass cost reductions on to consumers. See Tr. 3503:24-3504:18 (Stephenson
(AT&T)).



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       93.   The evidence also shows that the merger will not affect what rival distributors are

willing to pay for Turner content. See Tr. 884:4-6 (Rigdon (Comcast)) (“I don’t know how

[AT&T and Time Warner] [a]re going to operate the company, but I don’t have any reason to

believe that it will impact my negotiations with Turner or HBO.”); cf. Tr. 421:5 (Schlichting

(DISH)) (“Why would we recommend [to the decision-maker at DISH] that we pay more

money?”). [REDACTED]. Mr. Warren from Turner even testified that, in his most recent

negotiations with Charter, the cable company’s preference was to “wait until after the merger

and . . . negotiate with [Turner] then.” Tr. 1102:9-14. Not even Professor Shapiro was willing to

predict that the Chairman of DISH, Charlie Ergen, would actually pay the increased fees his

model predicted. See Tr. 2307:15-19 (“Q. . . . [D]o you have any reason to believe that Mr.

Ergen is going to pay almost $300,000,000 in additional money just because Turner merged? . . .

A. I am not trying to get into the head of Mr. Ergen.”).

       94.   Additionally, Professor Shapiro agreed that “fundamentally” the model “rests on

the threat of a permanent blackout of Turner programming.” Tr.2394:5-7 (emphasis added).

However, as he conceded, “in the real world there has never been a permanent blackout of the

Turner networks” on any major MVPD. Tr. 2394:8-11 (Shapiro) (emphasis added). Professor

Shapiro further agreed that, even in fiercely contentious negotiations, “virtually every one of

these impasses is resolved after requiring either no blackout or a short-term blackout.” Tr.

2396:1-5. The threat of a permanent blackout is thus not a credible one in the real world, and it

is not one that would give Turner any additional leverage. For the same reason, Professor

Shapiro’s model is not a reliable predictor of actual market behavior.




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       95.    Consistent with all the trial testimony that vertical integration does not affect

bargaining outcomes, the real-world data does not support the government’s model’s prediction

of higher content prices after a programmer vertically integrates with a distributor.

       96.    There are three relevant transactions that allow one to test the effects of vertical

integration on the price of content. They are: (1) the 2011 merger of Comcast and NBCU;

(2) News Corp./Fox’s divestiture of control of DIRECTV in 2008; and (3) Time Warner Inc.’s

2009 divestiture of control over Time Warner Cable. Professor Shapiro did not analyze any of

these transactions or look at whether his predictions were consistent with these actual events.

See Tr. 2337:9-2338:25 (Shapiro). He failed to do so even though, as he acknowledged, he has

written that “the most direct way” to measure the “reliability of different methods of evaluating

proposed mergers” is “to compare the observed changes from completed mergers against

premerger predictions.” Tr. 3885:25-3886:20. And, as Professor Shapiro recalled, he criticized

another academic in the context of the Fox/DIRECTV acquisition for failing to provide sufficient

empirical evidence to support a bargaining leverage theory. See Tr. 3886:21-3887:8; see also Tr.

3890:11-14 (Shapiro) (“Since he did not do empirical analysis to support his bargaining model

and did not have prior historical evidence, my view was that his analysis was incomplete.”).

       97.    Professor Carlton, on the other hand, did analyze these real-world events as the best

evidence to predict what is likely to happen with this merger. As he testified, “[u]sually when

you are studying a merger you don’t have the luxury of seeing what’s going on in past

transactions that are similar. That’s different here. We have at least three that are relevant . . . .

Those are all great opportunities to study whether there’s any truth to the government’s claim

that vertical integration in this industry leads to higher content prices.” Tr. 2440:1-11; see also

Tr. 2478:17-18 (Carlton) (“[M]y preference is always to see what’s happened.”).




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       98.    The evidence from those transactions shows that, contrary to the government

model, there is no statistical support for the conclusion that distributors pay more for content

where the content provider is affiliated with a competing distributor; in fact, there is some

statistical support for the conclusion that these transactions cause prices to fall. See Tr. 2470:13-

21, 2477:3-12 (Carlton). As Professor Carlton explained, “some show a decrease that is

statistically significant, but none, let me emphasize this, none show a statistically significant

increase in price, which is what the government is claiming should occur.” Tr. 2477:9-12.

Because the market is now more competitive than it was at the time of these transactions, it is

even less likely that there would be a price increase now. See Tr. 2476:6-9 (Carlton) (“So if you

didn’t see a harm, a support for the government’s theory back then when times were less

competitive, you’re unlikely to see it, certainly unlikely to see it in the future as times become

more competitive.”).

       99.    In particular, Professor Carlton testified that, as to the most recent of these

transactions, Comcast/NBCU, he reviewed data from multiple sources and did regression

analyses using a wide variety of datasets. See Tr. 2470:2-2473:18. Those analyses consistently

led to the conclusion that NBCU’s prices did not increase more than those of other programmers.

See Tr. 2470:13-21 (Carlton). Professor Shapiro did not offer any econometric analysis that

contradicted these consistent findings. See Tr. 2473:24-25 (Carlton).

       100. Although the government has suggested that the lack of a price increase relative to

other programmers may reflect the fact that Comcast competes regionally, and thus does not

compete with some other distributors, Professor Carlton confirmed that he found no price

increase for NBCU programming associated with the merger even when he looked at actual

prices paid over time by national distributors (DISH and DIRECTV) that do compete with




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Comcast everywhere within Comcast’s footprint. See Tr. 2474:11-17. Professor Carlton

likewise explained that the existence of conditions on the Comcast/NBCU merger was not a

valid distinction, because the arbitration/no-blackout mechanism here is “very similar” to what

was imposed there. Tr. 2475:1-3; see Tr. 2557:17-21 (Carlton) (“I simply made the observation

that there were conditions in that case that look pretty similar to the arbitration commitments in

this case. And I’m observing that in that other case, there was no effect [on prices].”).

       101. Indeed, in its response to an interrogatory, the government stated that it takes no

position on whether the prices for NBC content increased as a result of the Comcast/NBCU

merger. See DX893.00027-.00029. The government asked Professor Carlton whether an uptick

in the rate of NBCU price increases to DIRECTV in the first contract DIRECTV entered with

NBCU as a vertically-integrated company showed that prices rose as a result of the Comcast-

NBCU transaction. See Tr. 2568:4-16 (Carlton). However, as Professor Carlton explained, that

there was an uptick after signing the contract is “utterly irrelevant” as a matter of economic

logic. Tr. 2570:4-5. What matters for determining whether there was any price increase as a

result of the merger is that the NBCU and “All Other Networks” price trend lines begin in 2010

at the same place, and end in 2017 in the same place. Tr. 2570:6-23 (Carlton). More important,

Professor Carlton explained that his graph was only suggestive; his “econometric study” showed

there was no evidence that prices increased following the Comcast-NBCU merger. See Tr.

2471:3-2473:18 (Carlton) (explaining multiple runs of regression analyses showing “no

statistical support” of a price increase resulting from the merger).

       102. The government’s theory that vertical integration leads to higher prices also is

fundamentally inconsistent with the fact that programmers have spun off distribution assets, as

Time Warner did with Time Warner Cable and News Corp/Fox did with DIRECTV. See Tr.




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2468:25-2469:24 (Carlton). As Professor Carlton testified, “[t]he government’s theory is that

vertical integration is profitable for the firm because they harm their rival and they make more

money. Well, if that’s true, if you’re vertically integrated, you wouldn’t vertically disintegrate

because, according to the government, you’re now not going to make as much money. The

government’s whole theory is that vertical integration is bad, and the company makes, you know,

excess—too much money. Well, then you should never see vertical disintegration.” Tr.

2469:11-19.

       103. Professor Carlton’s analysis on that point is buttressed by the testimony of Time

Warner executives. Time Warner CEO Jeff Bewkes stated that Time Warner never considered

that the Time Warner Cable spinoff might reduce the prices it could charge distributors. See Tr.

3122:20-24. Turner Chairman and CEO John Martin likewise confirmed that the spin off, with

which he was closely involved as then-CFO of Time Warner, see Tr. 599:5-11, did not affect

Turner’s ability to negotiate affiliate fees with distributors. See Tr. 603:19-604:1 (“Q. Now, at

the time of the spin-off, were there any discussions that Turner’s prices to distributors would go

down after the disintegration on the theory that they were artificially propped up during the

vertical integration? A. No. Q. And afterwards, did you observe that Turner’s pricing, I mean

after the spin-off, suddenly went down? A. That did not happen.”).

       104. Rather than rely on the ample available real-world data, the government, through

Professor Shapiro, relied on “a complicated [economic] model to put it mildly.” Tr. 2446:25-

2447:1 (Carlton). Relying on models instead of real-world evidence is a dubious approach in

any case: “trying to build models that are predictive [is] more speculative . . . than analyzing

data of what has actually occurred.” Tr. 2526:13-15 (Carlton). In this case, moreover, the

evidence repeatedly showed the government’s model to be fragile and highly dependent on a




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series of incorrect assumptions. It is extremely sensitive to erroneous inputs and is, in numerous

independent respects, not consistent with reality. It is thus of little use in making predictions

about the real world.

                   ii. The Model Ignores Existing Contracts That Undermine The Predictions
                       of Harm

       105. Professor Shapiro’s model fundamentally fails to model the effects of this merger

on these facts because, in predicting price increases, it ignores the contractual protections against

such price increases that are contained in Turner’s existing contracts with its distributors. See Tr.

2444:10-14 (Carlton). [REDACTED].

       106. Despite that contract, the government’s model assumes an immediate price increase

for Turner programming for every single distributor. Even Professor Shapiro concedes that this

result is inconsistent with the real world: “I fully acknowledge the actual effects will only occur

gradually, because these contracts will prevent the prices from going up right away.” Tr.

2209:17-19; accord Tr. 2316:3-4 (Shapiro) (“I’m looking at the market configuration without

those contracts.”); Tr. 2317:6-2318:6 (Shapiro) (agreeing that one-third of the predicted price

increase cannot happen for years due to one contract alone). Simply put, as Professor Shapiro

himself stated, the existence of that contract means that, even assuming his model is correct in all

other respects, the harm it predicts simply will not occur. See Tr. 2317:12-19 (Shapiro)

(confirming that his predicted harm “isn’t going to happen” and “can’t happen” in “the year after

the merger” and “can’t happen in the second year” either).

       107. Indeed, excluding that one distributor from receiving a Turner affiliate fee

increase—even leaving all other data inputs untouched—eliminates one-third of the price

increase to distributors Professor Shapiro predicted. See Tr. 2317:6-2318:6 (Shapiro). In fact,

acknowledging the existence of this one binding agreement “take[s] away the vast majority of




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the net effect” on consumers. Tr. 2319:15-16 (Shapiro). Professor Shapiro himself did not

dispute that this one correction reduces the monthly consumer price increase his model projects

from $20 million to $3 million. See Tr. 2319:17-20 (Shapiro) (“That sounds like your math is

right . . . .”).

         108. Accounting for all of the current contracts that exist in the real world has an even

greater effect. As Professor Carlton testified, if Professor Shapiro’s 2016 model is corrected only

to account for all existing contracts, the model would predict a net consumer benefit of 20 cents

per subscriber per month, instead of a net consumer harm of 27 cents. See Tr. 2515:25-2516:1.

         109. Professor Shapiro attempted to justify his decision to ignore the existence of these

agreements because his analysis is intended to evaluate “the fundamental incentives and changes

in the market” and these “contracts will . . . expire in time.” Tr. 2209:11-14. But, because of the

inherent uncertainty of predictions further into the future, Professor Shapiro predicted the effects

of the transaction only through 2021. See Tr. 2256:18, 2258:1-2 (“My binoculars are pretty

good, but that’s getting out there a ways.”). [REDACTED]. Thus, the contracts must be

accounted for in the real world, and Professor Shapiro’s attempt to predict the future beyond the

current contracts is too divorced from the facts to be probative.

                   iii. Correcting the Data Inputs Both Eliminates Any Predicted Price
                        Increase and Shows the Unreliability of the Government’s Modeling

         110. The government’s bargaining model independently fails to establish any post-

merger harm to competition because it relies on flawed data inputs. See Tr. 2315:9-17 (Shapiro)

(acknowledging that the quality of the model’s results is only as good as its inputs). As

discussed below, in many instances, correcting just one of these erroneous inputs results in no

projected harm to consumers even under Professor Shapiro’s model.




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                           a. Inputs Overestimate Departure Rate

       111. As discussed above, the hypothetical model used by the government assumes that

Turner will increase its minimum price in bargaining because, after the merger, the losses it

would suffer from failing to reach agreement would be partially offset by revenues

DIRECTV/U-verse would receive from subscribers who switch to that service. The number of

subscribers the rival distributor would lose either through existing customers leaving or fewer

new customers signing up is known as the “departure” or “subscriber loss” rate. See Tr.

2217:15-17 (Shapiro).7

       112. Professor Shapiro relied primarily on a model that (at least initially) assumed a

departure rate of 9%. See Tr. 2356:4-5 (Shapiro). The evidence does not support that

conclusion.

       113. Correcting the government’s inflated departure rate—and making no other change

to Professor Shapiro’s model—eliminates all predicted consumer harm. Professor Carlton

explained that, after considering all of the reliable material that was available, his estimate for

the departure rate is no more than 5%. See Tr. 2503:21-24. He further testified, “If you use a 5

percent departure rate, it turns [Professor Shapiro’s] consumer harms into consumer benefits.

Prices on average go down.” Tr. 2504:8-10; see also Tr. 2515:11-15 (Carlton) (“So if you just

change the departure rate from Shapiro’s 9 percent to Carlton’s 5 percent, Shapiro’s effect goes

from a 27-cent, on average, price increase to a 1-cent price decrease, consumer price decrease.”).

Indeed, Professor Shapiro agreed that it did “not sound unreasonable” that even a departure rate

of 5-6% leads to “no price increase to consumers.” Tr. 2357:4-7; see also Tr. 3871:2-3 (Shapiro)


       7
          In this document, unless the context indicates otherwise, these terms refer to both the
loss of existing subscribers as well as the loss of potential new customers (sometimes called
“gross adds”).



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(“If you just make that change alone, I think we figured that largely eliminates the net MVPD

cost increase.”).

       114. Altman Vilandrie Slides. Instead of relying on evidence of actual drops involving

Turner or even another programmer, Professor Shapiro testified that “the single best

document . . . that [he] found” to inform his assumed departure rate is an April 27, 2017 set of

slides created by a third-party consultant, Altman Vilandrie, for Charter, a rival distributor that

opposed the merger and testified for the government in this case. Tr. 2235:11-14. But, after

Professor Shapiro was presented with evidence that Altman Vilandrie’s original estimates of

losses due to a Turner blackout were much lower, he admitted in his rebuttal testimony that if he

were to make that change, it would largely eliminate the cost increase to MVPDs. See Tr.

3871:2-3.

       115. The Altman Vilandrie slides purport to provide the findings of a “Content

Valuation Project” that Altman Vilandrie performed for Charter. See Tr. 1271:22-23 (Bewley

(Altman Vilandrie)). The slide deck contains estimates of departure rates for existing customers

and losses of gross adds that would result following a hypothetical blackout of Turner and other

programmers’ contract groups. Professor Shapiro relied on what he refers to as the “lower end”

of the departure rates that Altman Vilandrie estimates Charter would experience if there were a

blackout of all Turner channels. See Tr. 2360:25-2361:9.

       116. The Altman Vilandrie slides do not support Professor Shapiro’s modeling

assumption, as the estimates for Turner were inexplicably manually increased. The evidence

shows that, on April 21, 2017, Altman Vilandrie sent what it called the “final” version of its slide

deck to Charter executives. See Tr. 1301:7-21 (Bewley (Altman Vilandrie)). However,

immediately after meeting with Charter on April 26, 2017, the Altman Vilandrie director in




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charge of the project, Stefan Bewley, instructed his team to modify the estimated subscriber

departure rates attributable to the loss of the Turner networks. See Tr. 1310:23-25 (Bewley

(Altman Vilandrie)). Specifically, Altman Vilandrie made manual changes that raised the “lower

end” of the estimated subscriber loss rate for existing customers—the rate on which Professor

Shapiro has relied—from the initial 5% to 9%, without making any changes to its methodology

or data or to the results for any programmer other than Turner. See Tr. 1318:1-11 (Bewley

(Altman Vilandrie)). Mr. Bewley ordered that change while standing in line at the airport to

return from his meeting with Charter. See Tr. 1314:24-1317:15 (Bewley (Altman Vilandrie));

DX681.0023 ([REDACTED]). These manual changes also resulted in an increase for the

“lower end” for its prospective subscriber loss rate (that is, the percentage of potential new

customers that Charter would not get) from 6% to 10%. See Tr. 2814:20-2815:10 (Rossi).

       117. Of the numerous networks included in the slides, those changes were made

exclusively for Turner and then “hard coded” into modeling that generated financial valuation

results. See Tr. 1286:6-7 (Bewley (Altman Vilandrie)); DX684.0002 ([REDACTED]);

DX687.0002 ([REDACTED]). Less than a day later, Altman Vilandrie sent its revised “Final

Readout” presentation with the higher numbers to Charter. See Tr. 1312:22-1313:1 (Bewley

(Altman Vilandrie)). It was not until several months later that Altman Vilandrie applied the

same manual change to its treatment of other network groups. Mr. Bewley admitted that the

decision to make those harmonizing edits was not made, quite notably, until shortly after Altman

Vilandrie revealed “to the DOJ [] the fact that [it] had made the change for Turner and only

Turner.” Tr. 1314:17-19; see Tr. 1314:20-23 (Bewley (Altman Vilandrie)) (“Q. It was after you

told that to DOJ that you then went back and did the additional work in October for the

additional $70,000, correct? A. Yes . . . .”).




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       118. Although Professor Shapiro testified that “it is not my practice” to use data without

“look[ing] into it more and figur[ing] out how reliable it is,” Tr. 3848:10-13, he did not take

steps to determine for himself the reliability of the Altman Vilandrie data before he relied on it.

Professor Shapiro testified that, when he chose to rely principally on the Altman Vilandrie slide

deck, he was unaware that Altman Vilandrie had made these manual changes solely to the Turner

inputs on which he relied. See Tr. 2364:21-2365:10 (Professor Shapiro was unaware of the

change from 5% to 9% for departures of existing subscribers when he relied on the document

and at his deposition). Although Altman Vilandrie had explained the change to DOJ during a

telephone interview in August 2017, see Tr. 1293:14-25 (Bewley (Altman Vilandrie)), DOJ

evidently did not inform Professor Shapiro about the change. See Tr. 2367:7-12 (Shapiro) (DOJ

did not provide Professor Shapiro the original draft of the Altman Vilandrie slide deck).

       119. Professor Shapiro further testified that he did “not review[ ]” Altman Vilandrie’s

work, Tr. 2235:24, and was “not sure” what work Altman Vilandrie did between April 21, when

Altman Vilandrie submitted its original findings, and April 27, when it submitted the altered,

hard-coded results. Tr. 2398:21-25; see Tr. 3863:21-23 (Shapiro) (“Q. So we can establish that

all you did was read the report, right? A. I relied on the report. I didn’t dig behind it.”). Indeed,

even when he confirmed at trial that the Altman Vilandrie slide deck was the most important

evidence for his subscriber loss calculation, Professor Shapiro testified that he never spoke with

anyone at Altman Vilandrie or at Charter. See Tr. 2361:10-17, 3860:16-22.

       120. Although Professor Shapiro initially tried to minimize the importance of the last-

minute manual change by suggesting that using the 5% number for existing subscribers would

only change the overall “subscriber loss rate” he used from 9% to 8.5%, see Tr. 2387:25-

2388:15, the evidence demonstrated that this statement was incorrect. As Professor Peter Rossi,




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defendants’ survey expert, explained, the 5% existing subscriber loss that Altman Vilandrie

manually changed was also used to derive a 6% estimate for loss of prospective customers. See

Tr. 2816:13-2818:3. Thus, when Altman Vilandrie raised the 5% figure to 9% for existing

subscribers, that alteration also necessarily changed the resulting loss rate for prospective

subscribers from 6% to 10%. See Tr. 2811:13-2812:16, 2814:20-2815:10 (Rossi). Accordingly,

to reverse the extraordinary “hard coding” of the Turner results, Professor Shapiro should have

changed both the 9% and 10% figures, for existing and prospective customers respectively, to

5% and 6%. See Tr. 2818:7-17 (Rossi).

       121. When he was presented with evidence during his rebuttal testimony that the 10%

prospective customer figure was also a result of the manual changes undertaken by Altman

Vilandrie, which increased that figure from its original 6% estimate, Professor Shapiro admitted

that he was incorrect. See Tr. 3868:14-20 (“Q. So you were wrong when you testified under

oath in your trial examination a couple of weeks ago when you said the 10 was not changed. The

10 was changed from 6, correct? A. Well, to look at this document, that seems to be the case.

So it appears that I was not aware of that change, so I made a mistake on that.”).

       122. If Professor Shapiro had used the original, unaltered 5% and 6% rates, his model

would have predicted no price increase. See Tr. 2504:8-10 (Carlton); Tr. 3870:22-3871:3

(Shapiro) (“Q. And you know that if you use the 5 and the 6 percent, rather than the 9 and the 10

percent or the 5 and the 10 percent, it’s going to yield a departure rate between 5 and 6 percent.

And as you’ve previously testified, that’s going to wipe out entirely any price increase, correct?

A. If you just make that change alone, I think we figured that largely eliminates the net MVPD

cost increase.”).




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       123. Moreover, Professor Shapiro testified that he relied on the Altman Vilandrie slides

because he believed they were ordinary-course materials used for Charter’s actual content

negotiations. See Tr. 2225:24-2226:5 (“[I]n particular, I’ll emphasize the study done by Charter

regarding what they predicted or expected the impact on their subscribership would be from a

long-term Turner blackout. So that’s ‘normal course of business’ documents, which were

developed as part of the negotiation process or to inform negotiation.”). The evidence, however,

showed that the document was created by Charter to advocate against the AT&T/Time Warner

merger, not for ordinary business purposes.

       124. As an initial matter, Charter’s lead content negotiator, Tom Montemagno,

confirmed that he had “no involvement in commissioning or generating” the Altman Vilandrie

study. Tr. 1355:4-7. Indeed, he was “unaware when” the consultancy was first retained, Tr.

1355:3, confirmed that he “never spent much time with the study” in the course of his work, Tr.

1358:15-17, and admitted he did not even know until his deposition in this case that “the primary

purpose of that study was purportedly for content negotiations.” Tr. 1357:15-23. That

uncontested testimony from Charter’s lead content negotiator—the person most likely to rely on

an ordinary-course content-negotiation study—significantly undermines the suggestion that the

Altman Vilandrie study was a normal-course document intended to inform content negotiations.

       125. Beyond that, Mr. Montemagno expressed skepticism as to the value of data of the

sort provided by Altman Vilandrie purporting to estimate the number of customers who would

cancel their service if a programmer’s channels were not available. See Tr. 1359:19-1360:10.

The best evidence of what actually happens when a distributor drops programming, he agreed, is

the “real world evidence.” Tr. 1360:11-15. He did not, however, have any real-world evidence,




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empirical data, or facts regarding what would happen if Charter lost Turner content. See Tr.

1371:11-16.

       126. Mr. Bewley of Altman Vilandrie, for his part, confirmed Mr. Montemagno’s lack

of involvement. He admitted that during all of his time working on a project purportedly

“designed to inform negotiators dealing with programmers, [he] never met” Mr. Montemagno,

let alone worked with him. Tr. 1297:19-22 (emphasis added). On the contrary, he and the

Altman Vilandrie project team dealt directly with several employees at Charter, including David

Ellen, one of the top executives at the company. See Tr. 1298:6-23 (Bewley (Altman

Vilandrie)). In addition, Mr. Bewley testified that Altman Vilandrie representatives, including

himself, also spoke with the government twice to discuss its Turner loss estimates. See Tr.

1291:13-1292:2, 1324:4-6.

       127. Even apart from the circumstances surrounding the manual alteration to the Turner

estimates, the Altman Vilandrie presentation is unreliable because it relied on three different

methodologies, each of which was “based on what amounts to pure conjecture . . . unsupported

assumptions and unverifiable assumptions.” Tr. 2792:4-8 (Rossi).

       128. The first Altman Vilandrie methodology was an Internet survey. See Tr. 1305:6-

13, 1337:6-15 (Bewley (Altman Vilandrie)). The survey was, in effect, “a combination of three

different survey methods”: a “conjoint survey,” a “channel chooser” survey, and a “Max Diff ”

survey. See Tr. 2792:13-17 (Rossi).

       129. That survey methodology was “completely invalid.” Tr. 2800:24-25 (Rossi).

Altman Vilandrie’s survey methods are not, separately or in combination, a reliable basis for

estimating departure rates. For example, the “conjoint” survey included only 12 networks—and

the only Turner network included was CNN. See Tr. 2793:11-14, 2794:7-9, 2794:12-15 (Rossi)




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(“It is impossible as just a matter of mathematical logic to infer [the value of ] the group of

Turner channels, all nine of them[,] from a survey that only uses one of them.”).

       130. The “Max Diff ” method, which asked respondents to rank networks in small

groups, did include all of the Turner networks, but provided only an ordinal ranking by

“importance.” However, these rankings do not provide any information about how much more

important one channel is than another; they show “[a]bsolutely nothing” about the likelihood of a

subscriber leaving in the event that a particular network is blacked out. Tr. 2795:13-2796:11

(Rossi); see also Tr. 2796:12-14 (Rossi) (“[W]hen you get out a Max Diff, there are a bunch of

numbers that allow you to sort channels from the most important to the least important but

nothing else.”).

       131. Altman Vilandrie then purported to combine these methods to calculate a loss

estimate for existing and prospective subscribers to Charter. That action is not reliable because

these are methodologies that “fundamentally cannot be combined.” Tr. 2796:18-2797:4 (Rossi);

see also Tr. 2800:16-17 (Rossi) (“It’s literally an impossibility, and there is absolutely no way to

combine these two.”). As Professor Rossi testified, “It’s completely invalid. There’s no support

for what they’ve done on the survey side.” Tr. 2800:24-25.

       132. Altman Vilandrie used standard statistical software, Sawtooth, for parts of its

analysis—software that incorporates some of Professor Rossi’s own innovations in survey

methodology. See Tr. 2854:5-10 (Rossi). As Professor Rossi explained, however, Altman

Vilandrie’s procedure for combining the conjoint and Max Diff surveys was “outside of

Sawtooth Software.” Tr. 2855:20-2856:6.

       133. The second Altman Vilandrie methodology was an analysis of set-top box data,

collected from a sample of existing Charter customers, that showed the amount of time these




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viewers were tuned to specific channels. See Tr. 1274:16-18 (Bewley (Altman Vilandrie)).

Because this methodology assesses the behavior of subscribers watching a channel that they do

have access to, it “cannot possibly answer the question about the effect of removing any channel

or group of channels.” Tr. 2802:7-8 (Rossi).

       134. As Mr. Bewley admitted, this method attempted to determine whether a subscriber

would leave Charter in the event of a Turner blackout based solely on the percentage of time the

subscriber watched the Turner channels. See Tr. 1274:22-1275:2. To do that, Altman Vilandrie

was required to rely on unsupported assumptions. Altman Vilandrie simply assumed that 100%

of subscribers would leave Charter if they lost a channel they watched on average a certain

percentage of the time (or more); conversely, 100% of subscribers were assumed not to leave if

they lost a channel that was viewed a certain lower percentage of the time (or less). See Tr.

2802:23-25 (Rossi). These upper and lower thresholds were not based on any actual data, but

were “purely assumed numbers” not explained or “based on any data of any kind.” Tr. 2804:12-

14 (Rossi). Mr. Bewley even admitted that, despite relying on these data, “[y]ou don’t really

understand how much value [viewers] got out of [a channel]” just because you know “how much

people have viewed.” Tr. 1275:17-23; see Tr. 2857:7-9 (Rossi) (“[T]he link between viewing

concentration and switching [due to lack of Turner content] cannot be established using set-top

box data alone.”); Tr. 2807:13-2808:5 (Rossi) (Altman Vilandrie assumed these churn

propensities and thresholds “without any supporting argument or data”); Tr. 2804:12-14 (Rossi)

(explaining that “all of the numbers” used to determine likelihood of churn “are purely assumed

numbers” and are “not based on any data of any kind”).

       135. Beyond that, the set-top-box method is limited to current Charter subscribers.

Altman Vilandrie obviously did not have set-top-box viewing data for prospective customers. In




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Professor Shapiro’s model of potential harm, the behavior of prospective customers is weighted

far more heavily. See Tr. 3857:8-12 (Shapiro). The Altman Vilandrie methodology, however,

does not directly measure viewership data for prospective subscribers. See Tr. 2801:18-24

(Rossi). Rather, it attempts to convert viewing data obtained from the set-top boxes of existing

Charter subscribers into estimates of existing and prospective subscriber losses that would occur

if the entire Turner network group were to be lost. See Tr. 2802:9-2803:3 (Rossi). Thus, the

analysis on which Professor Shapiro relies for his estimate of loss of potential subscribers has no

independent basis or support. See Tr. 2801:21-23 (Rossi) (“[T]hat might raise a red flag in your

mind, how could they estimate departure rates or loss rates for prospective customers if the set-

top box data doesn’t have that.”).

       136. Altman Vilandrie’s third methodology was a “hybrid” methodology that simply

modified the assumptions applied in the set-top box method with “the survey data where people

supposedly state where they care about [a channel].” Tr. 1276:6-12 (Bewley (Altman

Vilandrie)). This method was primarily just a “minor alteration to the set-top box method” that

adjusted the assumed thresholds in the STB method for some channels. Tr. 2808:9-2809:17

(Rossi). Accordingly, just as the set-top-box method “can’t say anything about prospective

customers, . . . [t]he hybrid method can’t either.” Tr. 2808:21-24 (Rossi). Like the set-top box

method, “essentially everything [in the hybrid method] is made up by assumption. If you change

the assumptions, everything changes.” Tr. 2812:17:19 (Rossi). As described above, this method

does not make up for the lack of data on what would happen if the Turner networks were

dropped. And it is as to this “Hybrid STB” methodology that Altman Vilandrie changed the

result with respect to Turner—what Professor Rossi described as “fudging numbers,” Tr.

2859:24-2860:7.




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       137. For all the reasons discussed above, the Altman Vilandrie document is not reliable,

and since Professor Shapiro claims that it is the “single best document” supporting his

conclusions as to departures, Tr. 2235:13, those conclusions also cannot be credited.

       138. Real-World Evidence as to Turner. Professor Shapiro’s estimated departure rate is

also undermined by the fact that his supposed low-end estimate of 9% is far higher than has ever

occurred in the real world due to the loss of Turner networks. See Tr. 2524:22-2525:4 (Carlton)

(explaining that these short-term drops of Turner are relevant).

       139. Distributors have dropped Turner’s channels on only two occasions. In each case,

the departure rate was far lower than Professor Shapiro posited.

       140. The first involved DISH, which dropped most of the Turner networks (including

CNN, but not TBS and TNT) for one month in October and November 2014. See Tr. 1124:22-

1125:3 (Breland (Turner)). Mr. Breland, former President of Turner Content Distribution and

head negotiator for Turner at the time, testified that in the negotiations preceding the blackout,

his team “thought [they] were in pretty good shape,” but that DISH changed the “tenor” of the

negotiations without a clear explanation. Tr. 1113:7-22. From Mr. Breland’s perspective, the

negotiations between the DISH and Turner teams had been “normal” up until that point, and

even at the time of his testimony, it was unclear to him why the blackout had occurred. Tr.

1113:22-1114:5. Mr. Martin recalled that the negotiations came to a stop shortly after Time

Warner announced the launch of the HBO NOW over-the-top product, in response to which

DISH Chairman Charlie Ergen “immediately expressed his disappointment and frustration that

we would be willing to launch a product like that.” Tr. 648:10-649:12; see also Tr. 3131:23-

3132:2 (Bewkes (Time Warner)) (“Charlie Ergen, who runs the Dish company, didn’t like what




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we were doing with HBO and doing competing distribution. And so he sent the message that he

was going to punish the Turner networks by taking them out of distribution.”).

       141. According to Warren Schlichting, the government’s own witness from DISH,

during this blackout DISH lost an estimated 30,000 subscribers—“less than 1 percent” of DISH’s

subscriber base. Tr. 388:10-389:5; see also Tr. 401:4-12, 404:8-11 (Schlichting (DISH)).

       142. The second instance involved Cable One, which dropped all of the Turner channels

for about three weeks in October 2013. See Tr. 1043:18-20, 1107:13-14 (Breland (Turner)). Mr.

Breland testified that the Turner negotiating team entered the final day of negotiations believing

it was “$200,000 apart in economics” from the terms Cable One wanted, but that the Cable One

team “fundamenta[lly] change[d]” its position by seeking only three of the Turner networks. Tr.

1104:18-1105:3, 1106:11-12. Mr. Breland characterized this as being “sucker punched,”

because the teams had gone through the entire negotiating period, and had negotiated all other

terms within the contract, under the assumption that all Turner networks would be included in

the agreement. Tr. 1105:2-1106:17. Though the parties entered into a 24-hour extension, Cable

One dropped six of the Turner channels, and Turner then pulled the remaining three. See Tr.

1045:4-17; 1105:25-1106:01 (Breland (Turner)).

       143. In this instance as well, the departure rate was far lower than Professor Shapiro

posited. The government’s witness from Cable One, Randy Sejen, testified that Cable One’s

subscriber losses were “very, very small” and “fairly insignificant,” and that a 0.6% subscriber

loss rate caused by the blackout “sounds about right.” Tr. 2124:10-11, 2127:21-2128:2.

       144. Testimony from Time Warner and Turner witnesses further confirmed that the

government’s 9% departure rate is highly unrealistic. As Mr. Breland stated, “I’ve got two real

market examples, DISH Network, and I believe I said one tenth of one percent when they were




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dark, albeit without TNT and TBS. But when we were dark with Cable One, I believe their word

about the outage was something along the lines of insignificant.” Tr. 1128:15-19. In the view of

John Martin, Turner’s current Chairman and CEO, who has spent approximately 25 years in the

industry, including at a programmer (Turner), distributor (Time Warner Cable), and the parent

company of both (Time Warner Inc.), the “maximum loss from the Turner networks being off

would be low single digits at most.” Tr. 659:13-660:1. Similarly, Mr. Bewkes, who has spent

nearly 40 years in the industry, testified that “half of [12%] wouldn’t sound reasonable to” him,

stating that percentages around “1 percent . . . maybe 2” would be more likely. Tr. 3123:8-

3124:9.

       145. Although Professor Shapiro initially promoted what he described as a

“conservative” estimate of harm based on the 9% subscriber loss rate, he also did calculations

using a 14% rate—also derived from the flawed Altman Vilandrie slide deck—which he

described as “the higher end of the range.” Tr. 3851:21-3852:13. A 14% subscriber loss rate,

however, is even more inconsistent with the real-world evidence of what has actually occurred

when distributors stopped carrying Turner (and Viacom, as explained below). See infra FOF

¶¶ 149-155. Moreover, relying on the higher end number would violate what Professor Shapiro

testified was his “normal practice” to report the lower end of the range. Tr. 3852:10-14.

Professor Shapiro’s attempt to defend his 9% lower-end figure in the face of evidence that it is

far too high by pointing to an even higher number from the same source lacks credibility and

demonstrates his lack of objectivity.

       146. Estimates of Turner Drop Impact by Rival Distributor. Comcast prepared

ordinary-course business forecasts to attempt to estimate the potential subscriber losses that

would result from dropping Turner. Those estimates are not based on an actual long-term drop




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of Turner, because none exists. Even on their face, moreover, the Comcast drop estimates do not

support Professor Shapiro’s 9% departure rate. [REDACTED].

       147. Mr. Rigdon further testified that Comcast’s drop analyses are designed to be

conservative, in the sense that they err in the direction of overstating potential lost customers.

See Tr. 893:10-18. In Comcast’s prior experience with an actual network drop, which lasted

more than a year, see Tr. 895:6-13 (Rigdon (Comcast)), [REDACTED]. In this regard,

Professor Shapiro did not recall at trial that, compared to Comcast’s one real-world example, the

Comcast drop analysis was “overestimated by eighty percent.” Tr. 2371:25-2372:3. Thus,

although Professor Shapiro testified that the Comcast estimate was near the “lower end of his

range,” Tr. 2237:9-22, that estimate in fact provides no support for his assumptions.

       148. Nor did the government’s other distributor witnesses provide support for Professor

Shapiro’s 9% departure rate. Although Ms. Fenwick of Cox asserted that Turner blackouts

would cause substantial departures, neither she nor Mr. Hinson (also of Cox) made any effort to

calculate, and thus did not know, how many customers would leave in the event of a drop. See

Tr. 140:23-141:14 (Fenwick (Cox)) (if Turner were to go dark, “Q. . . . How many customers

are going to leave . . . ? A. We don’t know. Q. Have you tried to compute it? A. I have not.”);

Tr. 129:18-20 (Fenwick (Cox)) (“Q. My question was isn’t it true that you, your company has

never once done a drop analysis with respect to Turner? A. Not to my knowledge.”);

Tr. 695:17-18 (Hinson (Cox)) (“Q. Have you ever done a drop analysis for Turner? A. Not

specifically for Turner, no.”). Mr. Schlichting from DISH also had no evidence to support his

assertions. See Tr. 404:22-405:3 (does not have a recent projection of how many subscribers

DISH or Sling would lose if Turner went dark); see also Tr. 413:14-16 (confirming he has no

calculations or quantifications of how many subscribers would leave DISH and go to Internet




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distributors if Turner went dark). Nor did Mr. Holanda, CEO of RCN, offer any real-world

evidence of subscriber losses if RCN did not carry Turner. See Tr. 2947:2-13.

       149. Suddenlink Drop of Viacom. Because Turner has never “gone dark” for a long-

term period, both Professor Carlton and Professor Shapiro analogized to the three-year drop of

the Viacom networks by the cable company Suddenlink to estimate a potential long-term drop of

Turner. See Tr. 2226:9-12 (Shapiro); Tr. 2225:22 (Shapiro) (Viacom is “comparable content” to

Turner); Tr. 2478:17-2479:14 (Carlton); Tr. 2548:6-9 (Carlton) (AT&T documents considered

Viacom a “pretty close” proxy for Turner).

       150. Professor Carlton relied on four separate studies of this event. See Tr. 2480:4-10

(Carlton). Those included studies performed by Suddenlink itself, as well as by Comcast,

Charter, and Citi. See Tr. 2480:18-2483:2 (Carlton). All of these analyses concluded that the

drop led to departure rates in the low single digits. See Tr. 2482:24-2483-2 (Carlton); PX373-

021 ([REDACTED]). Indeed, Suddenlink’s own analysis, which it reported to shareholders and

was subject to SEC obligations, found that the departure rate was between 2% and 2.5%, and that

subscriber losses were over within a period of six months. See Tr. 2480:18-25 (Carlton).

       151. Professor Carlton explained why Professor Shapiro’s much higher 9% estimate was

not plausible. See Tr. 2483:6-10. As Professor Carlton explained, that number is an “outlier”

that fails to account for key “industry trends.” Tr. 2483:8-9, 2483:16-19. Professor Carlton

explained that the industry as a whole was losing customers faster in the period after the

Suddenlink drop of Viacom than before, so that a proper analysis must control for those industry

trends (which may explain why the analyses of actual drops that were calculated by distributors

in the ordinary course of business are a fraction of Professor Shapiro’s rate). See Tr. 2483:20-

2484:2; see also Tr. 2490:8-10 (Professor Carlton confirmed his results comparing Suddenlink’s




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customer losses to industry trends with two separate econometric specifications). When

Professor Shapiro’s analysis is corrected to control for those trends, the result is a 4.8% departure

rate. See Tr. 2484:3-8 (Carlton).

       152. Professor Shapiro never offered any specific criticism of Professor Carlton’s

regression—which used Professor Shapiro’s own industry data—and Professor Shapiro likewise

never presented any statistical analysis to show that his departure rate accounted for industry

trends or to justify his failure to account for industry trends. See Tr. 2489:10-13 (Carlton). On

the contrary, his regression simply assumed that all of the increased rate of decline of Suddenlink

subscribership after October 2014 was due to the loss of Viacom and no other factor. See Tr.

2227:15-2228:10 (Shapiro); Tr. 2483:16-19 (Carlton).

       153. Instead of presenting any statistical analysis, Professor Shapiro tried to use a

demonstrative to suggest that industry trends did not change after October 2014 and therefore

could be ignored. See Tr. 2229:2-2230:7 (Shapiro). But Professor Shapiro also acknowledged

that—even based on his own chart—the rate of industry subscriber losses was twice as fast in the

21-month period after the Suddenlink/Viacom blackout as it was during the 21-month period

before. See Tr. 3876:7-3877:9, 3877:16-20. That acknowledged acceleration means that

Professor Shapiro’s model was attributing increased subscriber losses at Suddenlink after

October 2014 to the Viacom blackout when in fact a significant portion of those losses was the

result of industry-wide trends.

       154. Moreover, the demonstrative Professor Shapiro used gave a misleading impression

because Professor Shapiro’s team left off a month of data that showed a steep decline in industry

subscribership in December 2016. See Tr. 3879:1-14 (Shapiro). Professor Shapiro had not been

aware that any month of data was left off his chart, see Tr. 3879:1-8. But when called back to




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the stand two days later for redirect, he tried to justify the omission by claiming that some of the

data for December 2016 was “peculiar.” See Tr. 3915:9. Professor Carlton showed, however,

that even using Professor Shapiro’s chart, which omitted December 2016, the industry decline

was more rapid after October 2014 than before and that Professor Shapiro did not properly

account for the change, see Tr. 2488:5-2489:9 (Carlton). Professor Shapiro was forced to

concede that point on cross-examination. See Tr. 3876:6-3877:9.

       155. Cable One Drop of Viacom. Professor Shapiro testified that his analysis of a long-

term blackout of Viacom on the distributor Cable One led to a “long-term subscriber loss rate of

16 percent.” Tr. 2232:10-11 (Shapiro). But that conclusion simply showed that Professor

Shapiro’s simplistic before-and-after analysis was unreliable. Indeed, a former Cable One

executive agreed that the impact of the Viacom drop “was felt and absorbed” within four to six

months, Tr. 2130:1-4, and that it caused a loss of just two percent of Cable One’s subs.

Tr. 2123:21-2124:12 (Sejen (Cable One)) (“The losses attributable to Viacom are very, very

small . . . and were not significant.”). In addition, Professor Carlton testified that the “Cable One

blackout was not as probative or informative because Cable One underwent a lot of business

transition” after it dropped Viacom. Tr. 2479:7-9 (Carlton) (“They decided to de-emphasize

video. They jacked up their prices of video. They reassigned their sales force, there was

subsequent blackouts of other channels. So I didn’t think that was a good example.”). As with

Suddenlink, Professor Shapiro’s analysis ignored relevant factors and simply assumed that all

impact was due to Viacom––even though the evidence showed that was not so.

       156. Professor Hauser’s Internet Survey. Professor Shapiro also relied on an Internet

survey by Professor Hauser in support of his postulated departure rate. Like Professor Shapiro,

Professor Hauser declined to examine real-world data from past blackouts to determine whether




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his findings were realistic. See Tr. 762:23-763:3, 801:10-802:1 (Hauser). Moreover, Professor

Hauser’s calculations of a 12.2% departure rate for a permanent blackout and an 8.2% departure

rate for a one-month blackout of the Turner channels, see Tr. 795:12-16, 803:23-804:3, 805:10-

17, are inconsistent with the evidence of much lower customer losses from actual blackouts.

Indeed, Professor Shapiro conceded that it was “fair” to compare Professor Hauser’s survey to

the actual Cable One blackout experience and that, in doing so, “[t]hat eight percent number [for

a one-month blackout] seems high.” Tr. 2359:25-2360:18 (emphasis added). Similarly,

government witness Greg Rigdon of Comcast testified that each of Professor Hauser’s estimates

of 8% and 12% “seem[ ] like . . . big number[s].” Tr. 896:10-898:5; accord Tr. 2491:4-15

(Carlton) (Professor Hauser’s 8% departure rate for one month “strikes me as way too high” and

is “nothing like” the Cable One estimate of 1.1% to 1.2% for the actual temporary Turner drop,

which “cast[s] doubt on what Professor Hauser is doing.”).

       157. Professor Hauser’s Internet survey also was “confusing” and “designed in a biased

way,” which renders its results “unreliable.” Tr. 2768:14-15, 2778:22-23 (Rossi). Professor

Hauser conducted an online survey with approximately 1,600 participants. Tr. 765:11 (Hauser).

Participants were drawn from an Internet panel and then broken into four groups of

approximately 400 participants each, three “test” groups and one “control” group. See Tr.

775:10-14 (Hauser); see also Tr. 761:21-762:21-25 (Hauser). The test groups were asked to

consider a permanent blackout, a one-month blackout, and a one-week blackout, respectively.

See Tr. 775:22-776:6 (Hauser). The control group was not presented with any information about

a blackout. See Tr. 776:14-18 (Hauser); Tr. 2768:8-11 (Rossi).

       158. Professor Hauser’s survey was unreliable for at least four independent reasons:

first, it posed the “blackout” scenario to respondents in a biased way that almost certainly




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inflated the prediction of switching behavior; second, it used a confusing, unreliable, and

inaccurate “intent to switch” scale to estimate an expected departure rate in the event of a Turner

blackout; third, there was no showing that the survey sample was appropriately representative of

the universe of pay-TV subscribers; and fourth, Professor Hauser’s margin of error is so large

that it renders his results unreliable. See Tr. 2768:12-2769:8 (Rossi).

       159. The blackout scenario in the survey was “biased” in that it “tend[ed] to visually

overemphasize Turner content” relative to other content. Tr. 2783:12, 15-17 (Rossi). Professor

Hauser testified that many TV viewers think about television in terms of programs or genres of

programming, not channels. See Tr. 817:17-818:5. He therefore began his survey by “priming”

survey respondents to connect programming to specific channels. See Tr. 817:25-818:17.

       160. This priming tended to bias respondents in favor of indicating an intent to switch

because the examples of channels repeatedly displayed a disproportionate number of Turner

channels. For instance, when Professor Hauser presented a screen of “News/Talk” networks to

some respondents, 4 of the 12 network logos displayed were Turner networks. CNN en Español

was included, while CNBC, MSNBC, and Fox Business were not. See Tr. 824:1-14. The survey

included among “Sports” networks TBS, TNT, and TruTV, because they carry the NBA playoffs

and March Madness, even though every other network listed carries only sports programming.

See Tr. 824:15-825:6 (Hauser). Thus, other than these three Turner networks, the “Sports” page

did not include any general entertainment networks, such as the four broadcast networks, despite

the fact that ABC shares the NBA playoffs with TNT and CBS shares March Madness with

Turner, and all of the broadcast networks have significant sports rights. See Tr. 825:7-826:2

(Hauser); see also Tr. 2788:19-2789:8 (Rossi) (excluding the broadcast networks “does provide

another opportunity to display Turner logos.”).




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         161. In addition, in listing examples of “Special Events,” such as the Academy Awards,

Professor Hauser said he relied primarily on a list of the top 100 prime-time telecasts. See Tr.

819:22-820:4. But only one Turner telecast was actually on that top 100 list. See Tr. 821:4-12

(Hauser); see also Tr. 2788:10-15 (Rossi). Professor Hauser then added to the priming page

additional special events only from Turner networks, even though their telecasts were not in the

top 100. See Tr. 2788:16-18 (Rossi) (“This set of logos here includes more Turner logos than I

think is representative of the top 100 events. Because the other top 100 events don’t have any

Turner.”).

         162. Later in the survey, when he presented information regarding the Turner blackout

to the three test groups, Professor Hauser showed respondents a set of 10 large Turner logos at

least six times. See Tr. 838:23-839:3 (Hauser). He did not show logos to the control group for

any other channels during the same questions. See Tr. 2790:24-2791:3 (Rossi). This, as well as

the priming section, biased respondents into overvaluing the Turner networks relative to other

networks for purposes of the survey. See Tr. 2786:21-2787:4, 2789:18-2790:17 (Rossi). As

Professor Hauser acknowledged, he was criticized in a prior case for giving “extra attention” to

the subject of the experiment through “graphic effects and presentation methods” that caused the

results to “likely overstate” the effect being measured. Tr. 844:21-845:6; see Apple, Inc. v.

Samsung Elecs. Co., No. 11-CV-01846-LHK, 2014 WL 976898, at *10-*16 (N.D. Cal. Mar. 6,

2014).

         163. The survey was also biased because it “minimiz[ed] or neglect[ed] many aspects of

switching costs.” Tr. 2783:13-14 (Rossi). In particular, Professor Hauser’s survey ignored

search costs, bundling costs, and psychological costs. See Tr. 2786:10-16 (Rossi); see generally

Tr. 2783:19-2785:16 (Rossi). For example, real-world consumers spend considerable time and




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effort researching alternative pay-TV providers and their offerings before making a decision to

switch (“search” costs). See Tr. 2783:21-2784:2 (Rossi). By doing all of the search work for the

respondents and giving them a set of pre-packaged options to choose from, Professor Hauser

essentially set search costs to zero. See Tr. 2784:1-3 (Rossi).

       164. The academic literature cited by Professor Hauser himself in his report estimates

such switching costs for television subscribers to be between $250 and $400. See Tr. 2785:17-

2786:7 (Rossi). Because the survey only attempted to “evoke a hypothetical switching cost[] of

one type,” Tr. 2786:14-16 (Rossi), it did not (and could not) actually account for the real-world

costs to subscribers of switching and likely inflated the number of respondents who said they

would be likely to switch. As the government’s witness from DISH pointed out, “in the satellite

business you actually have to call up. You have to have somebody come visit your house. They

have to be there, they take the equipment, there’s a lot of inefficiency.” Tr. 266:15-18

(Schlichting (DISH)).

       165. Professor Hauser’s survey also did not directly ask respondents whether they would

switch providers in the event of a Turner blackout. See Tr. 813:4-8 (Hauser). Instead, it used a

“Juster” scale to ask whether they would consider switching and, if so, to indicate “How likely

are you to switch your TV provider, on a scale from 1 to 99?” DX915.0152. The scale included

percentages—10%, 20%, 30%, etc.—and accompanying descriptors such as “very slight

possibility,” “slight possibility,” “some possibility,” and “fair possibility.” See Tr. 813:23-

814:19 (Hauser); DX915.0152.

       166. The evidence showed this scale to be “confusing and biased” as applied here. Tr.

2778:22-23 (Rossi). That is the case because, as Professor Rossi testified, “the text description

[wa]s out of w[h]ack with the numbers.” Tr. 2778:17-21. Indeed, Professor Hauser conceded




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that, if all respondents said that there was a “very slight possibility” (which coincided with a

10% notation on the scale) that they would switch, he would conclude based on his survey that

10% of subscribers would in fact switch in the event of a Turner blackout. Tr. 815:20-816:4. As

Professor Rossi testified, “[n]ow if I told you that I thought there was a very slight possibility

that I would get into a car accident driving from Washington to Baltimore on the Baltimore

Washington Parkway this evening, I don’t think you would say that was one out of every ten

times I attempted that. You might say one out of every thousand or more. So the text

description is out of whack with the numbers. And that’s true throughout the scale.” Tr.

2778:12-19.

       167. Additionally, the Juster intention scale used by Professor Hauser is “very

inaccurate” when used to quantify the actual likelihood of individuals making certain choices (as

opposed to, for example, making relative choices of which product a consumer prefers). See Tr.

2779:1-15, Tr. 2782:2-13 (Rossi) (“[T]here are some situations in which a Juster scale can be

useful. They’re useful I think in a directional sense. . . . That’s not the sense of which the

results of Professor Hauser’s surveys are being used. They are being used as an exact

quantification.”). There is, at best, only a moderate correlation between the scale measurement

and actual probabilities. See Tr. 2779:16-2780:5 (Rossi) (literature cited by both Rossi and

Hauser establishes the average correlation between 0.3 and 0.6, which is even lower than the

correlation between the heights of parents and their children). And even that moderate

correlation “basically disappears” in surveys regarding new products or situations, such as a

permanent blackout of Turner content. Tr. 2780:15-24 (Rossi); see Tr. 2893:3-6 (Rossi) (“[T]he

survey is not about pay-TV. It’s about the reaction of the respondents to a new experience for

most of the respondents being black outed [sic].”). Although Professor Hauser contended that




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the Juster scale was more reliable in this context because pay-TV is a “durable good,” Tr.

787:17-788:2, a television subscription is neither durable nor a good, and Professor Rossi

testified that he does not “know of any marketer or economist who would characterize this

product as a durable good,” Tr. 2893:19-21.

       168. Further, in any consumer survey, the sample should be representative of the

population of interest. Yet, as Professor Rossi confirmed, Professor Hauser did not “do anything

to ensure that his sample was representative.” Tr. 2771:22-24. Although Professor Hauser used

“click balancing” to proportion the sample to the general demographics of the population by

gender, age, and region, “that does not mean that the sample is representative” in terms of “the

important things that he’s asking them about[,] which are things like their view about what’s the

value of Turner content.” Tr. 2772:2-21 (Rossi). For example, the sample might not have been

representative in terms of whether households have multiple services (phone, Internet, video)

bundled together in a “double play” or “triple play,” which might reduce the likelihood of

switching. Tr. 2773:14-21 (Rossi). The people who take Internet surveys generally might not be

representative of the broader population in question, as they are—by definition—“people who

have the time to take the surveys.” Tr. 2773:22-23 (Rossi). Because of representativeness

concerns, Professor Rossi noted that, “[i]n virtually all cases,” he uses Internet surveys only as

illustrations rather than the basis for conclusions. Tr. 2774:4-9.

       169. Professor Hauser also failed to provide “any margin of error in his results,” which

means there is no way to assess the “reliability of th[e] number that’s provided” in his report. Tr.

2775:2-6 (Rossi). Without a margin of error, it would be impossible to determine even how

reliable Professor Hauser believes his own findings to be. When Professor Hauser later provided

a margin of error in his deposition testimony, the confidence interval was “very wide,




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amount[ing] to about forty percent of his [departure rate] estimate,” Tr. 2885:6-12 (Rossi), which

further undermines the reliability of his estimated subscriber loss rates.

       170. Subscriber Loss Mitigation Efforts. The government estimate of departure rate

also fails because it does not adequately account for the fact that distributors that lose access to

programming can use various strategies to stem subscriber losses. Indeed, the government’s own

witnesses testified that distributors can reduce subscriber losses by lowering prices to consumers

or by offering temporary promotions, skinnier bundles, or combinations of video, Internet, and

phone service, among others. See Tr. 140:16-19 (Fenwick (Cox)) (if expenses fell following

Turner blackout, “Q. . . . [Y]ou could pass that savings on to your subscribers by lowering their

cable bills, right? A. Yes[.]”); Tr. 2112:3-4 (Sejen (Cable One)) (“We actually gave rebates to

our subscribers for the month that Turner was off ”); Tr. 2119:3-8 (Sejen (Cable One)) (“adding

replacement networks” is a potential mitigation tactic); Tr. 2948:3-6 (Holanda (RCN)) (agreeing

that “the last thing [RCN] would do is sit on [its] hands” as it “would do everything [it] could to

hang on to [its] customers”). [REDACTED]; Tr. 1429:22-24 (Torres (AT&T)) (drop analyses

are conducted “assuming we did nothing” to forestall churn or to attract new subscribers);

PX0373-021 ([REDACTED]).

       171. That is a significant omission because such countermeasures can be extremely

effective. As Mr. Sejen explained, Cable One had a stronger channel lineup after dropping

Viacom’s networks, because Cable One mitigated that loss by “put[ting] on some very popular

networks that our subscribers had been asking for for years” after the drop. Tr. 2096:21-25.

       172. Consistency with Turner’s Declining Importance in the Transforming Video-

Content Marketplace. All this evidence demonstrating that there would be relatively few

subscriber losses in the event of a blackout of Turner content is consistent with the fact that, in




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today’s video marketplace, little if any content is truly necessary for an MVPD to compete, and

Turner’s content in particular, though valued by some subscribers, is unlikely to drive many

consumers to change providers.

       173. At the outset, despite the government’s suggestion that Turner content is

extraordinarily important to distributors, the evidence showed that Turner’s networks together

account for only about 6% of television viewership on traditional platforms and online. See Tr.

2458:13-15 (Carlton). And Turner’s share has been “falling over time.” Tr. 2458:6 (Carlton).

       174. Similarly, despite the government’s focus on Turner’s rights to various sports

events, Turner’s share of sports programming is small. Overall, Turner has rights to only 1% of

Major League Baseball games, less than 8% of NBA games, well less than 3% of NCAA men’s

basketball games, and no rights at all to football (NFL or college), NHL, MLS, or NASCAR

events. See Tr. 341:1-18, 344:4-21 (Schlichting (DISH)); Tr. 488:2-5 (Martin (Turner)) (Turner

has 8% of NBA games); Tr. 491:20-492:1 (Martin (Turner)) (of MLB, Turner carries only

playoff games, and splits those with Fox); Tr. 629:5-10 (Martin (Turner)) (“[W]e are not in

business with the NFL. . . . We don’t do business with NASCAR. We don’t do business with

college football. Even in golf we only have two rounds of one of the major tournaments.”); see

generally DX609.0013-0014 (“Disney in different league with ESPN” and CBS, NBC, and Fox

all have “NFL” rights). Turner accounts for only 12% of the top-500 highest-rated sports

telecasts, and its highest-rated sports event ranked 161 out of those 500. See Tr. 2459:21-24

(Carlton).

       175. Even Turner’s coverage of March Madness, on which the government repeatedly

relied, is both limited and non-exclusive. See Tr. 489:8-20 (Martin (Turner)) (Turner has a

“fifty/fifty partnership with CBS” for March Madness and only carries the semifinals and




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championship game every other year). As Mr. Schlichting from DISH conceded, any consumer

with an Internet connection can watch March Madness for “[t]hree hours for free” online. Tr.

345:11-13; see also Tr. 2122:6-9 (Sejen (Cable One)) (“[A]t least last year, the viewing of March

Madness did not require—did not require authentication through your cable operator.”).

       176. March Madness, though popular programming, is thus not essential for distributors

to compete. In this regard, although Mr. Schlichting initially testified that “if you don’t have

March Madness you’re not in the pay-TV business,” Tr. 242:14-15, he acknowledged that his

own virtual MVPD, Sling, is “doing well,” Tr. 356:15-16, even though it does not carry CBS and

thus does not offer a significant portion of March Madness, including (every other year) the

national semifinals and championship game. See Tr. 352:15-25. Because it does not carry CBS,

Sling also lacks the NFL games shown on that network, including the Super Bowl in some years,

which is far more popular than any of Turner’s programming. See Tr. 353:12-18 (Schlichting

(DISH)). [REDACTED]; DX708.

       177. Even if certain sports programming has no perfect substitute for some customers,

that does not make it essential for a distributor to compete.8 For example, DISH’s Warren

Schlichting testified that, although regional sports networks have “their own crazies that either


       8
          As John Martin testified, his comment in an e-mail to Mr. Bewkes regarding Sling’s
appeal to consumers absent the Turner networks was made in the context of a difficult
negotiation during a period in which DISH had recently gone dark on the majority of the Turner
networks and “Charlie Ergen had threatened to be out of business with us forever,” which would
have been “economically catastrophic” for Turner. Tr. 653:5-654:5 (discussing PX4); see also
Tr. 577:7-10 (Martin (Turner)) (“I was also trying to rally [m]y boss, who was negotiating with
Charlie [Ergen], who’s among the smartest and toughest negotiators in the industry, to not give
in on some important points.”). Mr. Martin further testified that his comments related to his
belief that Sling was carrying so few networks that it would have benefitted from also offering
Turner networks, although Sling ultimately chose to carry fewer Turner networks than Mr.
Martin would have preferred. See Tr. 576:24-577:4 (“I thought the number of offerings of
networks that they had were so skinny that they would have benefited clearly by having our
networks, which I try to get all our networks on, didn’t succeed.”).



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love you while you have them or leave you if you don’t,” Tr. 455:10-12, DISH does not carry all

the available regional sports networks, see Tr. 344:24-345:1 (Schlichting (DISH)).

        178. The rival distributors testifying for the government provided no empirical evidence

to support their claims that Turner programming is critical for them to compete. Indeed, Mr.

Schlichting admitted that claims about the importance of Turner programming contradicted the

public statements of DISH’s Chairman, Charlie Ergen, who explained in September 2017:

        [I]n today’s market, [a pay-TV provider] could take ESPN down and survive it.
        Five years ago, that would not have been an option. That would have been—that
        would have been suicidal. But today they—they could do it. It would be painful
        but they could do it. And there’s not any channel—there’s not any channel that I
        go to sleep at night that that the price is—that I say if the price is too high for
        my—for our consumers, based on our analysis, that we wouldn’t be willing to
        take down.
See Tr. 376:23-377:10 (Schlichting (DISH)) (“agree[ing] that” Ergen “made” the statement but

not necessarily agreeing with the statement); see also Tr. 367:7-368:25 (Schlichting (DISH))

(agreeing that Ergen said that the Turner networks are “one of the easier ones to take down,” and

calling it “true” but stating that he “disagree[s]” with it).

        179. Turner employees’ and executives’ natural affirmation of the value of their own

networks likewise does not show that they are essential to distributors’ competitiveness. In

particular, descriptions of Turner’s sports rights as “must have” or use of similar terms show

only that Turner executives are advocates for their own networks. These phrases are not literal

descriptions of marketplace dynamics. As the government’s witnesses repeatedly acknowledged,

“must have” is a common term that industry insiders apply to all sorts of content; it does not

actually describe content that any distributor “must” have to remain competitive. See Tr. 127:14-

21 (Fenwick (Cox)) (agreeing “must have” is a “sales pitch term” in “marketing mode”); Tr.

2130:23-2131:6 (Sejen (Cable One)) (“Q. Did you hear from them kind of coming and pitching

that their content was must-have content? A. Oh, absolutely, yes. Q. Okay. You would expect



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to hear that from all programmers? A. Pretty much, yeah. Q. And did you just kind of take that

with a grain of salt? A. Of course.”); Tr. 241:10-20 (Schlichting (DISH)) (“must have content”

is “popular content”); Tr. 340:4-10 (Schlichting (DISH)) (“turn of phrase” used “in sales

pitches”); Tr. 899:13-24 (Rigdon (Comcast)) (“So nothing is must have if it’s over charged for,

you know, so yes, in general it’s a term of art saying it’s popular.”); see also Tr. 1092:18-24

(Breland (Turner)) (“[M]ust have means it’s popular . . . . I don’t in a literal sense mean that I

must have this content or I can’t be successful. I don’t believe that there’s a single network in

the world that we live in that you have to have it to be successful in video.”); Tr. 1092:4-6

(Breland (Turner)) (“It just made me think about all of the signs in restaurants and diners [that]

say well, best cup of coffee.”); Tr. 549:19-20 (Martin (Turner)) (“‘Must have’ is another way of

saying, we have popular programming.”); Tr. 3357:4-9 (Stankey (AT&T)) (explaining that in

PX6, he indicated that Time Warner and “a number of other players in the industry given the

popularity of the content” own “must have” content).

       180. YouTube TV launched without Turner and did not carry the networks for almost a

year. That Google/YouTube re-engaged with Turner for carriage on its new virtual MVPD

service, YouTube TV, does not indicate that distributors need Turner content to be successful.

As both Time Warner’s CEO and Turner’s lead content negotiator testified, Google launched

YouTube TV without Turner and only later decided to re-engage—a year after launch—as a




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result of a change in its business model.9 Tr. 3133:1-3134:20 (Bewkes (Time Warner));

1203:19-1204:6 (Warren (Turner)).10

       181. Nor does Turner charge “industry-leading” fees, as alleged by the government.

Historically, year-over-year, rates for all networks have always moved “higher.” Tr. 91:3-8

(Fenwick (Cox)); see also Tr. 252:14 (Schlichting (DISH)) (“programming rates only go one

direction”)); Tr. 3888:5-10 (Shapiro) (noting there is generally a re-set of prices when new

contracts are negotiated given the general increase in programming costs). And Time Warner

executives explained that higher-than-normal price increases for Turner prior to 2017 reflected a

correction of what were previously below-market rates. See Tr. 1063:3-12 (Breland (Turner))

(“We had made investments in original programming of sports, and we also looked at it as a

catch-up period. For example, Cartoon Network, to our understanding, was—had a big gap

compared to a competitor like Nickelodeon. And CNN was behind Fox News. So we looked at

these as this is [a] catch-up period for us to get back to where we should be. We had done

smaller increases, even CPI increases at certain times. And we were way behind the market, so

this was a catch-up tour of duty.”); Tr. 644:10-15 (Martin (Turner)) (“In the past the price

increases that Turner had sought were less aggressive than that of it[s] competitors such as

Disney and Fox. So we decided that we had to try to catch up the affiliate rates and also in

understanding that we were making big sports commitments and we needed to try to push our



       9
           Contrary to the government’s suggestion, the testimony indicated that YouTube TV
initially considered Turner a fifth-best programmer that was not necessary for launch, see Tr.
1072:4-14 (Breland (Turner)), and added Turner only after it changed the nature of the product to
add a number of other new channels as well, see Tr. 1203:23-1204:4 (Warren (Turner)).
       10
          The government also cited documents to suggest that Time Warner coordinated
Turner’s and HBO’s negotiations with YouTube to gain leverage in negotiations. See, e.g.,
PX481. However, as Mr. Bewkes testified, YouTube “very recently” reached an agreement with
Turner, but still does not have an agreement with HBO. Tr. 3134:19-22.



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rates back up to be competitive.”). Going forward, fee increases are expected to be much lower.

See Tr. 645:1-5 (Martin (Turner)) (“Well, our rate increases are going to decline dramatically

now for the foreseeable future. So we’re going to go from rate increase or subscriber revenue

increases in 2017 that were approximately 13 percent. We anticipate in 2018 it’s going to be low

single digits.”); DX781.0021 (SEALED) (projected subscription revenue growth). If anything,

this recent Turner activity suggests that Turner has obtained full value for its content, not that the

merger will enable it to charge still more.

                           b. Inputs Overestimate Diversion Rate

       182. Independently, the government’s model also relies on a faulty diversion rate, which

is the proportion of customers departing an MVPD that stops carrying the Turner networks who

will sign up for AT&T/DIRECTV. For the most part, the government calculates a diversion rate

by relying on current MVPD market shares, essentially assuming that switching subscribers will

distribute themselves proportionally in accordance with each distributor’s market share today.

See Tr. 2240:23-2241:3 (Shapiro). But with respect to one important aspect of diversion rates—

the number of subscribers likely to “cut the cord” if they leave their current provider—Professor

Shapiro ignored market shares and relied instead on the same Altman Vilandrie slide show he

used to obtain an inflated Turner subscriber loss rate. Tr. 2372:19-2373:4. By understating the

rate of cord-cutting, Professor Shapiro substantially inflated the results of his model.

       183. To calculate a diversion rate, what matters is where switching subscribers are likely

to go today and in the future after the merger—a calculation that requires consideration of what

Professor Shapiro acknowledges is the trend away from traditional MVPDs and toward new

online alternatives (both virtual MVPDs like Sling and YouTube TV, and SVOD options like

Netflix). See Tr. 2372:16-18; see also Tr. 2948:17-24 (Holanda (RCN)) (agreeing that today “at

least half of the customers who leave just RCN’s video services are leaving for [online]



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providers”); Tr. 3449:12-18 (Stephenson (AT&T)) (“Half, half of all the Millenials in the United

States have no subscription service to a satellite or a cable subscription . . . . [T]hey’re largely

using subscription video on demand, SVOD-type services”); Tr. 3450:7-8 (Stephenson (AT&T))

(“DirecTV, lost 1.2 million subscribers in 2017. The whole system, pay TV, cable, satellite, lost

3 million.”).

       184. The government’s diversion-rate calculation underestimates this cord-cutting trend.

Indeed, although cord-cutting is plainly on the rise, the government’s model—because of a

“peculiar feature”—assumes that the number of cord cutters is declining over time. See Tr.

2448:7-9 (Carlton). Professor Shapiro used an industry share of cord-cutters of about 9.8%. See

Tr. 2505:7-9 (Carlton). This share is derived from Altman Vilandrie’s survey results, which

estimates a cord-cutting rate of 16.8% as a result of a Turner blackout (which adjusted to reflect

broader market shares results in a number of approximately 10%). See Tr. 2372:19-2373:5

(Shapiro). However, as Professor Rossi testified, that cord-cutting rate is unreliable because

Altman Vilandrie manually reduced the cord-cutting rate its model generated by 40% before

presenting its results to Charter. See Tr. 2821:3-18 (Rossi) (Altman Vilandrie “[j]ust went

directly in and” multiplied a key figure affecting the cord-cutting finding “by .6 without

justification”). This change significantly lowered the percentage of cord-cutting. Had Altman

Vilandrie not changed its results, Professor Shapiro’s model would have assumed a lower

diversion rate to AT&T. See Tr.2821:19-2822:19 (Rossi).

       185. Moreover, as Professor Carlton explained, publicly available data from SNL

Kagan, a source that Professor Shapiro and the FCC have used for other purposes, shows that the

actual proportion of cord-cutters is approximately 20%, double what Professor Shapiro used.

See Tr. 2505:10-20. That is closer to the 25-30% of consumers leaving AT&T’s MVPD services




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who self-identify as cord-cutters. See Tr. 2506:19-24 (Carlton). In his own work, Professor

Carlton used the more conservative—that is, the more “favorable to the government”—estimate

of 20%. Tr. 2506:7-17 (Carlton). The government’s error is particularly notable given that it is

much easier to switch to an SVOD like Netflix than to switch to a traditional MVPD that

requires specialized hardware to be set up. See Tr. 266:15-18 (Schlichting (DISH)).

       186. Professor Shapiro’s underestimation of cord-cutting overstates consumer harm in

two respects. By overestimating the predicted diversion to AT&T, it overstates the predicted

harm to other MVPDs. See Tr. 2447:25-2448:13 (Carlton). At the same time, failing to consider

the full effect of cord-cutting underestimates the elimination of double-marginalization benefits

to AT&T customers. See Tr. 2465:12-2466:13 (Carlton); see also infra FOF ¶ 246.

       187. Professor Carlton explained that correcting for the government’s underestimation

of cord-cutting—and making no other change to its model—also eliminates all predicted

consumer harm (in part due to the effect of the change on Professor Shapiro’s calculation of

efficiencies from the elimination of double marginalization or “EDM”). See Tr. 2447:25-

2448:13. In fact, it results in a predicted net consumer benefit: “If you just change the diversion

rate by . . . taking . . . cord cutting and instead of making it 10 percent of the market, you make it

20 percent, then Professor Shapiro’s 27-cent price increase on average becomes 6-cent benefit,

decrease.” Tr. 2515:16-20 (Carlton).

                           c. Inputs Overestimate AT&T’s Margins

       188. The government’s profit-margin figure is based on AT&T’s calculation of new

customers’ lifetime values (or “LTVs”) for a three-month period ending in June 2016. See Tr.




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2344:12-16 (Shapiro).11 That figure is outdated and thus not a reliable input into Professor

Shapiro’s model. See Tr. 2999:22-25 (Christopher (AT&T)) (confirming that “the second-

quarter 2016 LTVs” relied on by Professor Shapiro are not “the most recent LTVs”); see also Tr.

2345:1 (Shapiro) (“Having additional data would be helpful.”).

       189. Professor Carlton relied on the same source of LTV data that Professor Shapiro

used, only updated for June 2017. See Tr. 2448:17-20; see also Tr. 2582:20-2583:7 (Carlton)

(AT&T has been “continually refining” how it calculates LTVs in the “ordinary course,” but

“[t]he LTVs that are being produced today are used in the same way as the LTVs in prior years

for financial planning”); Tr. 3027:13-15 (Christopher (AT&T)) (“[T]he overall methodology is

the same. The inputs of how we capture churn and bundling has been modified and improved.”).

Mr. Christopher, the executive in charge of the business unit producing LTVs, confirmed that if

one “wanted to get the best view of the value of a new subscriber to [AT&T],” the June 2017

LTV would be the best source. Tr. 3017:2-8. That more recent data showed LTVs that are 40%

lower than the stale data on which Professor Shapiro relied. See Tr. 2448:17-23 (Carlton); Tr.

3003:15-20 (Christopher (AT&T)).12

       190. The decline in AT&T’s LTV values from June 2016 to June 2017 is consistent with

the reduction of margins across the industry. See Tr. 2449:2-4 (Carlton); Tr. 3853:18-19

(Shapiro) (“I think it is not disputed that the video margins are going down.”); Tr. 3016:13-22

(Christopher (AT&T)) (describing the “overall” “downward” margin trend); Tr. 2950:24-2951:2



       11
          Lifetime value measurements “capture the value of new subscribers. It is calculated
simply by how long a new group of customers will stay with us, times the margin we get from
those customers, minus the cost to acquire those customers.” Tr. 2997:16-19 (Christopher
(AT&T)).
       12
           Professor Carlton further explained his understanding that a “coding error” did not
affect the June 2017 LTV data he used. See Tr. 2582:11-12.



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(Holanda (RCN)) (acknowledging that “over the last five, seven years, [] margins at RCN on the

video product have decreased by over half”); Tr. 462:5-8 (Schlichting (DISH)) (“DISH is still

making some money on video, but our margins have been compressed [and] are declining”); Tr.

708:22-25 (Hinson (Cox)) (“every year . . . our video margin does continue to decline”);

Tr. 1399:8-11 (Montemagno (Charter)) (agreeing that video “margins at Charter . . . have

considerably eroded over the past few years”); Tr. 2110:21-22 (Sejen (Cable One)) (“the

business had changed to the point where nobody was making money on video”).

       191. That reduction in margins, in turn, is the natural consequence of the increased

competitive pressure affecting distributors across the industry. See generally Tr. 3003:15-3004:5

(Christopher (AT&T)) (updated LTV figure is “approximately 40 percent lower” because AT&T

is “acquiring fewer customers,” “paying more to get those customers,” facing rising “content

costs,” and “paying more to retain” existing customers); Tr. 3004:6-9 (Christopher (AT&T))

(describing pressure on margins: “In 2016, our traditional video business lost 133,000

customers. In 2017, we lost 1.2 million. So those trends are significant pressure. They pressure

LTVs.”); Tr. 3004:2-12 (Christopher (AT&T)) (explaining the challenge of dealing with the

“significant transformation” of the traditional video business and the downward pressure on

LTVs flowing from this transformation); see also supra FOF ¶ 43 (collecting industry witness

statements that video distribution market has never been more competitive).

       192. The government knew its LTVs were outdated, yet chose to use a stale input (one

that made its model yield a larger estimate of consumer harm). Indeed, the government learned

the exact June 2017 LTV figure during discovery, when David Christopher testified about it at

his deposition on February 14, 2018, 12 days before submission of Professor Shapiro’s rebuttal

report. See Tr. 3002:16-25 (Christopher (AT&T)). Professor Shapiro’s report even cited that




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very deposition, even though Professor Shapiro did not read the deposition transcript or even

know who David Christopher was. See Tr. 2345:17-2346-9.

       193. Professor Shapiro’s rebuttal report nevertheless continued to use the obsolete figure

for margins; that omission is particularly significant given that Professor Shapiro’s rebuttal

report updated other figures in ways that generated a larger estimate of consumer harm. See

Tr. 2346:17-2348:2 (Shapiro).

       194. Moreover, the backup material for the updated figures was provided with Professor

Carlton’s rebuttal report on February 26, yet Professor Shapiro still did not update his margin

figure to include more recent final data. See Tr. 3845:5-12 (Shapiro) (“Q. Okay. As of

February 26, 2018, you had data for not only June 2017 for the 812 LTV, but you also had data

for January and April. Right? A. That is correct. Q. Now, when you gave your deposition on

March 8, you did not update your second-quarter 2016 profit margin to reflect this new data,

correct? A. That is correct.”); Tr. 3847:2-8 (Shapiro) (“Q. So going back to my question,

Professor, I’m just establishing, which I think is clear already from the record, that you did not

update the 1324 number by using the January, April, and June 2017 numbers, correct? A. When

I testified previously, that is correct.”). Indeed, Professor Shapiro acknowledged in his

testimony that, although he did not do so, “it would be reasonable to use the 2017 margins.” Tr.

3843:17-18.

       195. The government incorrectly argued that draft LTVs since June 2017 show an

upward trend that undermines the relevance of the June data. Although the draft analyses for

July and August 2017 show a slight uptick, they are followed by a decrease in the draft LTV for

September. Additionally, Mr. Christopher confirmed that these draft LTVs are based on an

“analysis [that] has not completely run its course.” Tr. 3017:10-19. And, in all events, the draft




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LTVs for all three months are consistent with the downward trend in LTVs. See Tr. 3016:4

(Christopher (AT&T)); see also Tr. 3016:17 (Christopher (AT&T)) (“The overall trend is the

same.”); Tr. 3016:23-3017:1 (Christopher (AT&T)) (agreeing that an apt comparison is to an

overall stock market decline that includes certain day-to-day variations). This downward trend is

a direct reflection of the competitive conditions facing AT&T and the rest of the pay-TV

industry, as described supra FOF ¶¶ 43-45. Cf. Tr. 3853:18-19 (Shapiro) (“I think it is not

disputed that the video margins are going down.”).

       196. In all events, the projections for months before and after June 2017 show expected

LTV levels that are far below Professor Shapiro’s assumptions. See Tr. 2600:14-17 (Carlton)

(“even the more recent LTV values are significantly below those that Professor Shapiro used

and, therefore, would not alter the fact that he used LTVs that were too high”). Professor

Shapiro himself thus acknowledged that an average LTV for January, April, and June 2017

would reduce his predicted monthly consumer price increase to only about 13 cents. See Tr.

3851:13-15. And Professor Carlton explained that if he relied, for instance, on April 2017 LTV

data, that “would change the specific numbers, but it wouldn’t change my conclusion that

Professor Shapiro’s margins are way too high.” Tr. 2586:2-5.

       197. The government’s argument that churn-reduction initiatives will improve LTVs is

unavailing. To be sure, AT&T has made efforts to decrease churn, see Tr. 3040:11-3042:3

(Christopher (AT&T)), and, all else equal, lower churn causes higher LTV. But all else is not

equal. As Mr. Christopher explained, the flipside of these churn-reduction efforts is considerable

additional cost to mitigate churn, which pushes LTVs down. See Tr. 3047:13-23 (“If you’re

spending more to reduce churn, it impacts—so the fact that customers stay longer helps the LTV.

The fact that you’re spending more on a consistent basis hurts the LTV. But churn is only one




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part of—one part of the LTV. We’re spending heavily on acquisition. . . . We’re spending

heavily to compete. That is also impacting these LTVs, in addition to the spending on churn.”);

Tr. 3040:25-3041:3 (Christopher (AT&T)) (“[I]n the fourth quarter as an example, we spent

roughly 90% more on a year-over-year basis. We’re spending heavily to try to adjust churn.”).

In suggesting that efforts to reduce churn might increase LTVs in the future, the government

took no account of the increased costs of those efforts that decrease LTVs.13

       198. Professor Shapiro testified that his use of LTVs is conservative because, as a result

of withholding Turner content to rival MVPDs, AT&T would retain some number of customers

who would have otherwise left AT&T and switched to the rival MVPD but for the lack of Turner

content. Tr. 2243:23-2244:8. This point barely made it into Professor Shapiro’s expert report: it

appeared in footnote 414 (of 417) in Appendix I. Tr. 3855:5-3856:5. And Professor Shapiro

presented no evidence that would establish even the direction, much less the amount of this

supposed effect. He admitted that he did not “have the proper data on the value of the retained

customers.” Tr. 2244:9-17. More fundamentally, Professor Shapiro admitted that those

customers who remain at DIRECTV only because a single competitor does not have Turner

programming are unhappy customers. See Tr. 2354:15-17 (“I don’t think it’s the happy ones that

march across the street. Churn is for other reasons, usually not the happy ones.”). And Professor

Carlton explained that Professor Shapiro’s analysis completely ignored that point: those

“unhappy” customers are the ones who “are mostly likely to leave” and thus have “high churn.”



       13
          The government incorrectly argues that AT&T’s ongoing efforts to reduce churn from
2% per month to 1.5% per month—the so-called “Drive to 1.5”—demonstrate that profitability
will return to higher levels. In fact, as AT&T Senior Vice President Vince Torres explained, the
Drive to 1.5 specifically excludes churn due to cord-cutting. See Tr. 1420:2-5. Thus, even if the
1.5% goal can be met for churn excluding cord-cutting, total churn, which includes cord-cutting,
will necessarily be higher.



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Tr. 2509:9-12. “The ones with high churn, even if they remained at DTV are likely to leave in

the future.” Tr. 2509:13-14 (Carlton). So “just completely from a theoretical point of view” it is

not clear “which way it affects margins,” and Professor Shapiro gave “absolutely no

quantification of this effect.” Tr. 2509:17-20 (Carlton).14

       199. As Professor Carlton explained, merely using the more recent data, even without

taking into account any further potential reductions in the future, “has a big effect” in

“eliminating [the] harms” Professor Shapiro predicts. Tr. 2449:4-7; see also Tr. 2508:17-21

(Carlton) (“It eliminates a large fraction of all his harms.”). Indeed, if the only change to

Professor Shapiro’s initial modeling is to update his margin data to reflect the more recent June

2017 data, the effect is to reduce his estimated 0.2% increase (27 cents per subscriber per month)

to well under one-twentieth of one percent (5 cents per subscriber per month). See Tr. 2515:21-

24 (Carlton). Professor Carlton’s analysis is again conservative—that is, favorable to the

government—in that his calculations use the current margins even though margins are in fact

declining over time. See Tr. 2449:2-5 (“So margins are going down in this industry. [Professor

Shapiro] underestimates the importance of that. And into the future I won’t even take account

that they may continue to go down. I’m just going to use the current margins.”).

                                              ***



       14
           The government asked about LTVs for households that purchase wireless service along
with video service. See Tr. 3036:24-3037:11 (Christopher (AT&T)). But Professor Shapiro did
not rely on that number. See Tr. 2247:19-21 (Shapiro) (“I’m not including the wireless margins.
We did not have sufficient data to add the wireless piece here.”). And, in any event, Mr. Stankey
testified that only a trivial portion of new AT&T video customers also purchase wireless. See
Tr. 3260:24-3261:9 (Stankey (AT&T)) (“[L]ess than 3 percent of our inbound customers were
buying both [video and wireless] together . . . . It’s an unnatural bundle.”). Moreover, Mr.
Christopher testified that recent data show LTVs of bundled customers “going down.”
Tr. 3036:12-16.




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       200. If the incorrect inputs as to departure rate, diversion rate, and margin are corrected

and existing contracts are taken into account, Professor Shapiro’s model predicts that the merger

will result in net consumer benefits of 52 cents per subscriber per month, rather than 27 cents of

net consumer harm. See Tr. 2516:2-3 (Carlton).

                           d. Inputs Wrongly Assume Bargaining Split

       201. The government’s theoretical model assumes that, in every negotiation between

Turner and a distributor, the two parties split the gains from trade exactly 50/50—i.e., they meet

exactly halfway between their two walk away points. See Tr. 2193:9-12, 2214:4-11 (Shapiro)

(discussing this “split the difference” approach); see also Tr. 2211:17-23 (Shapiro) (explaining

“gains from trade”). That is critical to the model because it underlies the reasoning that, if

Turner’s walk away point rises, and the distributor’s stays the same, the distributor will agree—

always—to pay the new, slightly higher, average of the two levels for the same content. See

Tr. 2213:3-17 (Shapiro); Tr. 2510:10-16 (Carlton) (“It matters a lot, because, obviously, if the

split already is in Turner’s favor, then Turner is already getting a lot—a very high price, and

there won’t be much left for them to be able to raise the price. So it matters a lot in his

bargaining model. It’s an important parameter.”).

       202. The 50/50 split is merely an assumption, however, and Professor Shapiro did not

provide empirical evidence establishing that it is grounded in the facts of this case. See

Tr. 2510:21-22 (Carlton) (“He didn’t do any empirical analysis. He just assumed 50/50.”). To

the contrary, as Professor Shapiro conceded, one of the articles he cited in his report concluded

that an appropriate split in this industry may be 72/28 in favor of the programmer. See

Tr. 2375:10-14 (Shapiro); Tr. 2511:4-6 (Carlton) (“[W]hat it finds is that the bargaining split is,

if I remember right, 72 percent in favor of the content provider and 28 percent in favor of the

distributor.”). Notably in this regard, Professor Shapiro did not dispute that courts have rejected



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use of the Nash bargaining model altogether on the basis of the 50/50 bargaining-split

assumption where, as here, that assumption could not be shown to fit the facts of the particular

case. See Tr. 2393:22-24 (Shapiro) (“it could be”); see infra COL ¶ 19 (collecting cases).

       203. If the 72/28 split used in the article Professor Shapiro relied upon is applied here,

the harm predicted by the model goes away, again without making any other changes. See

Tr. 2375:17 (Shapiro) (“That would be significantly different, yes.”). In fact, it results in net

consumer benefits from the merger. See Tr. 2516:8-10 (Carlton) (“[I]f you just change the

bargaining split from 50/50 to 72/28, you, in his 2016 model, cause the prices on average to go

down to consumers by a penny.”).

                   iv. The Arbitration/No-Blackout Commitment and the FCC’s “Program
                       Access Rules” Defeat the Government’s Price-Increase Theory

       204. Professor Shapiro’s theoretical model also does not mirror the actual post-merger

marketplace because it completely and intentionally ignores two real-world mechanisms that will

preclude Turner from exerting its allegedly greater post-merger leverage to induce distributors to

pay higher prices for its content: (1) the arbitration/no-blackout commitment (the

“Commitment”); and (2) the FCC’s Program Access Rules.

                           a. The Commitment

       205. In November 2017, Turner sent all its distributors written, irrevocable offers,

conditioned on the merger closing, to negotiate with distributors in good faith to license the

Turner networks, to submit disputes over the price and other terms of Turner programming to

binding arbitration, and to guarantee continued access to (i.e., no blackout of ) that programming

during the course of arbitration. See DX785 (Turner “irrevocably offering” the agreement to the

National Cable Television Cooperative “NCTC”)); PX491-003, § B.1. The Commitment

incorporates by reference provisions in the existing distributor agreements governing choice of




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law. See PX491-002, ¶ 4. [REDACTED]. If a distributor invokes the Commitment, Turner

cannot go dark. PX491-003 to -004, §§ B.1, B.2. Instead, Turner must continue to provide

carriage on the same terms and conditions in effect at the expiration of its existing contract with

the distributor, subject to a true-up based on the arbitrator’s award. See PX491-003 to -004,

§§ B.1, B.2.

       206. AT&T has agreed that it is bound by the Commitment. See DX785. AT&T made

the Commitment even though it does not believe there is merit to the government’s argument.

See Tr. 3261:23-3262:3 (Stankey (AT&T)) (the Commitment was intended to “put our money

where our mouth is,” “take away the blackout provision and make sure that everybody

understands that we’re sincere about that”) (emphasis added).

       207. The Commitment deals a fatal blow to a key assumption of Professor Shapiro’s

model: that the combined firm will use the threat of a blackout to get higher prices for Turner

content. As Professor Katz testified, “Professor Shapiro’s theory really boiled down is that

Turner will have more bargaining leverage from blackouts after the merger than it would if the

merger didn’t occur . . . . Well, if a distributor invokes the arbitration option that Turner’s

committed to giving them, if they invoke it, there’s no blackout during the negotiation. So it

takes away the whole mechanism that Professor Shapiro hypothesizes.” Tr. 2653:17-25

(emphasis added). The “economic evidence” is thus that “arbitration is going to hold down those

price increases,” with the result that, even under Professor Shapiro’s model, there will be

“hundreds of millions of dollars of benefits for consumers.” Tr. 2648:3-13 (Katz).

       208. Professor Carlton similarly stressed that “[b]lackouts are what are driving”

Professor Shapiro’s model, but, if a distributor triggers arbitration, “you don’t have to worry

about a blackout.” Tr. 2443:19-23. With Turner having no ability to engage in a blackout (or




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credibly threaten to do so), “the central element of [Professor Shapiro’s] theoretical model does

not apply.” Tr. 2443:25-2444:1 (Carlton); see Tr. 2444:3-7 (Carlton); see also Tr. 2197:8-10

(Shapiro) (“So we have to think through what happens in the event of a blackout, because that’s

what the leverage is based on.”); Tr. 2325:9-13 (Shapiro) (“This model is very much based on

the leverage associated with blackouts . . . . So it would take a completely different model to

model arbitration . . . [because] the distributor who invokes arbitration would not be subject to

the blackout threat.”).

       209. Indeed, the government did not ask Professor Shapiro to consider arbitration.

“[T]hat would be a different analysis, a different assignment.” Tr. 2323:17-23; 2324:15-16; see

Tr. 2326:13-17 (Shapiro) (“If they choose to invoke the arbitration then this would not be the

leverage. We’d be in a different world where they would be participating in the arbitration and I

have not analyzed that outcome.”) (emphases added); Tr. 2324: 25-2326:1 (Shapiro) (“the

distributor who invokes arbitration would not be subject to the blackout threat”). Rather, he

relied on another government expert, Professor John Kwoka, to address the issue. Professor

Shapiro stated that he “did discuss” with DOJ “how [his] analysis might be altered” because of

the arbitration offer, but then declined to pursue that discussion any further after he “learned that

DOJ hired a separate expert . . ., Professor John Kwoka, who would be addressing the arbitration

part more specifically.” Tr. 2325:1-5 (Shapiro).

       210. Professor Shapiro therefore ignored the possibility that distributors would have the

ability to invoke arbitration. See Tr. 2326:13-16. And the government never presented

testimony from Professor Kwoka. As a result, there is no evidence supporting Professor

Shapiro’s decision to ignore the Commitment. As Professor Michael Katz explained, Professor




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Shapiro’s failure to consider the existence of the Commitment is a “fatal error” that renders his

entire bargaining model “incorrect.” Tr. 2647:10-24 (Katz).

        211. Representatives from rival distributors acknowledged that the Commitment would

ensure they could not lose Turner programming before reaching a new deal. See Tr. 898:22-

899:8 (Rigdon (Comcast)) (acknowledging that the Commitment “means if you invoke it, they

can’t go dark” and that the arbitration provision “would take away that piece of leverage they’ve

used before”) (emphasis added); Tr. 1388:6-10 (Montemagno (Charter)) (confirming that “[t]o

the extent the government projects a Turner price increase stemming from an increased threat of

blackout, Turner loses that ability with its standstill and arbitration commitment”) (emphasis

added); Tr. 2957:11-16 (Holanda (RCN)) (agreeing that the standstill agreement “would

eliminate the ability of a content provider like Turner to raise prices by threatening a blackout,

because it has no threat of blackout”); see also Tr. 2404:13-17 (Shapiro) (“That option for the

distributor [to invoke arbitration] has some value . . . .”).

        212. Turner’s lead content negotiator testified that the Commitment leaves him “in a

weakened bargaining position” because it removes Turner’s ability to walk away from a deal that

could have a “profound” impact across Turner’s business due to the impact of MFNs.15 Tr.

1201:9-1202:6, 1202:22-1203:7 (Warren (Turner)); see also Tr. 2103:10-20 (Sejen (Cable One))

(going dark is “probably the ultimate weapon” because, “other than that, what leverage do they

have?”); Tr. 2955:23-2956:9 (Holanda (RCN)) (agreeing that the standstill provision “changes

the negotiating dynamic between a content provider and a distributor” by shifting the negotiating

“dynamic in the distributor’s favor”). The ability to go dark is very important, as being forced to


        15
         See Tr. 1024:10-14 (Breland (Turner)) confirming that “[a]n example of an MFN
would be if you give a distributor a lower price, then you have to give a lower price to everyone
who has an MFN against that distributor”).



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accept a provision that triggers an MFN could force Turner to give the provision to others, and

the impact “could be very significant for [Turner] financially and otherwise.” Tr. 1202:22-

1203:7 (Warren (Turner)). The risk of arbitration is therefore asymmetric in favor of the

distributor. See Tr. 2689:5-8 (Katz). Professor Katz explained why, because of MFN clauses,

there is “greater risk on Turner”: “if Turner loses in arbitration, there’s a chance that it’s getting

a lower price for its programming, not just from the programmer in the arbitration, but from

other programmers when the MFN kicks in.” Tr. 2688:15-24. The distributor does not face a

similar risk. See Tr. 2688:15-16 (Katz). For this reason, Mr. Warren testified that the outcomes

under arbitration will be “worse for Turner” than the deals negotiated pre-merger. Tr. 1203:8-15

(Warren).

       213. The fact that all offers in the negotiations leading to the arbitration are

discoverable, see PX491-004, § C.4.b.iii, also limits Turner’s ability to use certain negotiating

tactics, further weakening its bargaining position. See Tr. 1202:7-21 (Warren (Turner)) (“[A]t

some point during negotiations, sometimes you open extreme, because that’s what parties do in

negotiation to close the gap. . . . But I’m thinking, I’m not sure I could even open extreme,

because the arbitrator is going to see everything and might say, you were gaming them. So . . .

I’m in a weakened position.”).

       214. The Commitment here is modeled on a provision of the Comcast/NBCU consent

decree the government itself endorsed, and it is similar in fundamental ways. See Tr. 2680:1-9

(Katz) (providing examples of similarities).

       215. The Commitment applies to both traditional and online distributors, including

virtual MVPDs. See PX491-001 (¶ 1) and -005 (§§ D.7, D.9, D.15); Tr. 1199:1-3 (Warren

(Turner)). Turner also sent a letter to the NCTC, a buying cooperative for smaller cable




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distributors, making clear that the Commitment will apply to it as well. See DX785; Tr.

1175:14-23 (Warren (Turner)).16

       216. The Commitment applies not only to existing distributors, but also to new

distributors. See Tr. 1199:17-21 (Warren (Turner)); PX491-003, § B.1-.2. Indeed, Turner has

already begun preparations in the event the merger closes and the Commitment needs to be

implemented, including developing a process to notify new entrants. See Tr. 1200:22-1201:6

(Warren (Turner)). New distributors must meet the threshold requirement that they carry at least

8 of the top 35 Nielsen-rated networks, see PX491-001, ¶ 4.1, which is the same requirement

found in a number of Turner’s other carriage agreements. See Tr. 1198:2-15 (Warren (Turner)).

This requirement ensures Turner’s brand is associated with a product that has been vetted by

more than one programmer and is commercially viable. See Tr. 1198:2-20 (Warren (Turner)).

       217. The Commitment includes all existing Turner networks and any future networks

consisting of substantially the same programming. See PX491-005, § D.14; Tr. 1193:14-21

(Warren (Turner)) (providing the definition of “Turner Networks” in the arbitration agreement).

This definition of “Turner Networks,” as well as existing contractual commitments, prevents

Turner “from moving programming [as] an end run around [the] arbitration agreement.” Tr.

1193:14-1194:17 (Warren (Turner)). It also includes the associated video-on-demand, TV

Everywhere, and Cloud DVR rights that Turner makes available to any distributor. See PX491-

005, § D.14.

       218. A distributor can require Turner to make a final offer on all Turner networks or any

bundle of Turner networks that has been licensed to any distributor at any time on or after


       16
           Mr. Holanda did not know at trial that Turner in fact had extended the Commitment to
NCTC as RCN had recommended. See Tr. 2961:11-14. After reading the offer, Mr. Holanda
testified that any issue he had on that point was now “checked off.” Tr. 2963:2-5.



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October 22, 2014. See PX491 §§ A.2, A.6, D.14; Tr. 1194:18-1195:13 (Warren (Turner)). The

final offers shall be in the form of a Carriage Agreement. See PX491-003, § A.6. The

distributor may require Turner to provide a list of bundles available. See PX491-003, § A.2.

        219. Similar to Comcast/NBCU, the Commitment is in force for a seven-year period.

As Turner’s executive in charge of content negotiations, Richard Warren, testified, seven years is

a “pretty long period of time” in the video programming industry, which is “evolving quickly.”

Tr. 1191:12-19. In that time, there will be “multiple” renewals of affiliate agreements, and likely

more major changes in the industry. Tr. 1191:19-22 (Warren (Turner)). Similarly, in response

to the Court’s question about where the ecosystem will be seven years from now, AT&T’s CEO

explained that in seven years “the proliferation of [content] means it gets cheaper over time” and

that “content pricing to the consumer can do nothing but continue to go down in the foreseeable

future.” Tr. 3505:15-3507:3.

        220. Pursuant to the Commitment, AT&T commits to negotiate in good faith with any

requesting Video Distributor for Turner content. See PX491-001, ¶ 1; DX785. At the

distributor’s request, Turner “must participate in good faith and with reasonable diligence” in

mediation to “resolve the dispute or narrow the issues to be arbitrated pursuant to [the]

Agreement.” PX491-003, § A.3. “Following the exchange of the Final Offers and prior to the

initiation of an arbitration hearing, the parties may agree to enter mediation . . . [and,] [i]f both

parties agree, they may submit revised Final Offers.” PX491-003, § A.8. If the parties cannot

agree on terms, the distributor can elect “baseball” arbitration, see PX491-003, §§ A.1, A.3, A.4,

A.5, where each party submits its best offer to an arbitrator. The arbitrator, who will be

experienced in the industry, PX491-004 § C.2, decides which offer “most closely approximates

the fair market value of the Turner Networks at issue,” PX491-004, § C.7. The arbitration will




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be conducted under AAA procedures except where otherwise provided. See PX491-001, ¶ 3 &

PX491-004, § C.1. The arbitrator’s decision is subject to any right of appeal pursuant to the

Federal Arbitration Act. See PX491-001, ¶ 3 & PX491-004, § C.8. There will be prompt

resolution of the arbitration; it must be complete within 75 days unless the parties agree to

modify any of the time limits. See PX491-003 to -004, §§ A.5, A.10, C.3.

       221. Turner may not condition the carriage of the Turner Networks on the carriage of

HBO under the agreement. See Tr. 1197:14-19 (Warren (Turner)); PX491-003, § A.2 (providing

that a distributor “may demand a standalone offer” for Turner Networks) (emphasis added). The

Commitment is self-executing and can be invoked solely by the distributor (and not by Turner).

See Tr. 1200:7-8, 1200:17-21 (Warren (Turner)). Professors Katz and Shapiro agreed that there

are benefits to baseball arbitration over other forms of arbitration. Baseball arbitration creates an

incentive for both sides to be reasonable. See Tr. 2651:17-2652:16 (Katz); Tr. 2327: 4-8

(Shapiro). It also makes settlement more likely. Tr. 2652:17-2653:11 (Katz); Tr. 2327:9-19

(Shapiro). Indeed, the Commitment allows the parties to agree to “suspend the arbitration to

attempt to resolve their dispute through negotiation.” PX491-003, § A.9.

       222. Several of the government’s own witnesses testified that their companies supported

baseball-style arbitration in prior transactions and had advocated for the government to impose it

as a condition here. See Tr. 121:14-122:9 (Fenwick (Cox)) (Cox advocated for an arbitration

provision in this merger, modeled after the mechanism used in the Comcast/NBCU merger, as

“something that we felt like would be important if conditions were imposed”); Tr. 464:17-20

(Schlichting (DISH)) (“Q. And, in fact, your company proposed an arbitration mechanism in

this matter last summer, correct? A. I believe we did that at the request of the DOJ assuming

that the merger takes place.”); Tr. 2940:21-25 (Holanda (RCN)) (“Q. And in fact, at one point in




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earlier looking at the merger, RCN itself recommended one of the conditions that it proposed

related to the merger included arbitration, right? A. That’s correct.”); Tr. 2958:21-2959:5

(Holanda (RCN)) (confirming RCN’s March 2017 recommendation that DOJ require AT&T to

“submit to binding, baseball-style arbitration”).

        223. One of the representatives of a rival distributor who testified for the government,

Tom Montemagno of Charter, confirmed that, under the arbitration provision adopted in the

Comcast/NBCU merger, Charter had “a highly satisfactory experience with having a standstill

and arbitration tool in [its] toolbox available . . . as a negotiating aid” in a transaction with

Comcast/NBCU. Tr. 1388:18-22; see also Tr. 1390:21-22 (Montemagno (Charter)) (“[T]he

value exchange . . . got improved for Charter.”). Mr. Montemagno also agreed that a “standstill

would be helpful” in dealing with AT&T-Time Warner post-merger, Tr. 1388:17—so helpful,

Mr. Montemagno confirmed, that “Charter’s position is it would rather have a satisfactory

standstill and arbitration agreement in a post-merger environment” than to negotiate pre-merger

without either protection. Tr. 1388:11-15 (emphasis added); see also Tr. 2956:3-9 (Holanda

(RCN)) (acknowledging that “the standstill changes the dynamic in the distributor’s favor”). The

fact that Charter’s preference is to “wait until after the merger and . . . negotiate with [Turner]

then,” Tr. 1102:6-14 (Breland (Turner)); see Tr. 1186:16-22 (Warren (Turner)), suggests it

believes it will be able to obtain a more favorable deal following the merger.

        224. Although Mr. Schlichting was reluctant to concede that DISH benefits from a

standstill/baseball-style arbitration agreement with a programmer, he did not dispute that his

testimony on this point conflicted with prior statements by DISH’s Chairman and former CEO,

Charlie Ergen, including that DISH has “been very vocal about the fact that baseball arbitration

is a good way to do it” and that baseball-style arbitration under the Comcast/NBCU decree has




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“worked very well in the market place.” Tr. 426:12-427:16; see also Tr. 2669:10-22 (Katz)

(discussing DISH comments supporting baseball-style arbitration with Comcast); Tr. 2327:4-19

(Shapiro) (acknowledging that his own prior scholarship has explained the effectiveness of

baseball-style arbitration).17

        225. This Court approved a similar arbitration/no-blackout mechanism in the

Comcast/NBCU merger proceeding. See Modified Final Judgment, United States v. Comcast

Corp., No. 1:11-cv-00106-RJL (D.D.C. Aug. 21, 2013), Dkt. 36. Since that remedy was

approved, the government—in response to annual reporting obligations—has never reported any

complaints or problems with its effectiveness. See Tr. 2402:18-21 (Shapiro) (stating he is “not

aware” of any reports of problems by DOJ to this Court under its obligation to report issues).

Indeed, in its interrogatory responses here, the government took no position as to whether the

arbitration remedy was effective. See DX893.00031.

        226. Rather, the Comcast/NBCU arbitration/no-blackout mechanism became an

important part of the competitive landscape. Even when a distributor did not invoke arbitration,

the possibility of arbitration helped distributors reach agreement with NBCU, with both sides

aware that NBCU could not go dark because of the no-blackout provisions. See Tr. 1391:5-6

(Montemagno (Charter)) (“[T]he threat of [arbitration] did improve the situation.”); Tr. 1409:12-

14 (Montemagno (Charter)) (confirming to the Court “that threatening to go that route [invoking

arbitration] can have a positive effect on a negotiation”); Tr. 2959:17-2960:5 (Holanda (RCN))



        17
          Any argument the government makes that DISH’s support for baseball-style arbitration
was in the context of retransmission consent negotiations with broadcast channels (and thus not
with cable channels) is unavailing. As Professor Katz explained, those agreements, like the
licensing agreements at issue here, are complex and involve issues beyond rates. See
Tr. 2700:13-16. In all events, DISH has in fact sought arbitration as to both cable and broadcast
networks. See Tr. 2755:11-24 (Katz).



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(agreeing that arbitration is “a reasonable solution” that also “encourages a party to negotiate as

hard as they can to reach an agreement” without arbitration); Tr. 2667:3-5 (Katz) (“Charter has

used the threat of arbitration to sort of unblock or get their negotiations going”).

        227. DISH’s Warren Schlichting testified that DISH filed for arbitration with NBCU in

March 2016 because it “needed more time to close the gap” between negotiating positions, but

reached agreement before the two sides filed their final offers. Tr. 274:5-19, 423:15-25. Mr.

Schlichting further conceded that, when negotiating in the shadow of the Comcast/NBCU

arbitration/no-blackout mechanism, DISH and NBCU never came close to a blackout. See

Tr. 273:17-19 (“Q. And at any point during negotiation, did you come close to going dark with

NBC? A. Not really.”); see also Tr. 2675:18-2676:2 (Katz) (testifying that DISH filed a notice

of arbitration but that, “as economics would suggest,” the parties then settled); Tr. 2403:13-18

(Shapiro) (testifying that “if the distributor finds the arbitration to be a better option than not

invoking it, then that would affect the outcome of the negotiations or could anyhow.”). Madison

Bond, the Chairman of Content Distribution at NBCU, confirmed that the “arbitration

conditions” come up in “almost every” negotiation NBCU has with MVPDs and that, from

NBCU’s vantage point, the possibility of arbitration gave distributors additional leverage over

NBCU. Tr. 1983:15-17; see also 2017:12-15 (Bond (NBCU)) (“Q. And it’s your view that by

them raising the arbitration provision they have, in fact, gained some leverage over you, correct?

A. I think that’s fair.”).

        228. Moreover, post-merger prices for NBCU programming did not rise compared to

industry benchmarks. See Tr. 2471:2-2473:18 (Carlton).

        229. Nor do the concerns raised by rival distributors about the terms of the Commitment

provide any basis to disregard it. Some of these distributors raised concerns that the




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Commitment does not define what constitutes “fair market value.” See, e.g., Tr. 111:1-15

(Fenwick (Cox)); Tr. 276:14-15 (Schlichting (DISH)). Fair-market value is the result that would

be reached “if the merger hadn’t occurred.” Tr. 2656:6-7 (Katz). This is consistent with the

rationale the FCC has set forth for the fair market value standard. See Tr. 2656:21-2657:6 (Katz)

(“[The FCC has] said, in multiple orders, . . . the reason we’re imposing arbitration and fair

market value is because we want to preserve the pre-transaction or pre-merger[] balance of

bargaining power.”). Further, the Commitment provides that the arbitrator take into account all

relevant evidence presented by the parties to the arbitration and does not limit what the arbitrator

may take into account in assessing fair-market value. See PX491-004, §§ C.4, C.5, C.6; Tr.

1205:13-22 (Warren (Turner)). The non-party distributor witnesses acknowledged that the

arbitrator would be able to consider all types of evidence. See Tr. 126:15-17 (Fenwick (Cox))

(“Q. Did you have a belief that there was some type of evidence the arbitrator was not permitted

to receive? A. No.”). In addition to distributor contracts, distributors may use information such

as set-top box data, consumers’ viewing habits, and other information. See Tr. 2659:8-21 (Katz).

       230. In addition, there will be appropriate benchmarks for the arbitrator to use in

determining fair-market value. There will be recent contracts as well as third-party distributors’

contracts with programmers similar to Turner. See Tr. 2658:6-2659:7 (Katz). With respect to

innovative contract provisions, arbitrators can look at other contracts reflecting those innovations

and distributors can explain why an innovative or unique provision makes sense. See

Tr. 2685:17-2686:11; 2687:21-2688:5 (Katz).

       231. With respect to any concern that carriage agreements are complex, the arbitrator

will have “demonstrable experience practicing in the video programming and distribution

industry.” See PX491-004, § C.2. The parties involved are “sophisticated parties” who will




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“focus on what matters, and they’ll point the arbitrator to that.” Tr. 2691:25-2692:9 (Katz).

Moreover, the Commitment provides that neither side will see the other side’s offer before it

must submit its own offer. See PX491-003, § A.7; Tr. 2680:10-13 (Katz). It allows for

discovery pursuant to a confidentiality agreement, and also provides that the parties may submit

any relevant evidence to the arbitrator. See PX491-003, § A.6; PX491-004, §§ C.4, C.5. As a

result, there will be a “balance of information” when the parties make their offers. Tr. 2683:21-

2684:15 (Katz).

       232. Government witness James Holanda from RCN testified that he believes that,

during arbitration, RCN is at a disadvantage due to a lack of information. See Tr. 2942:24-

2943:17. To address that perceived disadvantage, RCN proposed that Turner be required to

provide pricing information for distributors of similar size so that RCN can use these data points

to develop its arbitration offer. But Mr. Holanda conceded that “baseball arbitration . . . tr[ies] to

achieve a result that most closely resembles commercial negotiation,” Tr. 2964:6-9, and that, in a

commercial negotiation for programming, “RCN wouldn’t know the specific terms . . . [Turner

has] with other distributors,” Tr. 2963:20-23. In any event, NBCU’s testimony about its

negotiations under its arbitration commitment minimizes any potential concerns about the

purported informational asymmetry. See Tr. 2017:16-2019:5 (Bond (NBCU)) (testifying that, in

negotiations, distributors “every time” propose terms that are out of line with the market and

NBCU will represent to distributors that NBCU’s proposals are consistent with its agreements

across the industry prior to the time that distributors elect to enter arbitration). [REDACTED].

       233. Mr. Holanda also suggested that the Commitment should require Turner to bid first,

which would allow RCN to see Turner’s offer before providing its own. See Tr. 2967:17-

2968:23. But he also conceded that this design, not unlike being able to place a bet in poker after




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seeing the other players’ cards, would be “unprecedented in baseball arbitration.” Tr. 2967:9-11.

In any event, once arbitration is invoked and the parties exchange final offers, the distributor can

obtain discovery, PX491-004, § C.4, and then walk away from the arbitration—but Turner

cannot walk away. See Tr. 1199:22-1200:16, 1208:9-13 (Warren (Turner)). Further, the

distributor can come back again and invoke arbitration down the road. See Tr. 1209:3-8 (Warren

(Turner)).

       234. Speculation that Time Warner could withhold HBO from distributors to deter them

from invoking the Commitment is likewise not based on any probative evidence. As Professor

Katz explained, there is no logic to that assertion. Once HBO has used the threat of a blackout to

obtain an agreement for HBO on specific rate terms, it cannot use the threat of a blackout again

to seek higher prices for Turner. See Tr. 2690:17-25, 2691:12-17, 2737:14-16 (Katz). In essence

that would be attempting to charge for HBO twice. See Tr. 2691:3-8 (Katz). In all events, Time

Warner CEO Jeff Bewkes explained that such a tactic would make no sense because the

government properly does not contend that the combined company would have any incentive to

withhold HBO in the first place and because HBO’s aim is to get higher penetration by reducing

its effective rates to distributors. See Tr. 3135:21-3136:5 (explaining that HBO is working to

“get its wholesale net effective rate down”). AT&T likewise is committed to even broader

distribution of HBO after the transaction closes. See Tr. 3262:4-25 (Stankey (AT&T)) (noting

that it is “not an economically sound decision” to withhold HBO and “[a]fter the close of the

transaction, . . . that’ll be even a more important focus of this business, to get broader distribution

of HBO”); Tr. 3263:11-13 (Stankey (AT&T)) (“I have absolutely no concerns whatsoever that

we’re going to continue to push HBO to anybody who wants to sell it moving forward.”).




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       235. Similarly, Turner’s lead content negotiator testified that there is no basis for

concern that Turner could move content to a new or different channel to avoid the Commitment.

Turner’s existing affiliate agreements and contracts with sports leagues require Turner to

maintain consistent programming content on the channels covered by those agreements. See Tr.

1193:22-1194:17 (Warren (Turner)). Moreover, the Commitment itself precludes Turner from

shifting programming to avoid the Commitment, because it includes within its scope any future

network if Turner moves its current content to that network. See Tr. 1193:14-21 (Warren

(Turner)).

       236. The government also cited the fact that only a small number of distributors have

accepted the Commitment to date to imply that other distributors do not believe it will be

effective. See Tr. 1181:17-1182:4 (Warren (Turner)). Distributors may accept the Commitment

at any time during the seven years it is in effect. See PX491-002, ¶ 6 (Commitment lasts for

seven years); DX785 (Commitment is irrevocable). In fact, “they could, at the . . . last

opportunity, present [Turner] with a signed arbitration agreement and tell [Turner] they want to

invoke arbitration.” Tr. 1191:8-11 (Warren (Turner)). The fact that a distributor has not yet

accepted it does not establish dissatisfaction with the offer. See Tr. 1190:18-1191:7 (Warren

(Turner)).

       237. Furthermore, the Commitment does not need to be completely effective to

eliminate any prospect of the harm that Professor Shapiro predicts. For example, if it were

effective only to prevent price increases as to the two largest and most sophisticated distributors

(which presumably would be well equipped to employ the mechanism), it would eliminate any

prediction of consumer harm under Professor Shapiro’s own model, even leaving aside

consideration of all of the model’s other errors. See Tr. 2660:10-2661:14, 2665:3-2666:4




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(Katz). One of those distributors—Comcast—has stated it is not concerned that its leverage will

change vis-à-vis Turner after the merger closes. See Tr. 884:10-14 (Rigdon (Comcast)).

       238. Beyond that, as Professor Katz testified, “the evidence in economics shows that

arbitration is going to work very well for all the distributors.” Tr. 2660:1-3. That includes small

distributors. First, Professor Katz specifically noted that small distributors can join buyer

cooperatives. See Tr. 2676:12-15. Further, as Professor Katz explained, there is no basis to

believe that arbitration will be too costly for distributors to invoke. He noted that there was

evidence from one of the government’s experts that the cost of an arbitration is a million dollars,

but, even if it were five times that number, that would still be a “tiny percentage” of the amount

of money at issue in these agreements. Tr. 2689:13-23. Thus, as Professor Katz explained, there

would be no deterrent to invoking arbitration as a result of those small costs. See Tr. 2690:5-6.

                            b. Program Access Rules

       239. Independently, Professor Shapiro’s model wrongly ignored the FCC’s Program

Access Rules, which require vertically integrated programmers to provide their affiliated

programming to all MVPDs on nondiscriminatory terms and prohibit those firms from

improperly influencing affiliated programmers in their dealings with unaffiliated MVPDs. See

Tr. 2693:8-2694:2 (Katz).

       240. In general, the program access rules prevent programmers affiliated with certain

MVPDs (including AT&T) from engaging in “unfair methods of competition . . . the purpose or

effect of which is to hinder significantly” competing MVPDs. 47 U.S.C. § 548(b), (j). Under

the FCC’s implementing rules, prohibited conduct “includes, but is not limited to,” (1) “[a]ny

effort or action . . . to unduly or improperly influence the decision of [the programmer] to sell, or

unduly or improperly influence [the programmer]’s prices, terms, and conditions for”

programming, and (2) “[d]iscrimination in the prices, terms, or conditions of sale or delivery” of



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programming. 47 C.F.R. § 76.1001(b)(1)(i)-(ii); see 47 U.S.C. § 548(c)(2). Once an aggrieved

distributor files a complaint, the FCC may set programming prices and assess damages for past

overcharges. 47 C.F.R. § 76.1003(h). Although the government has suggested that the rules

protect only traditional and not virtual MVPDs, that issue remains unresolved. See NPRM,

Promoting Innovation and Competition in the Provision of Multichannel Video Programming

Distribution Services, 29 FCC Rcd 15995, ¶ 13 (2014) (“tentatively conclud[ing] that the

statutory definition of MVPD includes certain Internet-based distributors of video

programming”).

       241. Professor Shapiro assumed that those rules, which will apply to Turner after the

merger,18 will have no effect whatsoever on bargaining outcomes. See Tr. 2329:5-6, 2331:16-17

(Shapiro).

       242. As Professor Katz testified, Professor Shapiro’s basis19 for concluding that the

program access rules are ineffective is incorrect, and therefore his approach to modeling post-

merger price increases was also incorrect. See Tr. 2694:8-2697:3 (Katz). By incorrectly

concluding that the rules would be ineffective, the government’s model again failed to account

for all relevant aspects of bargaining dynamics and for that reason does not provide a reliable

basis to predict a price increase. See Tr. 2694:10-18 (Katz) (testifying that Professor Shapiro

was wrong to treat these rules as “completely ineffective”).




       18
          See 47 U.S.C. § 548(c)(2)(A)-(B); 47 C.F.R. § 76.1002(a)-(b); see also 47 U.S.C.
§ 548(j) (extending rules to common carriers and their affiliates); 47 C.F.R. § 76.1004 (same).
       19
          “[H]is basis . . . that he gave in his report was citing some sentences in an FCC order,
particularly the FCC Comcast-NBCU order, that he concluded said that a uniform price increase
across distributors would get by the rules.” Tr. 2694:12-15 (Katz). Professor Shapiro also relied
on another government expert, Professor Wilkie, who (as discussed below) did not testify.



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       243. In response to Professor Shapiro’s contention that the rules do not apply to a

uniform price increase, Professor Katz demonstrated that Professor Shapiro’s model does not

predict uniform price increases. See Tr. 2695:5-6. In Professor Katz’s words, even “if this

loophole does exist, [Professor Shapiro’s] price increases can’t drive through it.” Tr. 2695:7-8;

see also infra COL ¶¶ 20 & n.31, 24 & n.33. Accordingly, because the government’s model

does not consider any effect from those rules, it is not a useful or persuasive simulation of real-

world conditions.

       244. In this regard, Professor Shapiro admitted that he is not an expert on the program

access rules, and that he largely relied on the analysis of another government expert, Professor

Simon Wilkie, as to this issue. See Tr. 2328:21-23 (“Q. Now you’re not an expert on FCC

program access rules, right? A. I am not.”); see also Tr. 2329:14-15 (Shapiro) (“There’s a lot of

nuances about the rules that I’m not an expert on.”); Tr. 2329:13 (Shapiro) (“I guess I’m relying

on him. I’ve read his report.”). Professor Wilkie, however, did not testify. He thus provided no

evidence that could justify Professor Shapiro’s failure to give any weight at all to the FCC’s

program access rules.

                    v. The Government’s Model Does Not Adequately Account for Effects of
                       the Merger That Will Drive Prices Down

       245. As is true of nearly all vertical mergers, this merger will create efficiencies. See,

e.g., Tr. 2452:5-7 (Carlton). Indeed, the government concedes that, because AT&T will no

longer bear an economic cost for Turner programming, the merged firm will have a stronger

incentive than AT&T would pre-merger to reduce prices to attract new subscribers. See

Tr. 2251:15-2252:12 (Shapiro) (“I see some efficiencies here . . . called elimination of double

marginalization . . . . [Turner’s and DIRECTV’s] margins get stacked on top of each other in

terms of what consumers have to pay. And in the interests of the joint company, it’s desirable to




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shrink that total margin . . . [which] leads to a lower cost for DirecTV of the Turner content,”

which is “significant.”); Tr. 2322:3-5 (Shapiro) (result would be lower prices for DIRECTV

subscribers). And as Professor Carlton explained, the downward pricing pressure from EDM can

kick in right away. See Tr. 2464:17-2465:6.

        246. As an initial matter, Professor Carlton explained why Professor Shapiro’s

accounting of even this efficiency—known as the elimination of double marginalization or

“EDM ”—is understated. A firm’s incentive to decrease its prices is greater when there are more

potential new customers to be gained and when there are more current customers in danger of

leaving. The prevalence of cord-cutting boosts the incentive EDM creates to cut prices on both

counts—lowering price may avoid creating a cord-cutter and losing a subscriber forever, and

current cord-cutters are an additional pool of potential customers. See Tr. 2465:20-25 (Carlton)

(“cord cutters are customers you’d love to get . . . [s]o if there are a lot of cord cutters, it creates a

greater incentive for you to lower your price”). Because Professor Shapiro’s analysis

significantly understates the prevalence of cord-cutting, see supra FOF ¶¶ 184-186, he

understates the effect of cord-cutting and the extent of the downward effect on DIRECTV’s retail

prices. See Tr. 2466:7-13 (Carlton) (“And that’s going to have a big effect on the incentive of

AT&T to use the elimination of double marginalization to become a more aggressive

competitor.”). In addition, Professor Carlton’s estimate of cord-cutting conservatively excluded

additional consumers who subscribe to a pay-TV service but whose packages do not include

Turner: “That means there are people within each MVPD that also could be attracted to Turner”

– increasing AT&T’s price-cutting incentive. Tr. 2506:1-6. Had he included those subscribers,

his estimate of cord-cutting would have been “30 percent,” making his estimate of EDM

“favorable to the government.” Tr. 2506:6, 16.




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       247. The elimination of “double marginalization” is not the only benefit of the merger,

however. The combination of complementary video content with distribution is highly likely to

yield additional consumer benefits. As Professor Carlton explained, “the intuitive idea of what’s

going on here is pretty clear,” and it is consistent with what new vertically integrated competitors

such as Netflix and Amazon are demonstrating: “[h]ow to use information to better, to improve

the creation of content and the distribution of content as well as their plans obviously to use this

for advertising purposes.” Tr. 2452:11-12, 2452:21-2453:3.

       248. AT&T and Time Warner executives testified in detail as to these benefits. In

particular, the merger will empower the combined firm to innovate and compete more

aggressively in advertising, both by using AT&T’s data to make the advertising in Time

Warner’s programming more targeted to its viewers and by using AT&T’s advertising

technology with Time Warner’s programming to offer a new advertising platform that competes

with Facebook and Google for advertising. See Tr. 3392:6-3393:9 (Stephenson (AT&T)) (“We

are generating revenues that are three, four, and five times per impression what companies like

Turner, CBS and those companies are getting from theirs because we have such targeted

data. . . . [T]his is something that if we had a large inventory of advertising, we could do at

scale.”). AT&T has already hired a “seasoned executive” from a major advertising firm to head

the organization whose sole focus will be “realizing these advertising synergies that we’ve been

talking about.” Tr. 3426:3-23 (Stephenson (AT&T)) (“This is where all of our advertising

technology will go. This is where all of the data aggregation capabilities will go.”).

       249. Turner’s advertising business currently relies almost exclusively on broad

demographic categories. See supra FOF ¶ 28. Because it does not have personalized viewer-by-

viewer data, it is unable to offer advertisers valuable targeted advertising. See Tr. 685:20-23




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(Martin (Turner)); see also supra FOF ¶¶ 28-30. Although Turner has launched some limited

advanced advertising products using data it has collected or purchased, Turner’s lack of

meaningful data makes it difficult to scale these products—Turner’s advanced advertising

represents less than 5% of Turner’s advertising revenues, and it cannot offer features that

advertisers value, such as customer-list matching or addressable advertising. See, e.g., Tr. 680:4-

7 (Martin (Turner)); Tr. 3765:6-21 (Athey). As also noted, those challenges have constrained

Turner’s business. Advertisers have shifted dollars from traditional television to digital

advertising, and as a result the digital advertising market is now bigger than the traditional

television advertising market. See, e.g., Tr. 623:2-624:1 (Martin (Turner)).

       250. This shift from television to advertising on digital platforms has largely benefited

two companies, Google and Facebook. See Tr. 623:23-624:6 (Martin (Turner)); Tr. 3747:23-

3748:1 (Athey). They are, Professor Athey acknowledged, “the biggest players in digital

advertising,” accounting for “roughly sixty percent” of that market. Tr. 3746:16-22 (Athey); see

also Tr. 3184:7-10 (Bewkes (Time Warner)) (Facebook’s and Google’s advertising revenues are

growing exponentially). And even though the format of television and digital advertisements is

not always identical, “it’s the same ad dollars; they’re just being used different ways.” Tr.

3457:17-18 (Stephenson (AT&T)).

       251. AT&T, for its part, has the consumer relationships that Time Warner lacks through

its video distribution products, and it has the technological acumen and distribution capabilities

to offer targeted advertising. See Tr. 3218:22-25 (Stankey (AT&T)) (“AT&T has customers.

We have technology and distribution platforms to get content out to customers. We have the

knowledge of how to manage a customer cycle, how to find them, how to recruit them, bring

them in.”); Tr. 3242:6-8 (Stankey (AT&T)) (discussing how AT&T’s consumer data “raises the




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value of the advertising we sell, and that’s what drives higher yield”). But, because it does not

own the large amount of premium video content and associated advertising inventory that a

programmer controls, it does not have the scale necessary to realize the full value of its data. See

Tr. 3395:23-25 (Stephenson (AT&T)).

       252. The merger will give AT&T the scale in advertising inventory necessary to invest

in developing a platform for premium video advertising that shows advertisements tailored to the

consumer, and provides a marketplace for advertisers and third-party programmers to transact

television advertising inventory, much as companies do today on existing digital advertising

platforms. While AT&T’s DIRECTV has only two minutes of advertising time per hour to sell,

Turner owns substantial television ad inventory (typically 14 minutes per hour of programming

on each of its 10 channels). See, e.g., Tr. 1405:9-12 (Montemagno (Charter)).

       253. Even with its limited inventory, AT&T has demonstrated that it can use targeted

advertising to “generate revenues that are three, four, and five times” what companies like

Turner now receive. Tr. 3392:6-7 (Stephenson (AT&T)); see Tr. 3762:11-15 (Athey).

       254. Access to Turner’s much greater inventory of advertising time will justify the

investments necessary to build an automated programmatic platform to connect AT&T’s

customer-level data with the advertising time sold by any programmer and any distributor. See

Tr. 3243:21-3244:8 (Stankey (AT&T)) (“It’s a sufficient scale to get started and demonstrate

that, in fact, these improvements can be made in the market and effectively work. . . . At the end

of the day, we need to ultimately get others to come in and want to do the same thing with their

advertisement, but prove it on ourselves, demonstrate it works, and then encourage other

companies” to come in).




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       255. Owning this inventory will allow AT&T quickly to set up the platform and seed it

with enough advertising inventory to attract advertisers, even if other programmers take longer to

participate in the platform. See Tr. 3467:18-3468:9 (Stephenson (AT&T)) (“The ability to build

an exchange, to sell our own advertising inventory and have advertisers coming in and

exchanging and then actually building campaigns themselves into our advertising inventory, I—

that is something that we can stand up, I am confident, fairly quickly.”); Tr. 677:9-14 (Martin

(Turner)) (“I believe that we—that Turner Time Warner working with AT&T would be able to

supercharge the time to creating a viable commercial ad platform in a way that’s a product that

could benefit, not only Turner, but the entire industry.”); Tr. 3752:9-19 (Athey) (noting that to

attract a significant amount of advertisers, the platform must have a critical mass of advertising

inventory). This is the same path followed by Google and Facebook, which owned scaled

content and associated advertising inventory before building their successful advertising

businesses. See Tr. 3754:21-3756:2 (Athey).

       256. Improved advertising produces significant benefits for consumers, including: (i)

more useful advertisements, (ii) fewer advertisements, and (iii) perhaps most importantly,

advertisers, not subscribers, bearing more of the cost of video service, thus reducing upward

pressure on consumer rates. See Tr. 668:14-17 (Martin (Turner)) (“to the extent that we succeed

at growing our advertising revenue on the overall business model, it would put less pressure on

the subscription revenue”); Tr. 3180:11-13 (Bewkes (Time Warner)) (“We’re trying to reduce

the number of those; that’s why we want to make the commercials more valuable, so we don’t

have to have as many commercials.”); Tr. 3242:6-8 (Stankey (AT&T)) (“That raises the value of

the advertising we sell, and that’s what drives higher yield and improves the advertising

business.”); Tr. 3435:19-22 (Stephenson (AT&T)) (“Ability to generate new advertising revenue




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streams to help us offset the rising cost of content and keep subscriptions prices low—this is a

really good thing for the consumer.”); Tr. 3748:22-3749:6 (Athey) (describing how “if

consumers see more relevant ads, yes, they can benefit from that.”); Tr. 3749:25-3750:16

(Athey) (advertising subsidizes new services for which customers would otherwise need to pay).

       257. These innovations are merger-specific. Bargaining friction—based on an inability

to value data being used in a novel way—has hindered prior attempts to innovate at arm’s length.

See supra FOF ¶¶ 16-18; see also Tr. 3774:25-3775:4 (Athey) (describing the “different beliefs

about the value” as a form of bargaining friction). Time Warner is unable to get data from third

parties that are as valuable as AT&T’s data, which are collected from 25 million television

subscribers, 16 million broadband subscribers, and over 100 million mobile connections. See Tr.

3770:1-18 (Athey); Tr. 3767:25-3768:4 (Athey) (explaining why data Turner receives from third

parties such as comScore or Nielsen cannot be used for targeted advertising). AT&T’s data-

driven advertising, to which Turner will have access post-merger, enables AT&T to sell its

advertising inventory at prices 60% higher than the advertising AT&T sells using traditional

Nielsen data. See Tr. 3771:11-16, 3772:19-23 (Athey). Further, merging with AT&T will

enable Turner to offer addressable advertising, a capability that Turner currently lacks. See Tr.

3762:1-19 (Athey) (agreeing that Turner lacks addressable advertising capabilities today). Time

Warner CEO Jeff Bewkes similarly testified about how AT&T’s addressable advertising

capabilities will aid Turner in addressing the advertising challenges it faces today. See Tr.

3115:4-3116:1.

       258. Likewise, AT&T tried for a full year prior to the merger to reach a contractual

arrangement to provide data to programmers. Those efforts were unsuccessful. See Tr. 3211:4-

3213:2 (Stankey (AT&T)) (describing “meeting directly with many of the large programmers to




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try to figure out whether we could get rights to do some things differently” and to “see if we

could build products on a win-win basis that allowed us to use our data to help them change their

advertising,” but without success); see also. Tr. 3773:20-22, 3775:6-9, 3776:2-3777:2 (Athey).

       259. The merger will also enable Time Warner to use AT&T’s customer data to improve

Time Warner’s ability to deliver content to customers that best meets their needs, and it will let

AT&T combine its strong mobile network and expertise with Time Warner’s content assets to

create new mobile video products and services. As the shift to mobile continues, and as wireless

networks are upgraded to ultra-fast 5G technologies, see Tr. 3382:7-3383:14 (Stephenson

(AT&T)) (explaining the transforming effects that 5G will have), consumers will increasingly

demand customized, lower-cost, mobile-first video services. See, e.g., Tr. 1688:6-9 (York

(AT&T)) (“We have a laundry list of things that the technology would permit us to do, a couple

sitting here right now. One would be something called download, download-and-go rights.”).

Merging with Time Warner will enable AT&T to kick-start the innovation of those services and

meet burgeoning consumer demand by combining Time Warner’s content assets with AT&T’s

broadband wireless platform to develop new and more valuable services, especially for mobile

video devices. See Tr. 3220:23-3224:4 (Stankey (AT&T)).

       260. Mr. Stankey gave several specific examples of the sorts of innovations AT&T

intends to pursue following the merger:

          Mobile-Optimized Content. Consumers do not always have time to “sit around
           their living room” and watch an entire show or newscast. If AT&T owned content,
           however, it would investigate ways “to re-stack that and re-edit it and get it out to
           mobile phones so that during a 15-minute break, you can get your set of news clips
           and information that’s tailored to you.” Tr. 3220:24-3221:9 (Stankey (AT&T)).

          Ultra-High Definition. Although the industry developed so-called “4K” ultra-high-
           definition technology, programmers and distributors have “been very slow to adopt it.
           . . . By []controlling the source of it now in some cases, like the NBA games, like the
           NCAA games that we’ve been talking about in this courtroom, and controlling the




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           distribution, we can move more 4K out to enjoy . . . .” Tr. 3222:4-14 (Stankey
           (AT&T)).

          Interaction with Social Media. Owning content would enable AT&T to distribute
           more content flexibly without strict restrictions on use. Users of social media
           applications could then interact with specific “clip[s]” from favored content—perhaps
           “a funny scene from a comedy sketch the night before”—and “share it with people,
           put it on there. Maybe even while they’re watching it, they want to have a social
           conversation, texting back and forth.” Tr. 3223:8-18 (Stankey (AT&T)). Viewers
           could also interact with a “second screen experience” for their television content,
           providing “stats and information on their mobile phone so that they’re getting
           information about the play calling in [an NBA] game.” Tr. 3223:8-24 (Stankey
           (AT&T)).

       261. These and other video innovations provide a merger-specific benefit because, to

date, bargaining friction has restrained the development of these sorts of offerings. The changes

transforming the video marketplace have created uncertainty among programmers about how to

realize the value of their content—uncertainty that has impeded AT&T’s efforts to develop

innovative, mobile-first products, despite consumer demand. See Tr. 1685:18-19 (York

(AT&T)) (“because we can’t assign a value around that uncertainty, nothing gets done”); see

also Tr. 1685:7-16 (York (AT&T)) (“[W]hat I’ve seen in 30 years of doing this is this friction

just is constant, and nothing truly innovative really gets done when we have an arm’s-length

commercial negotiation like this. I see innovation with Netflix and Amazon and Apple and

others that are more vertical, and they can do things with their own content. So it’s really both

parties not knowing what this innovation or new grant of rights will deliver in the future. It’s the

uncertainty; it’s the risk.”); Tr. 3219:8-13 (Stankey (AT&T)) (explaining that the merger will

circumvent the “difficulty getting programmers to adjust” and allow AT&T to “innovate faster

and quicker” than when they attempted to “do it by contract”); Tr. 3223:1-2 (Stankey (AT&T))

(“These are the things that traditionally move very, very slowly in the media and distribution

business[.]”).




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       262. By contrast, vertically integrated providers like “Netflix, with all the content that

they own and produce, ha[ve] full downloading rights to all their content” and avoid the same

bargaining challenges. Tr. 1688:16-18 (York (AT&T)); see also Tr. 3389:6-8 (Stephenson

AT&T)). Ownership of Time Warner content will provide AT&T with key programming it can

use to demonstrate the value of new products and thereby address some of the bargaining friction

issues it has encountered with other programmers and push these innovations throughout the

industry. See Tr. 1689:24-1690:5 (York (AT&T)) (“[Through vertical integration], [y]ou get a

little bit more alignment and willingness to experiment, to trial and see if there’s value and prove

these concepts out. This whole thing is a chicken and the egg. And when you kind of just take

that out of it and just see if something will work, you get a chance to try and innovate and better

serve your customers.”).

       263. The merger will also enable pro-consumer marketing innovations. After the

merger, Time Warner will be able to use insights gleaned from AT&T’s set-top box data to

schedule programming to maximize its viewership or to provide customized guides featuring

programming that customers are most likely to watch. See Tr. 3246:4-9 (Stankey (AT&T)).

Without these capabilities, Time Warner is at a significant disadvantage to its vertically

integrated rivals. See Tr. 3084:18-19 (Bewkes (Time Warner)) (comparing HBO to its SVOD

competitors: “we don’t know any of that [details about subscribers and viewing habits];

whereas, our new competitors do know that”); Tr. 1119:13-1120:10 (Breland (Turner)) (“Dish

had presented to us that one of the great benefits of Sling was that they would provide us with

viable consumer usage data which of course our networks were very excited about. It’s great

insight. Remember you’ve got Netflix using artificial intelligence to track behaviors and we’re

sort of making fire with sticks so we were very excited about that. But at the last minute late at[]




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night they informed us that [we] . . . can’t put it with any other data and use it and have your ad

sales group use that to sell. . . . It was very testy. . . . We acquiesced because we needed to get a

deal done.”); see also Tr. 3245:17-20 (Stankey (AT&T)) (“We read about how Netflix, for

example, is using information on what customers are watching to figure out what content to

charter and make and build, what stars to put in shows, when to schedule things.”); Tr. 3778:12-

3779:2 (Athey) (explaining that AT&T’s set-top box data can be useful when a company is

making content decisions, and can inform scheduling decisions).20

       264. The merger will also allow AT&T to use its customer relationships and

information, and its distribution assets, to better market Time Warner content. For example, the

firm could launch innovative marketing campaigns for Time Warner content across AT&T’s

extensive set of consumer touchpoints (such as AT&T’s thousands of retail outlets or its

DIRECTV user interface). See Tr. 3244:19-3245:9 (Stankey (AT&T)) (describing placing Time

Warner content on “different screens that customers scroll through” on DIRECTV or “us[ing

AT&T’s] retail stores” to sell “Time Warner products and services” and “promote the sale of

those”). As a result, the merged company will enhance the consumer experience surrounding

Time Warner’s content, more effectively market Time Warner’s movies and TV series, and



       20
          The government suggested at trial that initial concerns within Time Warner about the
magnitude of this “content intelligence” synergy undermine this benefit. See Tr. 3330:1-3338:5
(Stankey (AT&T)). Mr. Stankey acknowledged that deploying innovative content-intelligence
insights will require people at the two firms used to doing business a certain way “to learn new
tricks.” Tr. 3370:16-17; accord Tr. 3370:18-20 (all transactions include “dynamics of culture
and willingness to change”). However, he further testified that the reality is that “[t]here will be
more information coming after the business is combined,” and that “part of the leadership
challenge is to incent and motivate people to” embrace new approaches and new technologies.
Tr. 3370:15-16, 22-23. As in many businesses, that can (and will) be done through management
“incentives” that affect employees’ “direct compensation to get them to start testing some of
these new concepts and see if we can innovate around them.” Tr. 3371:2-5 (Stankey (AT&T)).
Blocking the merger would prevent that market-based process of innovation.



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thereby increase revenues by driving increased viewership of Time Warner’s content. See id. In

addition, AT&T can dynamically incorporate popular “Time Warner characters and figures into

our advertising” and “help raise customer awareness of new movies that are coming out to sell

more movie tickets and raise attendance at movies.” Tr. 3245:3-6 (Stankey (AT&T)).

       265. The evidence at trial established the combined company will also be able to realize

substantial cost savings by eliminating redundant services and positions, insourcing services that

Time Warner currently acquires from vendors, and achieving scale economies. See Tr. 3235:22-

3240:1 (Stankey (AT&T)) (discussing cost savings). For instance, Time Warner and AT&T both

purchase significant amounts of advertising, but can achieve substantial savings by combining

their purchasing power for greater economies of scale. See Tr. 3236:1-21 (Stankey (AT&T)).

AT&T spends some money building new content for products that could instead be replaced with

existing, unused content from Time Warner’s library. See Tr. 3237:5-16 (Stankey (AT&T)).

And “Time Warner uses another company other than AT&T for some of their network services

and will be able to replace that provider with an AT&T network.” Tr. 3239:17-21 (Stankey

(AT&T)). Even the government’s synergies expert, Mr. Ronald Quintero, acknowledged that

AT&T will likely achieve cost synergies from eliminating duplicative corporate functions. See

Tr. 3660:23-3661:14 (Quintero).

       266. AT&T uses a well-established and reliable process to estimate all of these benefits.

Before a transaction is announced, a group of dedicated analysts conducts a “very conservative”

analysis of potential synergies to ensure, before the Board of Directors considers the transaction,

whether the financials meet “some minimum threshold”—that analysis is called “version one.”

Tr. 3227:9-14 (Stankey (AT&T)). As CEO Randall Stephenson testified, the synergies presented

to the Board of Directors are those that AT&T feels “highly confident that [it] can achieve”;




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these are “highly probable scenarios.” Tr. 3404:24-3405:2; 3420:3-5. These synergy projections

are used, in part, to determine what price AT&T “feel[s] comfortable offering” for the target

company. Tr. 3404:11-15 (Stephenson (AT&T)).

       267. After the transaction is approved by the Board and announced, representatives from

the two firms then engage in what is known as a “parlor room process”—the representatives

begin a more informed, more comprehensive analysis of how a post-merger firm would operate.

See Tr. 3227:17-3228:11 (Stankey (AT&T)). Executives from both companies review “more

data and more information” and have “exploratory meetings” (in this case “about 2,000

meetings”) in order to continue “iterati[ng]” to generate synergy estimates that are increasingly

accurate as the process proceeds. Tr. 3228:6-15 (Stankey (AT&T)); see id. (in all, “over 15,000

manhours of work went into this”). And the historical evidence shows the process to be quite

reliable. “The most recent transaction with DIRECTV, we generated over $2 billion of value

and expense savings. By the time we got to the end of 2017—that’s a run rate, recurring every

year—that was higher than what we had predicted.” Tr. 3229:4-8 (Stankey (AT&T)).21

       268. Once the transaction closes, the synergy estimates become part of AT&T’s

operating plans with senior executives accountable for achieving them as part of their

performance objectives. Tr. 3230:7-13 (Stankey (AT&T)) (“Part of the process that we use is

these estimates are all built into business plans. So they go from being estimates to, once the

transaction closes, they’re decomposed and installed into people’s operating plans. Executives

like myself . . . our performance and our bonuses are based on achieving them.”); Tr. 3405:21-

3406:5 (Stephenson (AT&T)) (testifying that he “always” “put[s] people on these merger


       21
          Mr. Stankey further testified that his “compensation” and “longevity with the
company” were tied to his ability to realize the efficiencies this analysis has predicted. Tr.
3231:5-8.



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integration teams that are going to own these businesses when the deal is consummated. . . .

They know ultimately when the deal closes they will have to execute on those synergies and they

will have to produce them, and their compensation will be tied to achieving those synergies.”).

       269. The evidence demonstrates that the effect of these synergies will be to save the

combined company billions of dollars in costs, unlock billions of dollars of untapped revenue

opportunities, and, in so doing, exert significant downward pressure on consumer prices. AT&T

executives have identified $2.5 billion in projected synergies, comprising about $1.5 billion in

cost synergies and $1 billion in revenue synergies. See Tr. 3234:17-3235:14 (Stankey (AT&T));

Tr. 3229:20-25 (Stankey (AT&T)) (a “revenue synergy” is “some business opportunity to do

something, to sell a product or serve that we’re not able to sell today with the businesses

separate,” and a “cost synergy” or “savings” is “[r]emoving an expense from the business”).

       270. Despite all these facts, the government’s model unrealistically assumes there will

be zero benefits beyond EDM. See Tr. 2276:21-22 (Shapiro) (accounting for EDM); Tr. 2278:3-

7 (Shapiro) (agreeing he credited no efficiencies other than EDM); Tr. 2322:22-2323:5 (Shapiro)

(confirming that he did no independent analysis of efficiencies); Tr. 2453:10-12 (Carlton). In

this regard, Professor Shapiro was clear that he did not evaluate these other efficiencies at all, but

relied on the testimony of Mr. Quintero and Professor Athey. See Tr. 2277:19-22 (Shapiro)

(“I’m aware of and I’m relying on the other experts who have been retained by the Justice

Department; namely Mr. Quintero and Professor Athey, who have looked at these efficiencies.”).

Mr. Quintero, however, conceded that there is “a high degree of likelihood” that there would be

efficiencies resulting from this transaction. See Tr. 3675:4-23; Tr. 3674:14-21 (“if AT&T had

hired [Mr. Quintero] to evaluate the synergies here, [he] would not tell them that there [are] zero

synergies to be achieved here”). Furthermore, Mr. Quintero conceded that some portion of the




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synergies projected by AT&T are merger-specific. Tr. 3661:7-14 (“I couldn’t say none of them

[is merger-specific], because, again, I indicated in my report that a portion of it probably is

merger-specific”).

        271. In all events, Mr. Quintero is not a credible witness. Mr. Quintero has been

discredited in other courts for testifying inconsistently. See Tr. 3607:21-3608:12 (Quintero)

(acknowledging that other courts have declined to rely upon his testimony). Mr. Quintero

claimed to have been unaware of a recent decision in which the court found his testimony to be

“discredited.” See Tr. 3609:8-12. Beyond that, Mr. Quintero’s testimony was filled with

inconsistencies. Mr. Quintero offered shifting descriptions for the standard he applied in

assessing which costs were variable costs, and he conceded that he described a different standard

in his deposition testimony than in his direct examination. See Tr. 3668:6-12 (“That’s one way

that I believe I testified in my deposition testimony, and I also testified on that, slightly different

way, in my court testimony.”). And, once retained, Mr. Quintero applied the framework

provided to him by DOJ rather than an independent analysis. Tr. 3614:14-17.

        272. Mr. Quintero also did not apply a reliable methodology to support his opinions.

Indeed, throughout his testimony, Mr. Quintero described no methodology at all, other than to

declare which synergies (none) he found to be verifiable or merger-specific. When pressed on

cross-examination for the standard that he applied, he explained that he required a degree of

“certainty” in order to find that synergies were verifiable. Tr. 3616:12-18 (“I’m looking for

some reasonable degree of certainty”). Mr. Quintero’s standard conflicts with the government’s

own Horizontal Merger Guidelines, which, as Mr. Quintero did not dispute, do not require any

degree of “certainty.” See Tr. 3617:17-22 (Quintero); see also Tr. 2277:4-7 (Shapiro) (“[A]s an




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antitrust economist we generally credit efficiencies in mergers if they are merger specific. If

they’re likely to actually be achieved which usually involves some sort of verifiability.”).

       273. Nor did Mr. Quintero conduct a meaningful investigation of the facts relating to

AT&T’s synergy projections, and he was woefully ignorant of relevant facts. This not only

undermines the persuasiveness of Mr. Quintero’s conclusions, but also demonstrates that he did

not attempt to perform the tasks that supposedly define his expertise. See Tr. 3550:14-22 (Mr.

Quintero testifying that his work experience and training qualifies him as an expert “[b]ecause

my work experience professional, background, professional licenses are heavily geared towards

being able to dig deep into information, to solicit information”).

       274. In particular, Mr. Quintero agreed that “it certainly is possible to verify” at least

some of the synergies he evaluated, but he “would have required more information” to do so. Tr.

3620:8-12. He made no effort, however, “to determine what level of synergies might actually, in

a real world, be reflected by this transaction,” because DOJ did not ask him to do so. Tr.

3626:11-16; see also Tr. 3626:18-21 (“Q. And the government didn’t ask you to determine

when you could do any additional work to satisfy the standards that they gave you, did they? A.

They did not.”). Instead, where he found information missing (or where he could not understand

the synergy estimates projected by AT&T), he made no effort to look into the millions of

documents and the vast trove of financial information that was provided to DOJ in this case to

determine whether the supposedly missing information was available. See Tr. 3623:19-3624:12

(Quintero). He made no effort to speak to any of the AT&T people involved in the synergy

process, and instead he spoke only to DOJ lawyers and his staff. See Tr. 3644:24-3645:10

(Quintero). And he did not ask DOJ to depose the individuals responsible for the synergy

estimates. See Tr. 3654:4-3655:2 (Quintero). This lack of effort stands in sharp contrast to the




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methodology and effort Mr. Quintero would apply if he were performing similar work for a

client. See Tr. 3622:7-13 (Quintero) (agreeing that “[i]f [he] were looking at a client’s business

and if there was a piece of information that [he] needed, [he] would just go ask for it”).

       275. Professor Athey, the government’s other synergy expert, likewise did not dispute

that there could well be value to AT&T being able to use data to increase the value of Time

Warner’s advertising inventory. For instance, she acknowledged that, currently, AT&T is able to

sell data-driven advertising for approximately 60% more than regular advertising (and

addressable advertising for more than five times what it gets for regular advertising, a capability

that Turner lacks entirely). See Tr. 3762:11-19, 3771:12-16.22

       276. Although Professor Athey refused to credit platform efficiencies, her testimony

supports AT&T’s argument that the greater scale that Turner’s inventory offers is necessary for

AT&T to build and invest in the platform. Professor Athey acknowledged that acquiring “seed”

inventory is an obstacle to the success of the platform. Tr. 3756:5-8. It was, she stated, a

“chicken and egg problem.” Tr. 3752:9-15. “[I]n order to have a large successful programmatic

platform, you would need to have a large amount of ad inventory,” she agreed. Tr. 3751:24-

3752-2; see also Tr. 3752:16-19 (Athey) (“Q. And as you noted in your report, it’s very difficult

to attract one side of the platform without having the other side, right? A. That’s correct.”).

And although Professor Athey asserted that AT&T could acquire such inventory through



       22
           Although Turner’s Long Range Plan independently projected increased revenue due to
data-driven advertising, such forecasts were “aspirational” and assumed that Turner “would have
had enough data to be able to create [new ad] products.” Tr. 595:5-17 (Martin (Turner))
(discussing PX67). As discussed above, Turner has been unsuccessful in acquiring sufficient
data on its own, see supra FOF ¶¶ 16-19, and will benefit from the access to data it gets as a
result of merging with AT&T. See Tr. 635:1-4 (Martin (Turner)) (“Well again, coming back to
the word data. All of the customer relationships that AT&T has, the scale . . . which they have in
technology is significantly better than anything we can do on our own.”).



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contractual relationships, Tr. 3730:23-3731:9, as discussed above, real-world evidence in the

video advertising marketplace refutes that conclusion. See supra FOF ¶¶ 47-48.

       277. In sum, while the government disputes the amount of synergies that will be

achieved as a result of this transaction, it is undisputed that the synergies will be greater than

zero. Those synergies will decrease costs (allowing AT&T to be a more aggressive competitor)

and make broad distribution more valuable to the combined company and thus will put further

downward pressure on the combined company’s prices. Again, however, other than EDM,

Professor Shapiro’s model does not account for these consumer benefits at all. In this way as

well, the model is contrary to the post-merger reality and does not provide a plausible basis for

predicting likely net consumer harm (much less substantial harm).

III.   The Government Did Not Meet Its Burden to Prove the Merged Company Is Likely
       to Coordinate with Comcast to Harm Competition from Virtual MVPDs

       278. The government’s second theory of harm is that the merged company will

coordinate with Comcast to harm competition from virtual MVPDs. The evidence does not

support this theory, and the government’s lead expert essentially abandoned it at trial.

       279. Indeed, far from opining that such coordination was likely to substantially lessen

competition, Professor Shapiro went no further than to say he was “concerned” that coordination

between AT&T and Comcast “might happen.” Tr. 2260:1-3, 2260:22-23 (Shapiro). When asked

how likely such an outcome was, Professor Shapiro could not provide any estimate. See Tr.

2264:1-4 (“Q. Have you quantified the likelihood of this coordination occurring between

AT&T, Comcast, if the merger were to go forward? A. No, I’m not able to do that.”); Tr.

2292:12 (“I don’t have a way of accessing [sic] the probability.”). He could not testify whether

it was 51% likely to occur or even 1% likely to occur. See Tr. 2292:6-13 (Shapiro); see also Tr.

2292:2 (Shapiro) (“I cannot quantify that probability . . . .”). There is thus no evidence that




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coordinated activity is probable or more likely than not. See Tr. 2292:6-8 (Shapiro) (“Q. And

you’re not in a position to say it’s more likely to happen than not, correct? A. That is correct.”).

       280. Moreover, coordinated withholding with Comcast would be expected only if both

companies would receive profits from new subscribers or retained existing subscribers that

exceeded their lost affiliate fees and advertising revenues. But Professor Shapiro did not

demonstrate that such benefits would exceed those certain costs for either company, and thus the

government presented no evidence that there would be an economic incentive to engage in the

conduct it posited. See Tr. 2454:8-9 (Carlton) (Professor Shapiro has done “absolutely nothing”

“to quantify anything” as to coordination). In other words, the government’s economic analysis

provides no basis for this Court to conclude that such allegedly anticompetitive coordination is

likely because of this merger.

       281. Nor did the government present any other evidence supporting its coordination

theory. The government’s own witness, Mr. Rigdon of Comcast, confirmed that there is no basis

to believe Comcast will coordinate with AT&T post-merger. See Tr. 884:15-885:7. Mr. Stankey

similarly confirmed that AT&T has no incentive to coordinate with one of its chief rivals. See

Tr. 3255:12-22 (“I’ve been competing with Comcast for years. And to the notion that we are

going to align with them—you know, we do battle with them all the time. . . . We don’t want to

cooperate with Comcast to play their game. We want to figure out how we use our mobile

devices and our mobile network to change the game and do things differently, not do it the same

way they want to do it.”); see also Tr. 3432:2-5 (Stephenson (AT&T)) (“We compete every day

with Comcast in the marketplace. The individual that runs the communication company, he

wakes up every day trying to think, how do I win in the marketplace against Comcast?”).




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       282. In addition to claiming that the merger would lead to coordinated withholding of

content, the government alternatively argues that the combined company would have an

incentive to coordinate with Comcast/NBCU to demand that virtual MVPDs take too much

programming in an effort to prevent virtual MVPDs from offering sufficiently “skinny bundles.”

In addition to the points noted above, the evidence at trial refuted this contention for two further

reasons.

       283. First, any concern that programmers will seek to sell more channels to virtual

MVPDs than the virtual MVPDs want is not merger-specific. As the government’s competitor

witnesses conceded, independent of vertical integration, all programmers want distributors to

carry as many networks as possible. See Tr. 433:18-21 (Schlichting (DISH)) (“Q. Pre merger all

the programmers, all the programmers want you or your company to take as many networks as

they can persuade you to take, correct? A. That’s true.”); Tr. 2098:6-19 (Sejen (Cable One))

(Turner “went to great lengths to protect [its] bundle”); Tr. 2063:16-21 (Bond (NBCU))

([REDACTED]). The reason is apparent. Whatever the licensing fee for a bundle,

programmers will always prefer to have more networks available, because that increases affiliate

revenue and advertising revenues. Cf. Tr. 2466:24-2467:1 (Carlton) (confirming that “the more

eyeballs you have, the more valuable your advertising is”). And in any case, the government did

not establish that virtual MVPDs would be unable to compete effectively even if they were

unable to carry as few networks as they desired.

       284. Second, contrary to the government’s theory, the merged company would have no

economic incentive to withhold content from virtual MVPD services. See Tr. 2260:19-21

(Shapiro) (post-merger, “AT&T will still want to license the Turner content to virtual MVPDs”).

As AT&T’s key executives explained, AT&T wants growth in these services because more




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online video viewership increases usage of its wireless broadband network, where AT&T has a

decided market advantage over Comcast. See Tr. 3432:16-20 (Stephenson (AT&T)) (“With

AT&T, we’re in a unique position. We like over-the-top [Internet-delivered video]. Over-the-

top generally means, in this day and age, wireless. People are using their wireless devices to

watch video, whether it’s our video or not, we’re somewhat ambivalent.”); Tr. 3433:17-18

(Stephenson (AT&T)) (“Anything that will drive more utilization of our mobile asset is a good

thing.”); Tr. 3254:19-22 (Stankey (AT&T)) (when consumers use virtual MVPD services, “they

put more usage on the wireless network and it causes them to buy up on data plans or get more

devices and connect more things to the network to do that, that’s good for our business”); Tr.

3255:15-17 (Stankey (AT&T)) (“[W]e’re different. And we have a mobile network; that’s what

different about us.”). AT&T has more than 100 million wireless connections in the United

States. See Tr. 3208:22-24 (Stankey (AT&T)) (“[W]e could use our 100 million wireless

subscribers to be able to do things differently, which is dramatically different than Comcast.”);

see also Tr. 3432:6-10 (Stephenson (AT&T)) (“Wireless distribution is a huge advantage for

[AT&T] against Comcast, because they have no wireless business, per se.”).

       285. Thus, and contrary to the government’s unproven theory that AT&T is incentivized

to maintain the traditional pay TV product, AT&T is quickly moving to smaller bundles of video

programming, at lower prices and over mobile devices. AT&T not only offers DIRECTV NOW,

but also, as AT&T’s CEO Randall Stephenson testified, will soon offer an even skinnier bundle,

“AT&T Watch,” for $15. Tr. 3434:12-17; see DX625.0001 (AT&T will “create new choices—

skinnier bundles . . .”). This bundle will not only be among the most inexpensive available to all

customers at $15, but also, “if you’re an AT&T wireless unlimited customer, we’re going to give

that bundle to you for free.” Tr. 3434:18-20 (Stephenson (AT&T)). As Mr. Stephenson




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explained, “these are the kind of things that we’re motivated to do as a distributor, get the

bundle’s [d]ensity down and get a skinnier, skinnier bundle into the marketplace.” Tr. 3434:21-

24; see also 3506:23-25 (Stephenson (AT&T)) (“What we’re all working towards is creating

[$]35 and $15 bundles. And that’s where the world is moving.”); Tr. 3257:4-6 (Stankey

(AT&T)) (“I think the future of this industry is going to be a little bit smaller compilations of

different types of services.”).23 [REDACTED].

       286. Indeed, increasing the extent to which consumers watch video on AT&T’s mobile

network will benefit the merged firm even when those consumers watch video offered by

distributors other than AT&T. Those customers increase their use of AT&T’s wireless network,

and become less likely to switch (“churn”) to other wireless providers. See DX625.0001 (AT&T

intends to “distribut[e] [Time Warner] content deeper into mobile so all wireless companies

become distribution points for Time Warner content”) (emphasis added); Tr. 3253:21-23

(Stankey (AT&T)) (“They use their wireless device more. The more you watch, the more you

use. The more you use, the more indispensable it is.”). They will also become more likely over

time to treat their mobile connection as their default video-viewing mechanism, again benefiting

the merged firm over Comcast. See Tr. 3208:19-21 (Stankey (AT&T)) (“one of the clear

objectives was to start to transform the way we deliver video to customers, make the video far

more portable”); Tr. 3432:23-25 (Stephenson (AT&T)) (“We want to propagate that. We’re

enthusiastic about that. We want people engaged with these devices all day, as much as possible,

watching media and video.”).



       23
         Contrary to the government’s assertion that PX47 shows that AT&T has tried to slow
the growth of its online competitors, AT&T has recognized that it is trying to “navigate a very
new world.” PX47. It has embraced this “new world” by launching DIRECTV NOW and
AT&T Watch.



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       287. The merged company also will have the incentive to include Turner content in this

growing sector of the video ecosystem in order to obtain affiliate fees and advertising revenue

and to encourage consumers to continue to use services that offer Turner’s networks rather than

turning to Netflix and similar alternatives that do not. See PX456-003 (Time Warner 10-K states

that “the merger with AT&T is consistent with the Company’s strategy of ensuring that its

content is available to consumers on a wide range of distribution platforms”); PX8-004 (one of

Turner’s primary strategies is to “[l]everage technology and new business models to distribute

our content both inside and outside the traditional ecosystem”); see also Tr. 2260:19-21

(Shapiro) (post-merger, “AT&T will still want to license the Turner content to virtual MVPDs”).

As Turner’s Chairman and CEO, Mr. Martin, testified, with “more and more households in the

United States who are, quote, unquote, cutting the cord,” Tr. 605:21-22, Turner is “embracing

virtual MVPDs and any other distributors that might enter the marketplace, because, again, we

need to be distributed to as full distribution as possible,” Tr. 607:13-16; see also Tr. 3126:8-16

(Bewkes (Time Warner)) (stating that the government’s theory “makes no sense” because “[w]e

want to be on all the virtual MVPDs”); Tr. 3157:22-3158:7 (Bewkes (Time Warner)) (explaining

that virtual MVPDs are a favorable trend because they are “another place where we could put our

networks in front of consumers”); Tr. 1065:1-3 (Breland (Turner)) (“Q. . . . [W]hat was your

strategy with respect to negotiating with the new entrant virtual MVPDs? A. I want to be on

every platform that comes.”); PX132-009 (Mr. Martin from Turner states at public conference

that “the more Slings there are, the more we’re going to try to make sure our networks are in

those packages”). Indeed, Mr. Bewkes explained that Time Warner is better positioned than

Comcast to be on “skinny bundle” virtual MVPD platforms because 85-90% of Turner’s revenue




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comes from four networks, whereas Comcast relies on 13 to 15 networks. See Tr. 3126:22-

3127:6; see also [REDACTED].24

       288. Moreover, for different business reasons, NBCU as a programmer also wants to

distribute its content broadly on all platforms, including virtual MVPDs. As Mr. Bond,

Chairman of Content Distribution at NBCU, testified, NBCU has “licensed all of those [virtual]

distributors.” Tr. 2019:20-2020:1; [REDACTED].25 The emerging virtual MVPDs now have

“well over three million subscribers in total” and “represent an important new pathway of

distribution,” especially while “the traditional MVPD universe, that is, those customers that are

reflected in cable and satellite and [t]elco, those subscribers are all declining.” Tr. 2020:5-13

(Bond (NBCU)); see Tr. 2020:22-24 (Bond (NBCU)) (virtual MVPDs will “continue to grow”).

Mr. Bond further testified that he sees the emergence of these new distribution platforms as “a

positive” for NBCU, Tr. 2020:14-16, and that he has never had any pressure to make decisions




       24
           The sometimes-higher per-subscriber rates that virtual MVPDs pay Turner relative to
traditional MVPDs are attributable to the fact that, as recent entrants, virtual MVPDs generally
have fewer subscribers. See Tr. 1083:4-10 (Breland (Turner)) (where a distributor reaches fewer
viewers, “your rate may be higher and it needs to be higher because it means the other side of the
revenue stream ad sales won’t be able to monetize those eyeball[s]. That’s one. And then the
rate goes down as you give us better carriage. The more eyeballs you give us, the lower the
rate.”); Tr. 585:8-16 (Martin (Turner)) (“Subsequently, we’ve done a new contract with Sony
Vue, where their rates are much more comparable with the equivalent small cable system that
would have a comparable number of subscribers.”); Tr. 1188:10-1189:04 (Warren (Turner))
(“The first deal that Sony signed was . . . higher than our deals we might have with someone
having 10 million, 5 million subscribers, in large measure because Sony was telling us that they
were going to pay minimum guarantees in terms of dollar value” and the subsequent
renegotiation resulted in rates that “are now within a single-digit percentage to distributors
having 7, 8 million subscribers”). Mr. Breland testified that this has been the case for any new
entrant to the industry when it first comes into the market, and that rates decrease as the provider
establishes a subscriber base. See Tr. 1062:2-10 (“When direct broadcast satellite came on, they
paid a slight premium. Same thing when the [telcos] came on. And same thing with the virtual
MVPDs.”).
       25
            [REDACTED].



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about licensing to virtual MVPDs related to the fact that NBCU is affiliated with Comcast Cable,

Tr. 2021:19-2022:17; see also Tr. 2038:13-18 (Bond (NBCU)) ([REDACTED]).

       289. Even assuming, contrary to the evidence, that AT&T and Comcast were inclined to

withhold content from virtual MVPDs in a coordinated fashion, the Commitment would

categorically preclude the merged entity from coordinating with Comcast on a withholding

strategy because, at a distributor’s election, it prevents withholding. See Tr. 2454:11-15

(Carlton) (Professor Shapiro’s analysis of coordination to withhold “completely ignore[s] . . . the

arbitration commitment,” which bars withholding). The evidence thus shows that, post-merger,

AT&T cannot agree to withhold content because it can be required to provide the content at the

option of any distributor.

       290. Independently, the structure of the contracts in this industry further precludes the

kind of competitive response necessary to enforce coordination. The programming market relies

on staggered multi-year agreements, under which NBCU’s and Turner’s contracts with providers

frequently expire years apart. See Tr. 643:20-644:2 (Martin (Turner)) (testifying that “because

of the length of these contracts, because they’re typically years in length,” a strategy set “in

2013” would “begin to show up in ’15, ’16 and ’17”); PX123-020 (showing Turner’s contracts

expiring over staggered periods). In other words, in order to coordinate, one party—Turner or

NBC—would have to give up sales of valuable programming and all the associated revenue

merely in the hope that the other party might elect to forgo its revenue months or years later.

       291. In attempting to prove that the merged company will have the incentive to

coordinate with Comcast to withhold content from virtual MVPDs, the government relied on

selected vague statements from one Turner employee, John Harran. See generally Tr. 1840:10-

1866:11. Mr. Harran, however, confirmed that he has no “authority within Turner to set strategy




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concerning how Turner engages with virtual MVPDs,” “to negotiate virtual MVPD linear

agreements,” or “to decide what rights Turner will license to distributors,” including “virtual

MVPDs.” Tr. 1868:3-8, 1868:21-24. The government also relies on language from an email

sent by AT&T executive Daniel York to suggest that AT&T would not want to license content to

virtual MVPDs. See PX42. But this document not only confirms that programmers have a

strong economic incentive to support virtual MVPDs, but also underscores the changing industry

dynamics by pointing out “how quickly the product and category definitions have all blurred.”

Id. Mr. York explained that he was “trying to give Mr. White, who was relatively new to the

media business, a sense of how the world is changing.” Tr. 1679:13-16.

       292. The government also relied on a previous, unrelated episode involving the regional

sports network SportsNet LA (“SNLA”). DIRECTV declined to license the network because the

price demanded was unreasonably high, and the government showed no more than that two

DIRECTV executives expressed an interest in other distributors likewise “holding firm.”

PX462. But Mr. York (who was then at DIRECTV before its merger with AT&T) testified that

SNLA’s failure to license its network to distributors was easily explained by the “insane” terms

of SNLA’s offer and its unwillingness to negotiate. Tr. 2082:5-15. DIRECTV “made a very

aggressive set of counterproposals, got no movement whatsoever, and couldn’t come to terms to

carry it.” Tr. 2082:13-15 (York (AT&T)). Nor was DIRECTV alone in this regard. The press

had publicly reported that DISH, too, was unlikely to carry the channel. See Tr. 2085:1-18 (York

(AT&T)) (“Q. Do you recall this article as being one of several that announced what Dish’s

position was at the time? A. Yes.”). Mr. York confirmed that communications between him

and counterparts at other companies in the industry are not about specific contract terms or other

confidential information. See, e.g., Tr. 1671:10-16, 1673:17-18, 1683:22-25.




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       293. The government also failed to prove at trial that, even if AT&T and Comcast were

to coordinate in withholding their content from virtual MVPDs, it would substantially lessen

competition.

       294. A new virtual MVPD does not need to acquire programming from all the major

content providers to enter the marketplace. As DISH’s Warren Schlichting testified, one of

Sling’s basic packages has no broadcast stations, meaning that it lacks ABC, NBC, CBS, and

Fox. See Tr. 351:12. Sling’s other basic package lacks ESPN, which has more sports

programming than any other network. See Tr. 355:2-7 (Schlichting (DISH)). Although

Schlichting testified at one point that “it’s very hard to have a pay-TV service without” “ABC,

NBC, CBS, Fox and Time Warner,” Tr. 242:19-21, he later conceded Sling was “doing well,”

Tr. 356:15-16, despite the fact that CBS is not available on Sling at all, see Tr. 351:24-25.

       295. Despite DISH’s real-world experience, the government attempted to rely on

theoretical findings from a so-called “Rubi[x] summary.” But Mr. Breland testified that Rubix

was merely an attempt by an internal research department at Turner to “gain some degree of

insight into consumer behavior.” Tr. 1076:11-14. He did not “recall if there were one, two, five,

or ten different Rubi[x] studies” and “didn’t use the [Rubix] data to help [him] establish any

strategies.” Tr. 1076:18-1077:11.

IV.    The Government’s Theory That the Combined Company Will Limit HBO’s Use As
       a “Promotional Tool” Is Illogical and Contrary to the Evidence

       296. The government’s final theory involves HBO. HBO is a premium network,

meaning it offers high-quality programming that is supported by subscriber fees rather than

advertising and, unlike the Turner networks, is not part of a basic MVPD subscription but rather

is an add-on purchase. See Tr. 3070:3-8 (Bewkes (Time Warner)) (“[T]he key thing about

[HBO] was there was no advertising. There’s never been. . . . [s]o in order to pay for the




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programming, we had to get people to subscribe to it, the more, the better. And that’s how we

paid for what we were doing.”). The majority of MVPD subscribers—more than two-thirds—do

not subscribe to HBO. See Tr. 1529:16-17 (Patel (AT&T)) (reporting 30% penetration

nationally); Tr. 3073:22-23 (Bewkes (Time Warner)) (“I think the national average is in the 30,

low 30 percent range.”).

       297. HBO competes not only with several other premium networks (including Showtime

and The Movie Channel, owned by CBS, and Starz, owned by Lionsgate), but also with other

cable networks (such as FX, A&E, and AMC), as well as online distributors such as Netflix and

Amazon. See Tr. 886:16-22 (Rigdon (Comcast)) (acknowledging that he has characterized

Netflix “as a competitor to HBO and a substitute for HBO” because it “is another offering that

you can give to consumers instead of HBO or Showtime”); Tr. 1493:18-1494:3 (Sutton (HBO))

(HBO competes with SVODs like Netflix for viewers’ time, for distribution, and for

programming content); see also DX709.0003 ([REDACTED]). And Netflix has a programming

budget over twice that of HBO’s. See Tr. 3099:13-15 (Bewkes (Time Warner)). As HBO

executive Simon Sutton testified, “There was a time when very few people were making the kind

of shows we make. Now, it seems that almost every week, there’s an announcement of

somebody else making it.” Tr. 1494:16-18; see also DX709.0003 ([REDACTED]).

       298. The government does not argue that the merged firm would have an incentive to

withhold HBO from either MVPDs or virtual MVPDs or that the merger would produce any

incentive to raise prices for the service. See Tr. 2290:15-23 (Shapiro). Instead, it has alleged

narrowly that the merged company will gain the incentive and ability to prevent rival distributors

from using HBO as a promotional tool to attract and retain subscribers and that such conduct will

substantially lessen competition. See Compl. ¶ 39.




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       299. The trial evidence showed the opposite. Even Professor Shapiro conceded that the

minor “harm” he is concerned about “[o]n its own . . . would not have such a big impact, that it

would substantially lessen competition.” Tr. 2276:11-13 (emphasis added); see Tr. 2454:1-3

(Carlton) (indicating that he is “not quite sure what” he is “suppose[d] to rebut” in light of what

Professor Shapiro said). Professor Shapiro further conceded that he had done nothing to quantify

the alleged harm to consumers relating to this issue. See Tr. 2291:4-7. In light of that

concession, there is no substance to the government’s assertion that restricting HBO promotions

could substantially lessen competition.

       300. In fact, HBO needs MVPD promotions far more than MVPDs need to promote

HBO—HBO’s business model “absolutely” depends on promotions. Tr. 1496:16-17 (Sutton

(HBO)); see also Tr.1508:14-16 (Sutton (HBO)) (“[O]ur whole business is relying on our

affiliates to promote us. If we can’t do that, then our entire business model is destroyed.”); Tr.

3074:5-6 (Bewkes (Time Warner)) (HBO is “heavily dependent” on distributors). In fact, wide

distribution and effective marketing are the two key drivers of HBO’s business. See Tr. 3071:6-

9 (Bewkes (Time Warner)); Tr. 3072:2-9 (Bewkes (Time Warner)) (“[W]e needed to get our

channel, HBO . . . . carried in the cable ecosystem and then, . . . if they didn’t sell anybody an

HBO subscription in their cable system, we didn’t get— we had no revenue. So we had both

goals: get it in, get it on every distribution platform, and try to get as many people subscribing to

it as we could.”); Tr. 1455:16-21 (Sutton (HBO)) (“we actually want to incent [distributors] to

grow, so . . . in our deal structure, as they add subscribers, they generally pay less on the

increment”). That is why HBO’s contracts provide for a volume-discount pricing structure—the

per-subscriber rate an MVPD pays is reduced as subscribership increases. See Tr. 1533:21-

1534:11 (Patel (AT&T)).




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        301. HBO must rely on its distributors to promote it, because it does not have direct

relationships with its viewers, and it is an extra purchase not automatically included in MVPDs’

basic packages. See Tr. 3070:9-14 (Bewkes (Time Warner)) (“The other important thing . . . is

we had to go through a cable system on a wholesale basis, to get them to carry the network and

then get them to offer [HBO] vigorously to the homes in their cable system.”); Tr. 1496:13-15

(Sutton (HBO)) (“Because we’re a discrete purchase, we rely on our affiliates to promote and

sell us as much as they can.”); Tr. 2136:15-19 (Sejen (Cable One)) (“Q. . . . [I]n your

experience in the industry, HBO, as a promotional device, was coming more from the HBO end

than it certainly was from the distributor end, at least you as a distributor, Cable ONE? A.

Particularly in later years, yes.”).

        302. Even with respect to its over-the-top offering (HBO NOW), HBO still largely

functions as a wholesaler because a consumer must purchase an HBO NOW subscription

through a third party such as Apple or Amazon, and the third party “act[s] as [HBO’s] agent.”

Tr. 1491:6-7 (Sutton (HBO)); see also Tr. 3163:1-10 (Bewkes (Time Warner)) (“we had to use

third parties to deliver and to market that HBO service”). AT&T’s Hanny Patel likewise

confirmed that it is the distributor that has the relationship with the customer and thus that

Showtime, where she spent 19 years, needed the distributor to market Showtime. Tr. 1528:14-

1529:4.

        303. Furthermore, HBO has to negotiate for guarantees that MVPDs will use HBO in

their promotions. See Tr. 3128:20-25 (Bewkes (Time Warner)) (“[O]ur efforts, when we’re

dealing with affiliates, are not, you know, that, yes, we’ve got to get them to carry the service on

their system, but mostly what it’s about is getting them providing incentives, getting them to

agree to market it so that a lot of people in their system have HBO.”).




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       304. HBO also subsidizes those promotions, providing substantial funds, sometimes

millions of dollars, to MVPDs for that purpose. See Tr. 1499:20-24 (Sutton (HBO)) (“[W]e will

agree to provide certain marketing funds . . . , which we will contribute to their advertising and

marketing campaigns in order for them to market and promote HBO.”); Tr. 1534:22-23 (Patel

(AT&T)) (“There was a significant marketing budget that [HBO] offered us to grow their

subscribers.”); Tr. 2971:16-23 (Holanda (RCN)) (agreeing that without economic incentives

from HBO, “RCN would not use HBO as a promotional tool”).

       305. As HBO’s Mr. Sutton testified, most of HBO’s distribution staff, consisting of 150

employees, is engaged in “encourag[ing] our affiliates to promote HBO and Cinemax as much as

possible. They are going out to our affiliates’ call centers, encouraging the agents there to push

HBO and Cinemax to customers who call in.” Tr. 1491:16-1492:1. HBO needs to make

substantial efforts to be “included in promotions and bundles and marketing campaigns” because

“[i]t is a highly effective way of increasing HBO’s penetration and, therefore, HBO’s subscriber

numbers and revenue.” Tr. 1492:9-13 (Sutton (HBO)); see also Tr. 2136:10-13 (Sejen (Cable

One)) (“Q. And is it your understanding that HBO has a pretty high churn rate so it really needs

to keep pushing its product to replace that churn? A. Uh-huh. I believe that’s accurate, yes.”);

Tr. 2972:20-24 (Holanda (RCN)) (“Q. And, in fact, it would be antithetical to HBO’s entire

business model, where it has a high churn rate and it needs to keep pushing its product to gain

subscribers. You understand that’s the way HBO works, don’t you? A. Well, I understand the

churn and the push point.”). Along the same lines, HBO frequently waives fees or contractual

requirements in order to induce a distributor to launch a special HBO-related promotion. See Tr.

1498:18-1499:3 (Sutton (HBO)).




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       306. There is another important reason that the combined firm would have no incentive

to restrict distributors from using HBO as a promotional tool. In order to attract the content and

talent it needs to compete with the exploding universe of other high-quality video programming,

HBO requires broad distribution. See Tr. 3073:2-7 (Bewkes (Time Warner)) (“[T]he more

subscribers we have, therefore, the more revenue. And the more people in the country are

talking about it, the more the press will write about it. That attracts the talent that wants to have

their show on HBO, and that gives us better shows and, therefore, more subscribers.”); Tr.

3263:8-13 (Stankey (AT&T)) (“And that’s our goal, is to put more of [HBO] out there, and these

distributors are incredibly important to us. I have absolutely no concerns whatsoever that we’re

going to continue to push HBO to anybody who wants to sell it moving forward.”). Without

assurances of wide distribution, content creators would leave HBO and go elsewhere. See Tr.

1493:20-25 (Sutton (HBO)) (discussing how HBO and Netflix compete “in many different

ways,” including for “talent to make the same shows”).

       307. HBO will continue to need to rely on MVPDs post-merger to distribute its

programming, and it will have the same incentives to encourage these distributors to package and

promote HBO as widely as possible. See Tr. 3262:12-15 (Stankey (AT&T)) (“We want broad

distribution on HBO. After the close of the transaction, . . . that’ll be even a more important

focus of this business, to get broader distribution of HBO.”); Tr. 3431:10-12 (Stephenson

(AT&T)) (explaining restricting use of HBO as a promotional tool “defies business logic” as

“HBO is dependent upon all these distributors to sell their product”); Tr. 3431:15-19

(Stephenson (AT&T)) (“The value of one’s content is a function of how many people are

watching the content, and any action that would restrict the distribution of that content is value-

destroying action.”); Tr. 1508:5-16 (Sutton (HBO)) (testifying that it would be “devastating” to




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HBO’s business to prevent competing distributors from using HBO as a promotional tool; “[O]ur

whole business is relying on our affiliates to promote us. If we can’t do that, then our entire

business model is destroyed.”); Tr. 3128:16-19 (Bewkes (Time Warner)) (“HBO’s entire

business, for all the 40 years I’ve been in it, we need to be in every outlet, and we need as

many—we’d like, we want as many people to subscribe to it as we can get.”). According to Ms.

Patel, the government’s theory that it might be beneficial for the combined company to withhold

HBO in some way from programs and promotions “doesn’t make any sense” based on 25 years

of experience at a premium network and a distributor. Tr. 1536:15-23.

       308. HBO’s existing agreements allow distributors to make many promotional offers

without the need for additional approval. See Tr. 719:24-720:5 (Hinson (Cox)). There are “few

circumstances” where a distributor needs HBO’s approval in order to use it as a promotional

tool. Tr. 1497:25-1498:2 (Sutton (HBO)). Mr. Sutton, HBO’s President and Chief Revenue

Officer, testified that he could not think of an instance in which HBO had denied approval for a

promotion. See Tr. 1499:8-11.

       309. Furthermore, due to the extensive competition it faces, HBO is not an essential or

unique promotional tool for any MVPD. Cable One largely eschews using HBO in promotions.

See Tr. 2135:24-2136:1 (Sejen (Cable One)) (“Q. So Cable ONE, if I hear you correctly, didn’t

really need or want HBO as a promotional tool? A. That’s essentially the case, yes.”). RCN

believes that the use of premium channels as a promotional tool is “in the middle of the pack.”

Tr. 2972:7-11 (Holanda (RCN)). [REDACTED]. The ability of consumers to get HBO apart

from traditional MVPDs through HBO NOW further reduces any perceived importance as a

promotional tool. See Tr. 2973:2-6 (Holanda (RCN)) (agreeing that “today, HBO really has less




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influence with [RCN] than ever before because a consumer, if it really wants HBO, it can just

pop on the app and go get HBO Now”).

       310. In 2016 when AT&T was considering choosing one of its existing premium

networks to be its “preferred partner,” AT&T “could have partnered with any of the premiums.”

Tr. 1526:17-22 (Patel (AT&T)). At that time, HBO was only the third most popular premium

distributed by AT&T, following Starz and Showtime, both of which gave AT&T “more

favorable deal terms and offered better incentives” than HBO. See Tr. 1527:18-1528:5 (Patel

(AT&T)). Ultimately, Ms. Patel confirmed, AT&T chose to make HBO its “preferred partner”

only after HBO made a “very aggressive” offer (that is, very favorable to AT&T). Tr. 1532:21-

1533:3, 1535:19-22. Ms. Patel testified that in her 25 years in the industry, she had “never seen

an offer that strong in terms of incentive for growth.” Tr. 1533:8-9. The offer lowered AT&T’s

rate per subscriber over the course of the deal (amounting to hundreds of millions of dollars),

offered AT&T a free band of subscribers also worth hundreds of millions of dollars, and

provided AT&T a significant marketing budget it could use to grow HBO subscribers, among

other things. See Tr. 1532:24-1535:14 (Patel (AT&T)); see Tr. 1535:7-18 (Patel (AT&T))

(explaining that these terms were worth “hundreds of millions of dollars”). HBO’s offer also

included a grant of rights for AT&T’s wireless services, which at the time had not been offered

by Starz or Showtime. Tr. 1530:20-24, 1534:24-1535:1 (Patel (AT&T)).

       311. Distributors can—and do—use all other premium services in promotions. See, e.g.,

Tr. 717:9-25 (Hinson (Cox)). Although HBO can be useful for attracting or retaining

subscribers, other premium networks can and do serve the same purpose. See Tr. 2971:20-

2972:15 (Holanda (RCN)) (acknowledging that RCN uses other premium channels—Showtime,

Starz—as promotional tools and that “the use of premium channels as a promotional tool is not




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the most or the least important tool”—“it’s just one tool [a]nd it doesn’t exercise tremendous

clout and power” over RCN).

       312. As an additional example, Comcast uses Netflix, which can now be accessed

through Comcast’s set-top box, in its promotional offerings. See Tr. 886:8-15 (Rigdon

(Comcast)) (confirming that Comcast has “incorporated Netflix into [its] set top box” and

markets it to new subscribers). HBO recognizes that Netflix is a competitor for affiliates’

promotional efforts. See Tr. 1497:11-13 (Sutton (HBO)) (noting use of Netflix as a promotional

tool by HBO’s distributors); Tr. 1507:7-1508:4 (Sutton (HBO)) (discussing exclusion of HBO by

Comcast from Comcast’s “Watchathon” promotion in 2017 and the fact that Netflix was used as

the “lead product in the Watchathon”). In that way as well, Netflix competes with traditional

programmers for promotional placement with distributors.

       313. Distributors also rely on a wide range of promotions that use no premium channels

at all, including free equipment and—most importantly—gift cards and other price reductions.

See, e.g., Tr. 717:15-25 (Hinson (Cox)) (explaining that Cox promotions include “gift cards,”

price discounts, and free installations or equipment); Tr. 1497:7-10 (Sutton (HBO)) (“[T]hey

bundle their video services with anything from gift cards to devices. I think Verizon had a

promotion where it bundled with iPads. There’s a lot of different promotions out there.”); Tr.

2972:2-6 (Holanda (RCN)) (agreeing that RCN employs a “wide array” of promotional tools,

including “higher broadband speeds, additional telephone lines free equipment, [and] video-on-

demand movies”). Distributors are “using more and more tools than they used to” for

promotions. Tr. 1497:5-6 (Sutton (HBO)).

       314. HBO’s experience with Comcast further shows that promotional usage of HBO is

not essential to competition. Prior to renewal negotiations with HBO, Comcast deemphasized




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HBO in its promotions and packages, putting pressure on HBO to grant concessions.

[REDACTED]. The point of this exercise was for Comcast negotiators to “show how powerful

they are” relative to HBO, to show how “HBO depends on them to be packaged,” and to show

that, “by removing us from their packages, . . . [HBO] would significantly see subscriber drops.”

Tr. 1506:15-19 (Sutton (HBO)). The fact that Comcast could subsequently use HBO to

significantly increase signups in one campaign is not inconsistent with the fact that—like other

MVPDs—it does not need to use HBO in promotions to compete. [REDACTED].

       315. Although Mr. Hinson of Cox testified that losing the ability to use HBO as a

promotional tool would harm Cox’s business, that testimony was contradicted by other evidence.

As discussed above, Mr. Hinson admitted that Cox uses many tools as part of its promotions,

including price discounts, other premiums, gift cards, and free equipment installations or rentals.

See Tr. 717:15-25. Cox has never conducted a study about how its packages would fare with the

other premium networks, but without HBO. See Tr. 718:1-20 (Hinson (Cox)). With contrary

testimony from a number of competitors and obvious alternatives for promotions, the conclusion

that HBO is so effective in promotions that restrictions on promotional use would harm a

distributor’s business has no evidentiary support. As Ms. Patel testified, if a distributor were

unable to work with HBO, it would “turn to the other premiums because they’re all willing and

eager to work with us,” and there would be no impediment to acquiring or retaining subscribers.

Tr. 1537:7-15. Ms. Patel further explained that PX10, cited by the government, uses the phrase

“proven acquisition driver” to refer only to HBO’s ability to acquire premium subscribers among

existing DIRECTV customers—“upgrades,” not new subscriber acquisitions. See Tr. 1538:24-

1539:10.




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V.     Other Concerns and Complaints Raised by Third-Party Witnesses Called by the
       Government Are Inconsistent with the Evidence and/or Not Merger-Specific

       316. The government called third-party witnesses who testified about their concerns

about the merger and how it might affect their agreements with Turner or HBO. A number of

these concerns—those that relate to the government’s allegations—have already been addressed

above. The remainder are irrelevant because they represent concerns that do not arise from this

merger.

       317. For example, Suzanne Fenwick testified that Cox is concerned because it does not

have certain rights from Turner [REDACTED]. See Tr. 113:1-114:5; [REDACTED]. There

was contrary evidence from Turner that Cox customers have the same rights “as [those of] any

other distributor” in this regard, and the only outstanding issue is a technical delivery issue

related to Cox’s non-standard technological requirements. See Tr. 1186:2-15 (Warren (Turner))

(“The Cox subscriber has access to the same content as any other distributor . . . . It’s really right

now a question of delivery and technical delivery, how we get them that content. Cox, as I

understand it, through my team, is using a different standard relative to what we’ve used for

everyone else; but we’re still making the content accessible, and we’re working through the

technical negotiation.”). In any event, Cox’s dissatisfaction with the rights it has been able to

negotiate under its current agreement with Turner is not relevant to the merger.

       318. Cox also complained about Turner’s practice of offering volume discounts to

distributors with more subscribers than Cox. See Tr. 120:15-121:13 (Fenwick (Cox)). Indeed,

changing Turner’s volume discount practices was one of the three proposed conditions to the

merger that Cox recommended to DOJ. See Tr. 119:18-120:14. But these discounts had already

been an “ongoing issue” in negotiations between the distributor and Turner—the merger played

no role in creating them, as Ms. Fenwick of Cox acknowledged. See Tr. 121:10-13. She further




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admitted that volume discounts are not even unique to Turner, but, rather, are a “problem in the

industry.” Tr. 117:24; see also Tr. 117:11-18 (“Q. Now you have complained that you don’t

like volume discounts, correct? A. We certainly don’t like volume discounts, we don’t think

that they’re equitable. Q. But every programmer has volume discount arrangements with

distributors, correct? A. I don’t know if every one [sic] has it, but I do believe most do.”). They

are thus not relevant here.

       319. Tom Montemagno of Charter testified that he was concerned that Turner would

create bundled products that forced Charter to take more networks than it desired. See Tr.

1352:6-13. But Mr. Montemagno conceded that bundling of channels by programmers was an

industry issue pre-merger, not a result of the merger. See Tr. 1407:12-18 (“Q. But all of these

issues, bundling, penetration packaging, all those issues exist today, and you deal with those

every day, don’t you? A. Correct. Q. Okay. And none of those issues are a result of this

merger, they all exist in the marketplace today, don’t they? A. Correct.”). Warren Schlichting

of DISH explained that DISH has similar concerns about bundling and noted that it was “very

rare that [DISH is] able to unplug any network.” Tr. 467:11. Again, however, this concern is

present today rather than as a result of the merger.

       320. Jim Holanda of RCN also testified that he was concerned that Turner post-merger

would demand penetration requirements during content negotiations, thereby limiting RCN’s

ability to provide skinny Broadcast Basic packages to its customers. See Tr. 2920:6-2921:16.

But Mr. Holanda conceded that “every major company has penetration rates,” and Turner has

had such rates for “a long time before there was even any talk of a merger.” Tr. 2953:21-2954:7.

Mr. Stankey of AT&T confirmed that non-vertically integrated programmers like Fox and




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Disney have similar penetration requirements and that the bundle that concerned Mr. Holanda

did not even include Turner. See Tr. 3259:14-16, 21-24.




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                            PROPOSED CONCLUSIONS OF LAW

       1.      To justify blocking a merger under Section 7 of the Clayton Act, the government

must demonstrate that its “probab[le]” effect, United States v. Baker Hughes Inc., 908 F.2d 981,

984 (D.C. Cir. 1990), is “substantially to lessen competition, or to tend to create a monopoly,” 15

U.S.C. § 18.

       2.      Although Section 7 requires predictive judgments, it “involves probabilities, not

. . . possibilities.” Baker Hughes, 908 F.2d at 984; see also FTC v. H.J. Heinz Co., 246 F.3d 708,

713 (D.C. Cir. 2001) (Section 7 requires the government to show “the reasonable probability of

the proscribed effect” rather than its “mere possibility”) (emphasis added). In other words, the

government must show that “the challenged acquisition [is] likely substantially to lessen

competition.” FTC v. Arch Coal, 329 F. Supp. 2d 109, 115 (D.D.C. 2004) (emphasis added); see

also Baker Hughes, 908 F.2d at 991 (the “ultimate issue” in a Section 7 case is “whether a

transaction is likely to lessen competition substantially”); ProMedica Health Sys., Inc. v. FTC,

749 F.3d 559, 570 (6th Cir. 2014) (the “ultimate inquiry in merger analysis is . . . whether the

merger is likely to create or enhance market power or facilitate its exercise”) (quoting Professor

Carl Shapiro) (emphasis added); United States v. Oracle Corp., 331 F. Supp. 2d 1098, 1109

(N.D. Cal. 2004) (rejecting merger challenge because the government failed to prove the “merger

will likely lead to a substantial lessening of competition”) (emphasis added).

       3.      Although the government has cited Hospital Corp. of Am. v. FTC, 807 F.2d 1381,

1389 (7th Cir. 1986), for the proposition that a merger can be invalidated where the government

establishes an “appreciable danger of [anticompetitive] consequences in the future,” Joint St. on

Burden of Proof, Pltf.’s Position, at 2 ¶ 2 (Dkt. 87) (emphasis omitted); see also Mar. 22, 2018

AM Hrg. Tr. 9:23-10:1, that decision makes clear that the government must prove that such




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effects are “likely.” The Seventh Circuit there held that Section 7 “requires [a] district court . . .

to make a judgment whether the challenged acquisition is likely to hurt consumers” by harming

competition. 807 F.2d at 1386 (emphasis added).26

        4.     Ultimately, even the government acknowledged that it bore the burden of proving

that competition is “likely to be substantially lessened” by this merger. Tr. 4087:5-6 (emphasis

added). But the government did not show that this merger is likely—or even close to likely—to

have that effect. To the contrary, the merger will increase competition by enabling the merged

firm to offer more innovative services at lower prices than would be possible in the absence of

this merger.

I.      The Government Did Not Show That the Merger Is Likely To Result in
        Substantially Lessened Competition Through Increased Prices for Turner
        Programming

        5.     The government’s primary theory of harm shifted considerably after this litigation

began. Originally, the government claimed that the post-merger firm could “credibly threaten to

withhold” Turner programming from major distribution rivals, weaken them as competitors, and

“raise its own [distribution] prices relative to what it could have” charged but for the merger.

Compl. ¶¶ 35, 38. As discussed below, these are key elements of a vertical merger challenge:

evidence that the merged firm will profitably withhold essential inputs from rivals, hobble them

as competitors, and exercise its resulting market power by increasing its own prices. See infra

Part I.B.




        26
           Indeed, just two sentences before the “appreciable danger” passage, the court
reaffirmed that the relevant question was whether “the challenged acquisitions [we]re likely to
foster collusive practices, harmful to consumers, in the Chattanooga hospital market.” Id. at
1389 (emphasis added).



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       6.     The government abandoned that theory of harm at trial. First, it gave up on arguing

that the combined firm would unilaterally withhold Turner programming from rival distributors.

Indeed, the government’s own expert conceded that such withholding would make no economic

sense because the company would suffer immediate and enormous losses in the licensing and

advertising revenues it would receive from Turner content, and those losses would exceed any

gains the company might eventually receive from denying rivals access to that programming.

FOF ¶ 64; see also FOF ¶¶ 76-80, 306 (describing economic implications of going dark and

noting that Time Warner needs maximal distribution to continue attracting top talent). The

government’s expert therefore concluded that Turner will continue to license its content to all

distributors that want it, including virtual as well as traditional MVPDs. FOF ¶ 87; Tr. 2218:14-

16, 2293:2-17 (Shapiro). Industry participants confirmed this conclusion. Tr. 883-884 (Rigdon

(Comcast)); Tr. 107-108 (Fenwick (Cox)). Second, the government’s expert further confirmed

that continuing competition, combined with reduced costs for Turner content, will lead

AT&T/DIRECTV to reduce its retail prices compared to what it would charge in the absence of

this merger. FOF ¶¶ 65, 245.

       7.     Because the government could not and did not rely on any theory of actual

foreclosure, it relied on a much more attenuated and abstract theory of harm: that the merger

will increase Turner’s “bargaining leverage,” enable it to force rival distributors to agree to pay

more for Turner channels, and result in those distributors raising retail prices to their own

customers by some minute amount. See Tr. 2213:11-25 (Shapiro); FOF ¶¶ 66, 86, 88. That

claim fails for two paramount reasons. First, the government’s “price increase” theory rests on

many counterfactual assumptions and collides with the overwhelming weight of real-world

evidence introduced at trial, which confirms that vertical integration does not change bargaining




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dynamics or result in higher retail prices. See infra Part I.A. Second, even if the government

had an empirical basis for predicting these minuscule retail price effects, they would not

constitute “substantially lessened competition” within the meaning of Section 7. See infra Part

I.B.

        A.      The Government Failed To Show That This Merger Will Likely Result in a
                Turner Price Increase

                    i. Real-World Historical Evidence Contradicts the Government’s Price
                       Increase Theory

        8.    According to the government, vertical integration between a programmer and a

distributor will typically prompt rival distributors to pay more for that programmer’s content.

The theory is that, even if withholding the programmer’s content would be catastrophic for the

vertically integrated company, it would be slightly less catastrophic than for the standalone

programmer (here, Turner) because a few customers of other distributors might switch to the

affiliated distributor (here, AT&T/DIRECTV), and the merged firm could thus slightly offset its

programming revenue losses with new distribution revenues. The government argued that this

subtle change in economic considerations would significantly alter bargaining dynamics and

enable the vertically integrated firm to coerce other distributors into paying more than before for

the exact same programming.

        9.    That bargaining theory is unpersuasive from the outset because it flies in the face of

real-world industry experience. FOF ¶¶ 74-79, 86-104. The government presented no evidence

substantiating its claim that vertical integration in this industry is in fact correlated with higher

programming prices, even though it possessed in its files all the real-world pricing information

needed to analyze the issue. In contrast, defendants presented actual case studies of vertical

integration (and dis-integration) after this Court ordered the government to make relevant pricing




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data available to defendants. As defendants demonstrated, there is no evidence that

programming prices rise when programmers integrate with distributors or fall when vertically

integrated firms dis-integrate into unaffiliated programmers and distributors. FOF ¶¶ 95-102.

       10.    Numerous industry participants involved in real-world programming negotiations

for both programmers and distributors further undermined the government’s position by

testifying that vertical integration with a distributor does not materially increase a programmer’s

bargaining leverage. FOF ¶¶ 74-75. The witnesses who confirmed that conclusion included

executives—several called by the government itself—who had negotiated on behalf of both

third-party programmers and third-party distributors. FOF ¶ 93. For example, two executives

from Comcast/NBCU, both called by the government, confirmed that Comcast’s merger with

NBCU had no effect on NBCU’s leverage in programming negotiations. FOF ¶ 74. And four

different Time Warner executives testified that when Time Warner was vertically integrated with

Time Warner Cable, they obtained no bargaining advantage from the affiliation. FOF ¶ 75.

Although several government fact witnesses speculated to the contrary that this merger would

increase Turner’s bargaining leverage, their testimony lacked any empirical foundation. FOF

¶¶ 73, 148.

       11.    The government nonetheless tried to show competitive harm by relying on a highly

theoretical and factually ungrounded “bargaining model,” introduced through the expert

testimony of Professor Shapiro. That academic model predicts that vertical integration between

any programmer and any distributor will always result in higher programming prices. See Tr.

2356:16-18 (Shapiro) (“In order for there not to be a cost increase for the other MVPDs, the

subscriber loss rate would have to be zero.”). The model thus contradicts the historical evidence

noted above, which does not support the hypothesis that vertical integration leads to higher




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programming prices. The surest “way to test a model is to compare its projection against real

outcomes,” NRDC v. Jackson, 650 F.3d 662, 665-66 (7th Cir. 2011)—as Professor Shapiro

himself has previously observed.27 See also Brooke Gr. Ltd. v. Brown & Williamson Tobacco

Corp., 509 U.S. 209, 242 (1993) (plaintiff cannot meet its burden with expert opinion that “is not

supported by sufficient facts” or is “contradict[ed]” by “record facts”); Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 594 n.19 (1986) (rejecting reliance on expert opinion

“based on a mathematical construction that in turn rests on assumptions” that are “both

implausible and inconsistent with record evidence”).

              ii. The Government’s Bargaining Model Failed To Reflect Economic Reality

       12.   Even if viewed in isolation from that historical evidence, the government’s

modeling analysis here is unreliable because, in at least seven independent respects, it rests on

“assumptions and simplifications that are not supported by real-world” facts, American

Booksellers Ass’n, Inc. v. Barnes & Noble, Inc., 135 F. Supp. 2d 1031, 1041-42 (N.D. Cal.

2001), and does not “incorporate all aspects of the economic reality” relevant to consumer

welfare, Craftsmen Limousine, Inc. v. Ford Motor Co., 363 F.3d 761, 777 (8th Cir. 2004).

Indeed, Professor Shapiro himself “agree[d]” that his model does not “capture all of the

uncertainties and personalities and unpredictable factors and hairy stuff that might [a]ffect

negotiations.” Tr. 2295:2-6. That is an extreme understatement. Correcting any one of the


       27
          Tr. 3885:25-3886:5 (Shapiro) (acknowledging that, according to a 2010 article he
coauthored: “Ideally, the reliability of different methods of evaluating proposed mergers should
be gauged by an intelligent combination of theoretical analysis and empirical evaluation. The
most direct way to do the latter is to compare the observed changes from completed mergers
against premerger predictions.”); see also Tr. 3886:21-3887:1 (Shapiro) (acknowledging that, in
advocating for prior programmer-distributor transaction, he argued that “[i]n light of the
significant vertical acquisitions that have occurred in this industry, we believe that [expert
economist opposing merger] would need to provide considerably more empirical evidence before
the Commission should place any significant weight on his bargaining theory”).



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following errors in Professor Shapiro’s analysis would eliminate or dramatically reduce the

government’s predicted price increase. Correcting them all results in a projected consumer price

decrease greater in magnitude than the price increase he asserts. FOF ¶ 200.28

       13.    First, the government’s model inexplicably assumes away the “economic reality,”

Craftsman Limousine, 363 F.3d at 777, that Turner has binding long-term contracts that prevent

it from raising programming prices to major distributors. FOF ¶¶ 105-109. In contrast, it is

undisputed that certain merger efficiencies will promptly exert downward pressure on

AT&T/DIRECTV’s retail prices. FOF ¶ 245. Correcting for the government’s failure to account

for these contracts, even standing alone, erases most of the price increase predicted by its model

for the foreseeable future. FOF ¶¶ 107-108. And much of the remaining projected price

increase—i.e., the portion not precluded by existing contracts with distributors—occurs so far in

the future that it is inherently speculative, as Professor Shapiro acknowledged. FOF ¶ 109; Tr.

2258:1-2 (Shapiro) (“My binoculars are pretty good, but [2021 is] getting out there a ways.”).

       14.    Second, the government’s modeling analysis assumes a grossly inflated departure

rate (or “subscriber loss rate”). This input is the percentage of subscribers a rival distributor

would lose or fail to gain because of a long-term Turner blackout and is a critical component of

the government’s “bargaining leverage” claim. The government’s evidence on this issue was

inevitably speculative because its model requires estimating the departure rate in the event of a



       28
           Because (among other considerations) the government has not alleged and proved a
relevant upstream market for the sale of programming to distributors, evidence of Turner price
increases to rival distributors is legally irrelevant without proof of harm to consumers. See, e.g.,
Brown Shoe Co. v. United States, 370 U.S. 294, 324 (1962) (“[D]etermination of the relevant
market is a necessary predicate to a finding of a violation of the Clayton Act because the
threatened [harm] must be one which will substantially lessen competition within the area of
effective competition. Substantiality can be determined only in terms of the market affected.”)
(internal quotation marks omitted).



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permanent Turner blackout, which has never happened in the real world. FOF ¶ 94. But even

within the context of that inherently speculative inquiry, the government’s analysis of departure

rates was completely unmoored from reality.

       15.    In particular, the government presented no credible basis for assuming, as its expert

did, a departure rate of 9%. FOF ¶¶ 111-181. Professor Shapiro admitted that, to justify using

that figure in his analysis, he primarily relied on the Altman Vilandrie slide deck commissioned

by Charter, which he testified was the “single best” document for that purpose. FOF ¶ 114. But

Professor Shapiro twice revealed in this litigation that he did not vet that document or even fully

understand the inherent unreliability of its estimate of subscriber losses in the event of a Turner

blackout. First, he expressed surprise when he learned at his deposition that Altman Vilandrie

had arbitrarily raised this Turner departure rate from 5% to 9% (while leaving the predictions for

all other programmers unchanged) before the results were provided to the Department of Justice.

FOF ¶¶ 118-119. Second, he admitted under cross-examination in his second trial appearance

that he had been fundamentally “mistake[n]” during his first trial appearance when he tried to

downplay the dramatic effect of that numerical manipulation on his prediction of a price

increase. FOF ¶¶ 120-121. Professor Shapiro’s additional justifications for his use of a 9%

departure rate were equally unconvincing. FOF ¶ 138-181. In contrast, defendants did present

persuasive evidence showing that the departure rate would be no more than than 5%. FOF

¶¶ 113, 138-144. Correcting for this error completely eliminates the price increase projected by

the government, leaving no basis for a finding that harm is likely or substantial. FOF ¶¶ 113,

122.

       16.    Third, and similarly, the government’s model assumes a counterfactually high

diversion rate. This is the percentage of lost subscribers who would sign up for an AT&T




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distribution service instead of some other distribution service, including online alternatives. As

discussed, the government inflated this figure by grossly underestimating the extent of cord-

cutting in today’s marketplace. FOF ¶¶ 182-187. In particular, it relied on numbers derived

from Altman Vilandrie, which in turn had made an ad hoc and unsupported adjustment to its

results. FOF ¶ 184. Altman Vilandrie’s error had the effect of overstating the diversion rate and

understating the merger’s price-reducing EDM effects. FOF ¶¶ 184, 246. Using a more

realistic—but still conservative—estimate of cord-cutting by itself eliminates the government’s

projected price increase and, indeed, converts it to a decrease. FOF ¶ 187.

       17.    Fourth, the government’s model assumes counterfactually high margins that

AT&T would earn on any additional subscribers obtained from a rival distributor in the event of

a blackout. FOF ¶¶ 188-199. There was overwhelming and uncontradicted evidence at trial that

video margins are rapidly decreasing across the industry, as distribution competition intensifies.

FOF ¶¶ 190-191. Replacing the government’s reliance on AT&T’s outdated 2016 margin

assumptions with updated and much lower margin figures from June 2017 would by itself nearly

eliminate the government’s projected price increase. FOF ¶¶ 189, 199. Professor Shapiro

offered no credible basis for continuing to use AT&T’s 2016 margin figures now that these 2017

final figures are available. FOF ¶¶ 192-198. Professor Shapiro admitted that even averaging the

three available months from the first half of 2017, while holding all other inputs constant, would

slash his projected monthly price increase by more than half: from 27 cents to an even more

trivial 13 cents. FOF ¶ 196; see Tr. 3851:6-15. As discussed below, the government has not

established that either figure is statistically distinguishable from zero.

       18.    Fifth, the government’s modeling analysis arbitrarily and counterfactually assumes

a 50/50 bargaining split in any programming carriage negotiation. Specifically, the analysis




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assumes that, before and after the merger, Turner and each third-party distributor always equally

split the bargaining “surplus”—the difference between the highest price the distributor would

pay for Turner’s programming and the lowest price Turner would accept. The government

offered no evidence to support that assumption, and it is unmoored from real-world bargaining

dynamics. FOF ¶¶ 201-203.

       19.   As other courts have held in analogous circumstances, this arbitrary 50/50

assumption renders the government’s bargaining model unreliable. See VirnetX, Inc. v. Cisco

Sys., Inc., 767 F.3d 1308, 1333 (Fed. Cir. 2014) (rejecting use of bargaining model because “the

use of a 50/50” bargaining split as “starting point” was “unjustified by evidence about the

particular facts” of case); Oracle Am., Inc. v. Google Inc., 798 F. Supp. 2d 1111, 1119 (N.D. Cal.

2011) (excluding bargaining model where there was “no anchor . . . in the record of actual

transactions” for the 50/50 bargaining-split assumption). Altering this 50/50 assumption in a

manner consistent with academic literature that Professor Shapiro himself cited would eliminate

much or all of the government’s projected price increase. FOF ¶ 203.

       20.   Sixth, the government’s model improperly ignores two legal mechanisms that

would negate any supposed increase in bargaining leverage by the merged company: (1) the

parties’ arbitration/no-blackout commitment (“the Commitment”), which is similar to a

mechanism the government proffered to address its comparable concerns about the

Comcast/NBCUniversal merger,29 and (2) the FCC’s program access rules, which apply to

vertically integrated programmers and thus will automatically apply to Turner post-merger.30



       29
          The government presents no evidence that the Comcast condition has been ineffective.
FOF ¶¶ 225-227. It separately notes that Comcast, unlike DIRECTV, does not operate nationally
and that an arbitrator could thus use as a “benchmark” the price of NBC content outside of
Comcast’s footprint. That distinction is immaterial because an arbitrator can rely on other highly
relevant benchmarks, including (1) Turner’s pre-merger contracts and (2) third-party



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       21.   The Commitment will bind the defendants post-merger, despite contrary

suggestions by the government. In November 2017, Turner extended irrevocable offers

containing this Commitment contingent only on the consummation of this transaction, and

existing and new distributors can accept those offers anytime within the next seven years. FOF

¶¶ 205-206, 219. The Commitment explicitly states that it “is binding on Turner and Time

Warner” and that “AT&T has agreed to be bound by th[e] offer upon closing of the Merger.”

DX785.

       22.   Although the government has implied that defendants might somehow seek to

evade or revoke the Commitment post-merger, Tr. 4090:12-21, principles of judicial estoppel

will preclude the defendants from doing so or otherwise seeking to avoid arbitration on grounds


distributors’ contracts with programmers similar to Turner. FOF ¶ 230. The FCC has
recognized that both types of contracts provide effective benchmarks in arbitration. See Mem.
Op & Order, GM Corp. and Hughes Elecs. Corp., Transferors, and The News Corp. Ltd.,
Transferee, 19 FCC Rcd 473, ¶¶ 147, 174 (2004); Comcast/NBCU Merger Order, 26 FCC Rcd
at 4366-67, App. A, § VII.B.5-6, .8; Mem. Op. & Order, News Corp. and The DIRECTV Group,
Inc., Transferors, and Liberty Media Corp. Ltd., Transferee, 23 FCC Rcd 3265, 3343, App. B,
§ IV.B.4 (2008). The government also has no basis for asserting that the offer’s seven-year
period is insufficient. If anything, it is even more reasonable than the corresponding seven-year
period in the Comcast decree on which it is based, given the much more rapid pace of industry
change today.
       30
            In general, the program access rules prevent programmers affiliated with certain
MVPDs (including AT&T) from engaging in “unfair methods of competition … the purpose or
effect of which is to hinder significantly” competing MVPDs. 47 U.S.C. § 548(b), (j); see
generally Cablevision Sys. Corp. v. FCC, 649 F. 3d 695 (D.C. Cir. 2011). Under the FCC’s
implementing rules, prohibited conduct “includes, but is not limited to,” (1) “[a]ny effort or
action . . . to unduly or improperly influence the decision of [the programmer] to sell, or unduly
or improperly influence [the programmer]’s prices, terms, and conditions for” programming, and
(2) “[d]iscrimination in the prices, terms, or conditions of sale or delivery” of programming. 47
C.F.R. § 76.1001(b)(1)(i)-(ii); see 47 U.S.C. § 548(c)(2). Once an aggrieved distributor files a
complaint, the FCC may set programming prices and assess damages for past overcharges. 47
C.F.R. § 76.1003(h). Although the government has suggested that the rules protect only
traditional and not virtual MVPDs, that issue remains unresolved. See NPRM, Promoting
Innovation and Competition in the Provision of Multichannel Video Programming Distribution
Services, 29 FCC Rcd 15995, ¶ 13 (2014) (“tentatively conclud[ing] that the statutory definition
of MVPD includes certain Internet-based distributors of video programming”).



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inconsistent with representations they have made to this Court. See New Hampshire v. Maine,

532 U.S. 742, 750-51 (2001) (summarizing principles of judicial estoppel). For example,

consistent with record evidence, the defendants have represented that the Commitment:

          cannot and will not be revoked by the merged entity;

          will be enforceable against the merged entity;

          can be invoked by both existing and future distribution partners;

          can be invoked by NCTC to trigger arbitration on behalf of small cable companies;
           and

          defines a “fair market value” standard reflecting the terms that would be obtained in
           an arm’s length transaction absent the merger.

See FOF ¶¶ 205-206, 215-216, 229. These representations will bind defendants in any future

contractual disputes. See, e.g., Postscript Enters. v. City of Bridgeton, 905 F.2d 223, 227-28 (8th

Cir. 1990) (city will be bound by “judicial admission” about operation of its ordinance “in its

brief and at oral argument”); Cardinal Health Solutions, Inc. v. Valley Baptist Med. Ctr., 2008

WL 5047673, at *5 (S.D. Tex. Nov. 21, 2008) (party’s representations in brief and argument

about operation of contract will “be binding”); In re T.G. Morgan, Inc., 172 F.3d 607 (8th Cir.

1999) (applying judicial estoppel to prevent a party from acting against a promise previously

made before the court that he would abide by terms of the final judgment in a different action);

Chance v. Board of Examiners, 561 F.2d 1079, 1092 (2d Cir. 1977) (“we emphasize that the

Examiners have agreed not to revert to the original examination system [and] that they are

judicially estopped from doing so”); Rockwood v. SKF USA Inc., 758 F. Supp. 2d 44, 62-63




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(D.N.H. 2010) (party judicially estopped from “recharacterizing” previous statements that the

party had claimed were a “promise to buy [ ] pursuant to the option agreement”).31

       23.    The Commitment and the program access rules defeat the government’s theory that

the merger will increase Turner’s bargaining leverage and lead to higher prices for its

programming. FOF ¶¶ 207-213. Equally important, the government’s decision not to address

these mechanisms in its bargaining model undermines the model’s reliability. For example, the

Commitment necessarily changes Turner’s “threat point” in negotiations by forbidding it to go

dark on distributors that wish to continue carrying its programming pending arbitration. FOF

¶ 212. And the government’s own witnesses acknowledged that the Commitment will reduce

Turner’s bargaining leverage. FOF ¶ 211. Yet the government’s model counterfactually

assumes that the Commitment and program access rules do not even exist and exert no influence

on bargaining dynamics. FOF ¶¶ 209-210; 239-244. That fact by itself undermines the

reliability of Professor Shapiro’s analysis.

       24.    When confronted with that fact, Professor Shapiro protested that these omitted but

obviously relevant factors would be addressed by other expert witnesses. Tr. 2324:19-2325:5

(deferring to Professor Kwoka), 2328:21-2329:13 (deferring to Professor Wilkie). But the

government then failed even to call those witnesses. See Mike’s Train House, Inc. v. Lionel, 472

F.3d 398, 409 (6th Cir. 2006) (“We have . . . held that a district court erred by admitting expert

testimony that was based ‘upon the opinion of others who were not even qualified as experts, nor


       31
          Even apart from judicial estoppel, New York law—[REDACTED]—independently
confirms that these arbitration offers are irrevocable, see Silverstein v. United Cerebral Palsy
Ass’n of Westchester Cnty., Inc., 17 A.D.2d 160, 163 (N.Y. App. Div. 1962); Hermanowski v.
Acton Corp., 580 F. Supp. 140, 143 (E.D.N.Y. 1983), aff ’d in part and rev’d and remanded in
part, 729 F.2d 921 (2d Cir. 1984), and will become operative after the merger is consummated
for those distributors that accept the offer, see AT&S Transp., LLC v. Odyssey Logistics & Tech.
Corp., 22 A.D.3d 750, 752 (N.Y. App. Div. 2005).



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present at the trial’”); Dura Automotive Systems of Indiana, Inc. v. CTS Corp., 285 F.3d 609, 614

(7th Cir. 2002) (one expert cannot be turned into a “mouthpiece” for others). In any event, even

if those witnesses had been called, they would have been unable to fill this gaping hole in

Professor Shapiro’s analysis as a matter of law because, as he conceded, “it would take a

completely different model” to “tak[e] into account the arbitration and standstill commitment.”

Tr. 2325:7-16.32

       25.    In short, quite apart from the other errors discussed above, the government’s

modeling analysis is nonprobative because, by completely ignoring the Commitment and

program access rules, it describes a counterfactual world and fails to “incorporate all aspects of

the economic reality” relevant to consumer welfare. Craftsmen Limousine, 363 F.3d at 777.

Indeed, the government produced no economic expert or other evidence that addresses the world

as it actually exists, where these mechanisms will play a central role in the relationship between

Turner and its distribution partners.

       26.    Seventh, the government’s analysis arbitrarily assumes away substantial merger-

specific benefits, including advertising efficiencies. FOF ¶¶ 245-269. It is well recognized that

vertical mergers are generally “procompetitive” because they “encourage product innovation,


       32
          Professor Shapiro also admitted that his competitive concerns might “be mistaken” if
he misunderstood the program access rules, Tr. 2331:21-24, and he punted on the meaning of
those rules to Professor Wilkie, Tr. 2328:21-2329:13, whom the government did not call.
Professor Shapiro did misunderstand the rules, as explained by Professor Katz. See Tr. 2694:6-
2697:3. Although Professor Shapiro asserted that the rules will be ineffective because, he
assumed, they do not prevent a programmer from imposing a uniform price increase, his own
(independently flawed) theory of harm predicts widely divergent price increases that vary by
distributor. A distributor subjected to a greater increase could allege discrimination on that basis.
In addition, any distributor could allege discrimination based on lower rates paid by other
distributors subject to existing long-term contracts for the same programming. In any event, the
FCC has asserted authority to conclude that even uniform price increases may violate its rules.
See NPRM, Revision of the Commission’s Program Access Rules, 27 FCC Rcd 3413, 3469,
¶ 102 (2012).



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lower costs for businesses, and create efficiencies—and thus reduce prices and lead to better

goods and services for consumers.”33 Yet the government’s modeling evidence ignores these

natural and expected benefits of vertical integration, with the limited exception of EDM, which

the government acknowledges but understates. FOF ¶¶ 245-246.

       27.   Accounting for those benefits not only undermines the government’s modeling

results, see FOF ¶¶ 245-270, but makes it even clearer that the government fell far short of its

acknowledged burden of proving net consumer harm.34 The defendants presented evidence that

this merger would result in approximately $2.5 billion in cognizable efficiencies. FOF ¶ 269.

With the exception of EDM, the government refused to credit any of these efficiencies and thus

effectively assigned them a value of zero. See Tr. 3611:5-21 (Quintero). That conclusion is

implausible, particularly given the well-documented benefits of vertical integration. FOF ¶¶ 53-

62, 245-269. That said, the Court need not quantify the substantial benefits of this merger or



       33
          Comcast Cable Commc’ns, LLC v. FCC, 717 F.3d 982, 990 (D.C. Cir. 2013)
(Kavanaugh, J., concurring) (emphasis omitted); National Fuel Gas Supply Corp. v. FERC, 468
F.3d 831, 840 (D.C. Cir. 2006) (“[V]ertical integration creates efficiencies for consumers.”);
Alberta Gas Chems. Ltd. v. E.I. Du Pont de Nemours & Co., 826 F.2d 1235, 1244 (3d Cir. 1987)
(“respected scholars question the anticompetitive effects of vertical mergers in general” because
such “ ‘mergers are [a] means of creating efficiency, not of injuring competition’ ”) (quoting
Robert Bork, Antitrust Paradox 226, 237 (1978)); Douglas H. Ginsburg, Vertical Restraints: De
Facto Legality Under the Rule of Reason, 60 Antitrust L.J. 67, 76 (1991); III-B Phillip E. Areeda
& Herbert Hovenkamp, Antitrust Law ¶ 756a, at 9 (3d ed. 2008) (vertical integration “is either
competitively neutral or affirmatively desirable because it promotes efficiency”).
       34
          In a colloquy with this Court, the government’s lead counsel conceded that, although
defendants must initially “com[e] forward with evidence on efficiencies,” the government
“agree[s] a hundred percent” that it “ha[s] got to be persuasive” that on “balance” the merger will
substantially lessen competition after accounting for any relevant merger “efficien[cy] or
synergy.” Mar. 20, 2018 Hrg. Tr. 36:2-14. That concession accurately reflects applicable legal
standards, particularly in the vertical merger context, where no concentration-related
presumption of harm can arise. See Joint St. on Burden of Proof, Defts.’ Positions, at 11-13,
¶¶ 5-13 (Dkt. 87). Ultimately, however, it does not matter who bears the burden of persuasion
on merger-related benefits because defendants would meet that burden even if they had it. See
FOF ¶¶ 245-270.



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“balance” them against the government’s predictions of minuscule price increases because, as

discussed, those predictions are untenable in the first place.

        28.   In short, even if the government’s bargaining model were not squarely at odds with

real-world evidence disproving its premise that vertical integration results in higher distribution

prices, the model still would not help the government meet its burden. To the contrary,

correcting the inputs in that model shows that the merger will substantially reduce rather than

increase consumer prices. FOF ¶¶ 108, 113, 187, 200.

        29.   In any event, the very fact that the model’s predicted retail price increases are so

minuscule as a percentage of retail bills and so sensitive to these modest variations in its inputs

exposes the fundamental unreliability of the model itself as applied by the government in this

case. Indeed, the government’s modeled price increase is so negligible that, given the inherent

uncertainty in the model’s predictive inputs, the government has not even shown that its asserted

increase is statistically distinguishable from zero. FOF ¶¶ 82, 98. Given the high risk of error

inherent in the model, no weight should be given to the model’s prediction of small price

increases, particularly in a highly volatile market that may change beyond recognition in a matter

of years. FOF ¶¶ 83-85.

        30.   In sum, and for multiple independent reasons, the government has failed to prove

that this merger will likely result in higher average retail rates for video distribution.

        B.      Even Taken at Face Value, the Government’s Projected Price Effects Do Not
                State a Claim Under the Clayton Act

        31.   Even if the government had substantiated its claim that competing distributors will

pay somewhat higher prices for Turner programming post-merger and then impose minuscule

price increases on their distribution customers, that showing would be legally insufficient to

satisfy its burden under the Clayton Act. “The antitrust laws . . . were enacted for the protection




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of competition not competitors.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477,

488 (1977) (emphasis added). That distinction is crucial in vertical merger cases because

vertical integration normally disadvantages rivals by making the merged firm a more efficient

and thus stronger competitor. Here, for example, even the government acknowledges that this

merger’s efficiencies will enable AT&T/DIRECTV to lower its consumer prices relative to what

they would be without this merger. In response, its competitors will have to compete harder to

attract and retain customers. This pro-competitive dynamic is the natural and expected benefit of

vertical integration, whether through contract or merger. See supra COL ¶ 26.

       32.    Because of its inherent efficiencies, vertical integration is generally found to raise

antitrust concerns only where it leaves rivals “stunted” as competitors and materially impairs

their ability to discipline the defendant’s prices. McWane, Inc. v. FTC, 783 F.3d 814, 838-39

(11th Cir. 2015), cert. denied, 136 S. Ct. 1452 (2016); see United States v. Microsoft Corp., 253

F.3d 34, 71 (D.C. Cir. 2001) (en banc) (issue is whether exclusive dealing keeps competitors

“below the critical level necessary . . . to pose a real threat” to defendant’s market power); see

also Paddock Pubs., Inc. v. Chicago Tribune, 103 F.3d 42, 44 (7th Cir. 1996) (rejecting

challenge to exclusivity agreement between incumbent newspaper and content creators because

any rival newspaper “deprived of access” even to the “best known” content can compete on the

basis of alternative content). To date, courts have applied that principle in the context of vertical

contracts rather than vertical mergers, but only because the government has not taken a vertical

merger to trial in four decades. The same principle logically applies whether vertical integration

occurs by merger or contract. See Fruehauf Corp. v. FTC, 603 F.2d 345, 352 n.9 (2d Cir. 1979)




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(vertical mergers and vertical exclusive-dealing arrangements present “similar issue[s]” under

the Clayton Act).35

       33.    Here, the government does not contend that the modest price increases it alleges

will “stunt” any MVPD, McWane, 783 F.3d at 839, or deprive it of competitive responses. The

government also does not contend that this transaction will allow AT&T/DIRECTV to capitalize

on increased market power by raising its own retail prices—the ordinary theory of competitive

harm in successful challenges to vertical transactions. See id. Instead, the government concedes

that this merger will cause AT&T/DIRECTV to reduce its retail prices below what it would

charge if the merger were blocked. FOF ¶¶ 65, 245. Thus, even if (contrary to the discussion in

Section I.A supra) the government had shown that the merger will lead other distributors to raise

their retail prices slightly, the government still could not show “substantially . . . lessen[ed]

competition” under modern antitrust doctrine.

       34.    Under older decisions, a vertical merger could be invalidated if it caused the

merging parties to buy or sell exclusively to or from each other if such exclusive dealing

“foreclosed” their rivals from “a substantial share of [the] market.” United States v. E.I. du Pont

de Nemours & Co., 353 U.S. 586, 595 (1957) (alterations omitted); see, e.g., Brown Shoe Co. v.

United States, 370 U.S. 294 (1962); Fruehauf, 603 F.2d at 352 & n.9. Here, the government’s



       35
          For example, in an “exclusive dealing” contract, a supplier agrees to sell all of its
goods through one distributor (or vice versa), thereby aligning the parties’ interests in ways
similar to a vertical merger. Because this contractual form of vertical integration creates
efficiencies, it is favored under modern antitrust doctrine, except in the rare case where it allows
one of the contracting firms to raise its own prices above competitive levels. See, e.g., McWane,
783 F.3d at 839. Notably, many exclusive-dealing cases arise under Section 3 of the Clayton
Act, 15 U.S.C. § 14, whose text is identical to Section 7 in all relevant respects (“may . . .
substantially lessen competition”) and is thus read in pari materia with that provision. See
Fruehauf, 603 F.2d at 352 n.9; see also United States v. Phila. Nat’l Bank, 374 U.S. 321, 365-66
(1963).



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case would fail even under this traditional “foreclosure” analysis, which is widely viewed as

more favorable to plaintiffs than current antitrust doctrine.36 The government does not argue that

the combined firm will “foreclose” any MVPD’s access to Turner programming, let alone

“foreclose” any MVPD from “a substantial share of [the relevant programming] market,” Du

Pont, 353 U.S. at 595 (alterations omitted). The government also does not even define a relevant

programming market of which Turner programming could constitute “a substantial share,” id.,

and in which it could thus exercise “the kind of market power” sufficient to trigger antitrust

concerns, Jefferson Parish Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 27 (1984). That is

independently fatal to the government’s challenge because a vertical merger “will not have an

anticompetitive effect” where “substantial market power is absent at any one product or

distribution level.” Auburn News Co. v. Providence J. Co., 659 F.2d 273, 278 (1st Cir. 1981).37



       36
          A “foreclosure” showing is no longer a sufficient basis for challenging a vertical
merger; a plaintiff must show as well that such foreclosure makes rivals ineffective as
competitors. See, e.g., Microsoft, 253 F.3d at 71; McWane, 783 F.3d at 838-39. See generally
Baker Hughes, 908 F.2d at 990 n.12 (“ T he most important developments that cast doubt on the
continued vitality of such [merger] cases as Brown Shoe . . . are found in [non-merger] cases,
where the Supreme Court . . . has said repeatedly that the economic concept of competition,
rather than any desire to preserve rivals as such, is the lodestar that shall guide the contemporary
application of the antitrust laws, not excluding the Clayton Act.”) (internal quotation marks
omitted); Comcast, 717 F.3d at 990 (Kavanaugh, J., concurring) (“[b]eginning in the 1970s,” the
Supreme Court shifted to a favorable view of “vertical integration and vertical contracts”); VII
Areeda, Antitrust Law ¶ 1511e2, at 517-18 (4th ed. 2017) (explaining that Ford Motor Co. v.
United States, 405 U.S. 562 (1972), and Brown Shoe addressed vertical mergers “under an
aggressive standard that struck down many mergers that would never be challenged today”
because “our theory and most of our law of vertical integration have changed very considerably
since that time”).
       37
           The government argues that “a structural analysis based on market definition and
market share is but one way to establish market power.” Pl’s. Objs. and Resps. to Defs.’ First
Set of Interrogs. at 15. But in doing so it relies on cases involving a “finding of actual, sustained
adverse effects on competition.” FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 461 (1986). Here,
the government merely (and implausibly) predicts such effects. Because it can show no actual
effects, the government must allege and prove a properly defined market in which such effects
are likely to result from power in that market. See also Republic Tobacco Co. v. North Atl.



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                                             * * *

       35.   In sum, for each of the reasons set forth above, the government has failed to carry

its burden of proving that this merger will likely cause substantially lessened competition

stemming from the price of Turner programming.

II.    The Government Has Failed To Prove That the Merged Entity Will Likely
       Coordinate With Comcast/NBCU To Harm Virtual MVPDs

       36.   At trial, the government abandoned any claim that the combined firm would

unilaterally “withhold . . . programming entirely from some virtual MVPDs” that provide

multichannel TV packages over the Internet. Compare Compl. ¶ 40 with Tr. 2218:14-16,

2293:2-17 (Shapiro). That decision was prudent because the trial evidence foreclosed any such

claim. Virtual MVPDs are growing quickly in both numbers and popularity, and, even if it

wanted to, the merged firm will be unable to do anything to stop that inexorable trend. FOF

¶¶ 43-44. Turner receives substantial affiliate fees and advertising revenue from these virtual

distributors. FOF ¶¶ 8, 287. And Turner would have rapidly diminishing relevance and a dim

long-term outlook if millennials and other cord-cutters did not see Turner channels in the

programming arrays offered by online providers. FOF ¶ 287.

       37.   The government nonetheless speculates that, even though the merged firm would

not withhold the Turner networks from virtual MVPDs unilaterally, it might coordinate with

Comcast/NBCU to withhold both Turner and NBCU networks from them, thereby achieving an

anticompetitive objective neither company could achieve alone. The government also appears to

argue in the alternative that Turner and NBCU might coordinate to require each virtual MVPD to

buy most or all of their cable networks rather than a select few. As to each theory, the



Trading Co., 381 F.3d 717, 737 (7th Cir. 2004) (“direct effects” proof is generally not “used
outside the context of horizontal agreements”).



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government failed to carry its burden of proving that such coordination is both likely to occur as

a result of the merger and likely to result in substantially lessened competition—as the

government’s economist effectively conceded at trial.

       A.      AT&T/Time Warner and Comcast/NBCUniversal Lack the Incentive and
               Ability To Coordinate To Deprive Virtual MVPDs of Their Cable Networks

       38.    Coordination, sometimes referred to as “tacit collusion” or “conscious parallelism,”

“describes the process, not in itself unlawful, by which firms in a concentrated market might in

effect share monopoly power . . . by recognizing their shared economic interests and their

interdependence with respect to price and output decisions.” Brooke Grp., 509 U.S. at 227.

Coordination between rivals can occur only if the firms can solve what economists call “cartel

problems,” i.e., the difficulties of establishing a consensus to take actions that would not be in

each company’s individual interest absent coordination. See George J. Stigler, A Theory of

Oligopoly, 72 J. Pol. Econ. 44, 44-46 (1964). Maintaining this consensus, in turn, requires a

market conducive to “the detection and punishment of firm’s that ‘cheat.’” Craftsmen

Limousine, Inc. v. Ford Motor Co., 491 F.3d 380, 393 (8th Cir. 2007). These problems make the

“anticompetitive minuet” of tacit coordination “most difficult to compose and to perform.”

Brooke Grp., 509 U.S. at 227-28; see also Business Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S.

717, 727 (1988) (“Cartels are neither easy to form nor easy to maintain.”).

       39.    Here, the government was required to prove that merger-induced coordination that

results in substantially lessened competition is not only theoretically possible, but more likely

than not to occur. See Baker Hughes, 908 F.2d at 991 (the “ultimate issue” in a Section 7 case is

“whether a transaction is likely to substantially lessen competition”); United States v. Oracle,

331 F. Supp. 2d 1098, 1109 (N.D. Cal. 2004) (rejecting government claim where it had not

proved that defendants “would likely engage in coordinated interaction”) (emphasis added); see




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also supra COL ¶¶ 1-4. That essential element of proof is especially important in vertical

merger cases, both because vertical mergers involve inherent efficiencies and because, unlike

horizontal mergers, they do not increase market concentration. The government failed to carry

that burden.

       40.     Revealingly, the government’s lead economic expert, Professor Shapiro, conceded

that he had no basis for opining that anticompetitive coordination is a likely result of the merger

or even that the odds of such coordination are greater than 1%. FOF ¶ 279. AT&T/Time Warner

and Comcast/NBCU would both sacrifice substantial profits if they withheld their respective

programming networks from virtual MVPDs. FOF ¶ 280. Such withholding could thus make

sense only if it enabled these companies to offset those losses by earning greater incremental

profits through their distribution services. FOF ¶ 280. And Professor Shapiro did not quantify

the costs to AT&T/Time Warner and Comcast/NBCU of the hypothesized coordination scheme

or determine that those costs would be lower than the supposedly countervailing benefits. FOF

¶ 280. He acknowledged that he could not reach, much less substantiate, any conclusion that

anticompetitive coordination is likely. FOF ¶ 279.

       41.     The failure of the government’s economic expert to make that required showing is

itself fatal to the government’s case on coordination, and the government did not introduce any

alternative evidence that could enable it to meet its burden of proof. To the contrary, the trial

record confirms that AT&T/Time Warner and Comcast/NBCU would lack both the shared

incentive and the new-found ability to engage in the anticompetitive coordination scheme the

government hypothesizes.

       42.     No shared incentive. The evidence affirmatively refutes the government’s

contention that the merged firm and Comcast/NBCU will share a common interest in




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withholding content from virtual MVPDs. First, the merged firm will want virtual MVPDs to

continue carrying the Turner networks not only to obtain affiliate fees and advertising revenues,

but also to keep Turner’s network-based business relevant to consumers during the accelerating

transition from traditional MVPD services to online alternatives. FOF ¶¶ 8, 287.

       43.   Second, AT&T will continue benefiting from the increasing demand that the

growth of virtual MVPDs will create for its mobile services. FOF ¶ 286. Increased mobile

demand expands the use of AT&T’s wireless network, where AT&T has a decided market

advantage over Comcast. Increased mobile usage further makes customers more likely over time

to treat their mobile broadband connections as their default video viewing mechanism, benefiting

AT&T at the expense of traditional cable companies such as Comcast, which do not have

significant mobile operations. FOF ¶ 286.

       44.   Because Comcast has almost no mobile customers, FOF ¶ 284, its incentives are

different. But for its own independent reasons, Comcast/NBCU likewise will have no incentive

to withhold content from virtual MVPDs in conjunction with AT&T-Time Warner. FOF ¶ 288.

It too sees virtual MVPDs as an important and growing pathway of distribution. FOF ¶ 288.

Thus, the hypothesized coordination scheme would implausibly require Comcast/NBCU to forgo

programming revenues for a wide swath of consumers with no hope of obtaining distribution

revenues from them to compensate.

       45.   No ability to coordinate. Even if (counterfactually) Comcast/NBCU and the

merged firm shared an incentive to impede the growth of virtual MVPDs, they could not

successfully coordinate to implement such a strategy. The government completely failed to

demonstrate that AT&T and Comcast could establish an agreement to withhold valuable




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programming, let alone that they could devise an effective mechanism to detect and punish

“cheating.”

       46.    First, the staggered, multi-year nature of the contracts in this industry precludes the

kind of competitive response necessary to enforce coordination. Different programmers’

contracts with the same distributors often expire years apart. FOF ¶ 290. That fact would make

it difficult—or even impossible, depending on the contract timing—to respond quickly enough to

rivals’ decisions to enforce any implicit coordination agreement. It means that one party—

Turner or NBCU—would have to give up sales of valuable programming in hopes that the other

party would do so months or years later. FOF ¶ 290. Second, the intense and expanding

competition among programmers and distributors, which includes constant entry and new

products and services in both marketplaces, FOF ¶¶ 6-62, likewise undermines key preconditions

to successful coordination among rivals. See DOJ/FTC Horizontal Merger Guidelines § 7.2.

       47.    Just as important, the Commitment would independently preclude Turner from

coordinating with NBCU over the terms of virtual MVPD distribution deals. FOF ¶ 289; see

also supra COL ¶¶ 21–22. Most obviously, the Commitment will deny Turner even the ability

to withhold content from virtual MVPDs, whether unilaterally or in coordination with NBCU.

FOF ¶¶ 205-238, 289. Likewise, an independent arbitrator, not Turner, would decide the terms

on which Turner must sell programming to virtual MVPDs in the event of any impasse. FOF

¶¶ 215, 220. This Commitment would thus destroy the “mutual trust and forbearance” that any

coordination scheme requires for success. Hospital Corp., 807 F.2d at 1388-89.

       48.    Finally, no evidentiary weight should be given to the government’s allegations that

AT&T and Time Warner employees sought to share information among industry participants

concerning issues unrelated to virtual MVPDs. One set of allegations involved discussions about




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rights to distribute “library seasons” (prior-season reruns) of particular television shows.

Tr. 1854-60. The other set of allegations concerns discussions by DIRECTV personnel in 2014

(before the AT&T-DIRECTV merger) regarding a regional sports network that broadcast Los

Angeles Dodgers games (SNLA). Tr. 2082-85. These incidents have no bearing on concerns

about harm to the virtual MVPD business model. The alleged “library seasons” discussions

related to whether SVODs like Netflix will retain sole rights to distribute reruns of particular

shows (to the exclusion of MVPDs and virtual MVPDs), not whether virtual MVPDs will have

access to cable networks such as TBS and TNT. Tr. 1854-60. And the alleged SNLA

discussions had nothing to do with online distribution at all. FOF ¶ 292.38

       49.    In any event, any evidence that AT&T and Turner have shared information with

rivals in the past does not begin to satisfy the government’s burden to establish a likelihood of

anticompetitive coordination after the merger. See FTC v. Arch Coal, Inc., 329 F. Supp. 2d 109,

138 (D.D.C. 2004) (even where there is mutual access to “[k]ey market information,” “whether

anticompetitive coordination is likely requires closer examination” of critical market features);

see also Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 762 (1984) (“[T]he fact that a

manufacturer and its distributors are in constant communication about prices and marketing



       38
           United States v. H&R Block, Inc., 833 F. Supp. 2d 36 (D.D.C. 2011), cited by the
government, is thus inapposite. In that horizontal merger case, “the government point[ed] to a
highly persuasive historical act of cooperation” between the same two parties that the
government alleged would engage in post-merger coordination, which, had the merger closed,
would have been the two largest remaining firms in a relevant market with fewer participants.
Id. at 77-78. In contrast, the “historical acts” that the government alleges here, even if they were
substantiated, would not be “persuasive” because they did not involve the same participants or
even the same markets as the post-merger coordination schemes the government hypothesizes.
For example, in the SNLA matter, the government accused DIRECTV of coordinating with other
MVPDs (not including Comcast) to deny distribution to a programmer (a regional sports
network), whereas here the government is arguing that two programmers (Turner and NBCU)
might coordinate to withhold content from virtual MVPDs.



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strategy does not alone show that the distributors are not making independent pricing

decisions.”).

       B.        The Government’s “Skinny Bundle” Evidence Is Not Merger-Specific and Is
                 Not Persuasive

       50.      Even while speculating that Turner will coordinate with NBCU to withhold

programming from virtual MVPDs, the government also inconsistently suggests the two

companies might coordinate to sell “too much” programming to virtual MVPDs—specifically, to

deny virtual MVPDs access to “skinny bundles” of their respective programming networks. This

argument, which appears nowhere in the Complaint, is equally unsupported by the evidence.

       51.      First, the government’s new concern about the availability of skinny bundles has

little or nothing to do with this merger. The government must prove that the merger will likely

“substantially . . . lessen[ ] competition,” 15 U.S.C. § 18, not that competition will fall short of

some ideal whether the merger proceeds or not. Yet the government introduced no persuasive

merger-specific evidence concerning skinny bundles. Like all major programmers, Turner seeks

to license all of its networks to distributors. FOF ¶¶ 283, 287. So too does NBCU. FOF ¶ 283.39

The government’s own witnesses acknowledged that these and other programmers in the

industry always seek to get distributors to carry all of their networks. FOF ¶ 283. That desire

follows from basic economics: distribution of more networks enables a programmer to earn

greater subscription and advertising revenues. FOF ¶ 283. These economic realities exist today

and will continue to exist after and independent of this merger.



       39
           Although Turner and NBCU both have preexisting incentives to license all of their
channels to a distributor, they are differently situated in an important respect that makes Turner
far better positioned to be featured on skinny bundles and further undermines any claim of likely
coordination. Turner earns approximately 85-90% of its revenues from just four of its networks
(TBS, TNT, CNN, and Cartoon Network), whereas NBCU’s programming revenues are much
less concentrated and spread among many different networks. FOF ¶ 287.



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       52.    In any event, the government did not prove that any merger-specific coordination

scheme to sell only traditional bundles to virtual MVPDs is likely to occur, let alone that it is

likely to result in “substantially . . . lessen[ed] competition.” Just as the government failed to

prove that a coordinated scheme to withhold programming altogether is likely, the government

also failed to prove the basic facts needed to establish that a coordinated scheme to sell only

traditional bundles is likely. For example, it did not quantify the costs to Turner and NBCU of

this hypothesized coordination scheme, nor did it demonstrate that those costs would be lower

than the supposedly countervailing benefits. FOF ¶¶ 280, 282, 284-287. Again, the

government’s own economist performed no such analysis for any coordination theory and thus

could not say that any form of coordination between AT&T/Time Warner and Comcast/NBCU is

likely. FOF ¶ 279.

       53.    Beyond that, the Commitment will independently prevent Turner from forcing any

virtual MVPD to license more channels than it or another distributor currently licenses. Under

the Commitment, a virtual MVPD (the arbitration “Claimant”) can demand a “standalone offer

or offers for (i) a bundle of all Turner Networks or (ii) any bundles of Turner Networks that

Turner has licensed to AT&T, the Claimant, or another Video Distributor for distribution to

consumers on or after October 22, 2014.” PX0491-003. In a renewal context (provided the prior

carriage agreement was made “on or after October 22, 2014”), that means the Claimant could

demand a standalone offer for the same bundle of networks the Claimant currently licenses (or

that another distributor currently licenses or has licensed at any time on or after October 22,

2014). FOF ¶¶ 218, 221. If the parties do not reach agreement, the Claimant may then submit a

final offer to arbitration. FOF ¶ 220. Turner then is obliged to respond with its own final offer,




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which must be limited to “the Turner Networks requested by the Claimant.” PX0491-003

(emphasis added).

       54.    Finally, the government has not shown that a hypothesized scheme to sell only

traditional bundles to virtual MVPDs could result in “substantially . . . lessen[ed] competition.”

The government introduced trial testimony from only a single virtual MVPD (Sling) that it

prefers to offer only “skinny bundles” of Turner programming. Yet AT&T faces increasing

competition from numerous MVPD and virtual MVPDs in addition to Sling. FOF ¶¶ 34–35, 43–

44. Even if (counterfactually) the government had identified some basis for arguing that the

merger will somehow cause Sling to carry a traditional Turner bundle when it otherwise would

carry a skinny bundle, the government did not show how forcing that one distributor to carry

more Turner channels would “substantially lessen competition” from rival distributors in general.

See Brunswick, 429 U.S. at 488 (“The antitrust laws . . . were enacted for the protection of

competition not competitors.”) (emphasis added).40

                                             *     *       *

       55.    In sum, for each of the reasons set forth above, the government has failed to carry

its burden of proving that coordination between the merged firm and Comcast-NBCU, caused by

the merger, is both likely to occur and likely to result in substantially lessened competition.

III.   The Government Has Failed To Prove That the Merged Firm Will Use HBO To
       Harm Competition

       56.    The Complaint alleged that the post-merger company will disable distribution

competitors from using HBO as a promotional tool to attract and retain subscribers and that such




       40
          In any event, AT&T witnesses testified that the company intends to offer skinny
bundles, FOF ¶ 285, and Sling can then arbitrate on that basis for those offerings.



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conduct will substantially lessen competition. Compl. ¶ 39.41 The government twice abandoned

that theory of harm at trial. First, the government’s lead economic expert admitted that even if

the merged firm did restrict other distributors’ use of HBO as a promotional tool, doing so

“would not have such a big impact[ ] that it would substantially lessen competition, this element

of conduct alone.” Tr. 2276:12-13 (Shapiro); see also Tr. 2276:3-4 (characterizing such conduct

as a mere “step in the wrong direction in terms of competition”). Second, the government

endorsed, as an “alternative remed[y],” a “decree prohibiting AT&T from acquiring Turner but

permitting it to acquire the other parts of Time Warner,” including HBO. Tr. 4019:4-23. The

trial record necessitated this move: the government did not and could not show that any HBO-

related theory of competitive harm is remotely plausible, let alone likely.

       57.   To prevail on such a theory, the government first needed to show that there is no

effective substitute for HBO’s use as a promotional tool, so that depriving competing distributors

of that tool would substantially impede their ability to compete with AT&T/DIRECTV. See

Westman Comm’n Co. v. Hobart Int’l, Inc., 796 F.2d 1216, 1220-21 (10th Cir. 1986);

IV.A Areeda, Antitrust Law ¶¶ 1004, 1008 (4th ed. 2016); see also supra COL Part I.B. The

government has not come close to meeting that evidentiary burden. As explained, competing

distributors have used many alternative means of attracting and retaining customers. These

include promotional campaigns involving (1) other premium channels such as Showtime and

Starz, (2) partnerships with SVODs such as Netflix, (3) bundles including free equipment, and

(4) price concessions such as discounts or gift cards. FOF ¶¶ 311–313.




       41
          The government concedes that the merger will not cause HBO to withhold
programming from rival distributors or raise their rates for it. The government’s only theory of
harm is “the promotional topic.” Tr. 2290:23 (Shapiro).



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       58.   In any event, the combined firm would have no incentive to impose such

restrictions because, as the evidence showed, HBO needs MVPDs more than MVPDs need HBO.

FOF ¶¶ 300-301. Although MVPDs use HBO (among many other offered benefits) in

promotions to gain or maintain customers, that is not because they need to do so. FOF ¶¶ 314-

315. Rather, it is HBO that needs the promotions and incentivizes distributors to actively

promote its service. FOF ¶¶ 300-301, 303-305. HBO’s agreements with its distributors are

specifically designed to encourage broad distribution by providing a volume-discount pricing

structure—the per-subscriber rate an MVPD pays is reduced as subscribership increases. FOF

¶ 300. Furthermore, HBO negotiates for guarantees that MVPDs will use HBO in their

promotions and provides substantial funds, sometimes millions of dollars, to support and

subsidize these promotion efforts. FOF ¶¶ 303-304. Along the same lines, HBO will frequently

waive fees or contractual requirements in order to induce a distributor to launch a special HBO-

related promotion. FOF ¶ 305. In short, the government has it exactly backwards: it is HBO

that needs its distributors to promote its programming—not vice versa—and nothing in this

merger will affect those fundamental business imperatives. FOF ¶¶ 300, 307.

       59.   Furthermore, in order to attract the content and talent it needs to compete with the

exploding universe of other high-quality video programming, HBO requires the broadest

distribution possible. FOF ¶ 306. The vast majority (more than two-thirds) of MVPD customers

do not currently subscribe to HBO. FOF ¶ 296. Without assurances of wide distribution, content

creators would leave HBO and go elsewhere. FOF ¶ 306. HBO will continue to need to rely on

MVPDs post-merger to distribute its programming, and it will have the same incentives to

encourage these distributors to package and promote HBO as widely as possible. FOF ¶ 307.




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       60.   The government introduced no evidence showing otherwise. Professor Shapiro did

not quantify a single dollar of potential consumer harm associated with this theory. FOF ¶ 299.

To the contrary, as noted above, Professor Shapiro conceded that restricting HBO as a

promotional tool “would not have such a big impact[ ] that it would substantially lessen

competition.” Tr. 2276 (Shapiro); see also id. (characterizing such conduct as a mere “step in

the wrong direction in terms of competition”).

       61.   In sum, the government has failed to carry its burden of proving that the merged

firm is likely to “substantially lessen competition” in distribution markets through the use of

HBO.




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Date: May 3, 2018                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on May 3, 2018, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.




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